  5:16-cv-03913-BHH            Date Filed 01/31/23         Entry Number 332           Page 1 of 166




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  ORANGEBURG DIVISION

 Burl Washington,                             )
                                              )
                                 Plaintiff,   )   Civil Action No. 5:16-03913-BHH
                                              )
                 vs.                          )
                                              )
 Federal Bureau of Prisons and the            )
 United States,                               )
                                              )
                            Defendants.       )
                                              )

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW

        This matter is before the Court on the claims of Plaintiff Burl Washington

(“Plaintiff”), a legally blind federal prisoner who was previously housed at Federal

Correctional Institution (“FCI”) Williamsburg, FCI Estill, and FCI Edgefield, which are all

located in South Carolina. He is currently confined in FCI Butner Medium, within the

Federal Correctional Complex (“FCC”) Butner, in Butner, North Carolina. Plaintiff claims

he was discriminated against because of his disability (“Rehabilitation Act claim”) (3d Am.

Compl. ¶¶ 108–19, ECF No. 197), and that he has been subjected to cruel and unusual

punishment due to the Federal Bureau of Prisons’ (“BOP”) and the former Individual

Defendants’1 inconsistent medical care and failure to provide the medical and personal

assistance that Plaintiff needs due to his blindness (“Injunctive Relief claim” and “Bivens


1 The Court refers to Dr. Richard Lepiane, Nurse Eve Ulmer, and the Estate of Dr. G. Victor Loranth as the

“former” Individual Defendants because Plaintiff’s Eighth Amendment claims against them as individuals
(“Bivens claims”) were dismissed pursuant to the Court’s August 26, 2022 ruling on their Federal Rule of
Civil Procedure 12(c) motion for judgment on the pleadings. (ECF No. 320.) However, there is essentially
complete overlap between the alleged conduct pertaining to Plaintiff’s dismissed Bivens claims and his
FTCA/Injunctive Relief claims, which proceeded to trial. Therefore, for ease of reference, the Court will
continue to refer to Dr. Lepiane, Nurse Ulmer, and Dr. Loranth collectively as the “Individual Defendants”
even though, as both a procedural and substantive matter, they have been dismissed as party defendants
to this action. (See id. at 16.)

                                                    1
 5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 2 of 166




claims”) (id. ¶¶ 120–38). As to the United States, Plaintiff alleges medical malpractice and

violation of the Federal Tort Claims Act (“FTCA”) through the Individual Defendants and

BOP’s alleged failure to (1) provide medically necessary treatment, surgery,

consultations, physical and occupational therapy, tools, assistance, and education

necessitated by Plaintiff’s condition; (2) provide or exercise due care; and (3) provide

health care services. (Id. ¶¶ 139–56.) A bench trial was held from August 23, 2022,

through August 29, 2022. (ECF Nos. 318, 319, 321, 322, 323.)

       Plaintiff’s overarching theory of the case was that he has a chronic and progressive

form of glaucoma that can be slowed through medications and surgical options, that

reducing glaucoma-related eye pressure can reduce eye pain and limit damage to the

optic nerve, that a gap in treatment from August 28, 2014 to January 25, 2015 denied him

timely access to a vital laser surgery to his left eye, that a lack of assistance in

administering prescribed eyedrops caused him to suffer additional eye pressure and

vision loss, that the confinement facilities where he was housed prior to FCI Butner

Medium were ill-equipped to manage his necessary medical care and accommodate his

disability, and that as a result of Defendants’ inability and/or refusal to provide him

necessary treatment, care, and accommodations he suffered increased pain and more

rapid vision loss. Defendants’ general theory of the case was that Plaintiff himself

hampered the BOP’s persistent good faith efforts to implement the care to which he was

entitled, that prisons only operate effectively when both staff and inmates follow

established rules to ensure that inmates receive necessary care, that Plaintiff failed to

follow prison rules and consistently rejected care and assistance if it was not offered or

provided in the specific ways he wanted, in compliance with his specific requests, and in



                                             2
 5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332       Page 3 of 166




his specified timing, that Plaintiff did not indicate he was unable to use the prescribed

eyedrops on his own until he got to FCI Williamsburg, at which point he had already been

using eyedrops for at least six years, that Plaintiff’s response and behavior as to receiving

disability-related assistance that he undoubtedly needed was to prohibit and sabotage

the receipt of such assistance, that blindness does not in and of itself qualify an inmate

for placement within a Federal Medical Center (“FMC”), and that Plaintiff’s treatment and

accommodations while incarcerated have been in accordance with the FTCA and the

Rehabilitation Act. After thoroughly considering all of the testimony, relevant evidence of

record, and the arguments of the parties, the Court concludes that Plaintiff failed to meet

his burden of proof with regard to his FTCA claim, Rehabilitation Act claim, and Eighth

Amendment Injunctive Relief claim. In support of that conclusion, the Court makes the

following findings of fact and conclusions of law.

                                   FINDINGS OF FACT

   A. Background

        Plaintiff was diagnosed with open angle glaucoma in 2005, four years prior to

entering BOP custody. Glaucoma is a serious medical condition and Plaintiff is legally

blind. Plaintiff’s vision was already substantially impaired when he entered federal

custody. Plaintiff was prescribed eyedrops to help control his eye pressure as early as

2011.

   B. FCI Williamsburg

        Plaintiff arrived at FCI Williamsburg on October 25, 2013. Plaintiff alleges

Defendants ignored and disregarded the express instructions of Plaintiff’s treating

ophthalmologists during his confinement at FCI Williamsburg.



                                             3
 5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332         Page 4 of 166




       1. Daniel Whitehurst, RN

       Daniel Whitehurst (“AHSA Whitehurst”) is a United States Public Health Officer

with approximately seven years of service in the U.S. Air Force and approximately fifteen

years of service in the U.S. Public Health Service. From May 2012 through October 2015,

AHSA Whitehurst served as the Assistant Health Services Administrator at FCI

Williamsburg. In that role, he was responsible for managing fifteen to twenty nursing,

pharmacy, and administrative staff, for health care budgeting, and for dictating health care

operations within the facility. AHSA Whitehurst is a registered nurse, so in addition to his

administrative duties, he would fill in from time to time in the clinical setting. AHSA

Whitehurst explained that the medical doctors at FCI Williamsburg report to the facility

Clinical Director, and ultimately to the Associate Warden and Warden of the facility. Dr.

Loranth was the Clinical Director during Plaintiff’s period of incarceration at FCI

Williamsburg.

       AHSA Whitehurst testified that all BOP facilities have a care level designation and

that FCI Williamsburg was a Level 2 facility. Level 2 facilities are equipped to serve the

medical needs of prisoners who take chronic medications and who require chronic care,

such as prisoners with diabetes. This includes inmates that need at least one doctor’s

visit per year. However, Level 2 facilities are not equipped to serve inmates that need

constant care, such as assistance with activities of daily living (“ADLs”).

       At FCI Williamsburg, facility staff is assigned to the pill line based on staffing level

and pharmacy staff generally run the pill line. Pill line is called as housing units are called

for meals, before breakfast, before lunch, and after count before dinner. Inmates show

identification in pill line and a computer is used to track each inmate’s medications;



                                              4
 5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332        Page 5 of 166




inmates are assigned their own drawer, accessible to the staff, that keeps their

medications. It is at each inmate’s discretion as to whether they actually take the

medications they receive; for example, they could take half of them, all of them, or none

of them. Staff cannot force inmates to take their medications. The pharmacy consists of

a service window with a small room; only one inmate is allowed at a time.

       For inmates in the Special Housing Unit (“SHU”), staff print a medical record and

bring it along to the SHU, so that they know what medications to administer to each

inmate. Medications are hand charted in the SHU because there is no computer. AHSA

Whitehurst testified that, regarding medications, it is within the discretion of treating BOP

doctors whether to follow the recommendations of an outside provider and implement

them internally. At FCI Williamsburg, there is a meeting every two or three weeks to

determine whether a recommended referral to an outside provider was necessary or

whether alternative options were appropriate. At these “utilization review meetings,”

facility medical staff look at the whole-inmate picture and it is ultimately up to the Clinical

Director to approve or deny the consult in question. Dr. Loranth ultimately made the final

decision on whether an inmate saw an outside provider. When an inmate comes back

from an outside consultation, a nurse makes a notation in the inmate’s record and the

ordering provider, in turn, receives the notated information.

       AHSA Whitehurst explained that the BOP Medical Designations Unit in Grand

Prairie, Texas makes the decisions about the care level designation for BOP inmates.

However, the Clinical Director or Health Services Administrator at a facility can submit for

an individual care level designation to be changed if they believe it to be necessary.

       AHSA Whitehurst is personally familiar with Plaintiff and knew that he was



                                              5
 5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 6 of 166




designated as legally blind at FCI Williamsburg. During the relevant time period, there

were one or two other legally blind inmates at FCI Williamsburg, out of a total population

of 1,300 to 1,500 inmates. AHSA Whitehurst stated that if a legally blind inmate needed

assistance travelling around the FCI Williamsburg compound the custody unit had a

buddy program, but he was not certain what the procedure or policy was because it was

a custody program not a medical program. AHSA Whitehurst reported to Commander

Urrea, who was the Health Services Administrator (“HSA”) during the relevant time period.

He did not discuss Plaintiff’s care level designation with Commander Urrea.

       Regarding whether Plaintiff was able to navigate around FCI Williamsburg on his

own, AHSA Whitehurst stated that he remembers circumstances where Plaintiff was

approximately twenty-five feet away and called his name, which indicated to him that

Plaintiff had some ability to see shapes and to recognize his surroundings, including

people at a distance. AHSA Whitehurst observed Plaintiff going around the compound at

times by himself and specifically going around the recreation yard. He testified that

Plaintiff used to go to the recreation yard on his own and that AHSA Whitehurst and others

observed Plaintiff walking around without using his blind-assistance cane, just carrying it.

AHSA Whitehurst conceded that he also saw Plaintiff with another inmate escorting him

at times. He did know whether Plaintiff was ever trained on using the cane. He did not

know if Plaintiff was provided a talking watch, large print reading materials, or braille

materials.

       AHSA Whitehurst did not provide direct medical care to Plaintiff, but he met with

him at medical open house sessions and helped direct him to care. During lunch AHSA

Whitehurst would stand at main line for an hour to an hour and a half and help answer



                                             6
  5:16-cv-03913-BHH             Date Filed 01/31/23          Entry Number 332            Page 7 of 166




any questions inmates might have. These are the times when AHSA Whitehurst had

direct interaction with Plaintiff.

        AHSA Whitehurst testified that Plaintiff was designated as a care Level 2 inmate

while at FCI Williamsburg. Plaintiff was prescribed eyedrops for his glaucoma at the time.

Eyedrops are usually self-carry medications, and at times Plaintiff’s eyedrops were self-

carry. At other times Plaintiff was required to go to pill line to retrieve his eyedrops, based

on his physician’s discretion.

        During his time at FCI Williamsburg, Plaintiff was seen by outside providers at the

Storm Eye Clinic (“Storm Clinic”) of the Medical University of South Carolina (“MUSC”).

Plaintiff’s Exhibit 2259 2 was admitted and AHSA Whitehurst explained that this medical

record pertained to a February 25, 2014 visit to MUSC, wherein cataract surgery was

recommended. If such a referral to an outside provider was approved by internal review—

a process including the periodic utilization review meeting and final approval from the

Clinical Director, Dr. Loranth, described above (supra at 5)—the referral would be printed

and transmitted, along with any accompanying medical documentation, to a third-party

scheduler called, Seven Corners, which was the entity responsible for setting up the

appointment and paying the outside provider. The cataract surgery on Plaintiff’s right eye

recommended in PE 2259 was ultimately approved and completed on July 23, 2014, as

documented by Dr. Nutaitis of the Storm Clinic in his surgical notes. (See PE 2269.)

        AHSA Whitehurst clarified that prison medical staff did not receive outside




2 For ease of reference, the Court will refer to Plaintiff’s exhibits as “PE” with the exhibit number, and to

Defendants’ exhibits as “DE” with the relevant exhibit number and the bates number in parentheses. The
use of these labels corresponds to the manner in which the parties referred to the documents, and specific
pages within the documents, at trial. Except where explicitly noted, all references to exhibits in this Order
pertain to exhibits that were duly admitted into evidence.

                                                     7
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 8 of 166




provider’s dictated medical notes (e.g., PE 2269) on the same day that those medical

records reflect they were made. Rather, prison medical staff would receive, for example,

handwritten discharge papers provided in person at the time of the outside procedure.

Post-operative instructions on such discharge papers would be received by a BOP nurse,

who would write a BOP medical note and send it to the relevant BOP physician for co-

signing. On any outside medical trip, BOP staff would provide a manila envelope with the

referral and other relevant paperwork to the escorting officers. For safekeeping, prisoners

are not permitted to have the paperwork. Upon return, the escorting officers would give

the trip packet, now inclusive of any discharge papers, to the nurse for entry of relevant

data into the electronic medical record. The hard copy of the trip packet would be placed

in the BOP physician’s—here, Dr. Massa—mailbox so that he could see it the next day

and reference the electronic note back to the hardcopy paperwork.

      PE 2270, a post-operative BOP medical note for Plaintiff’s July 2014 cataract

surgery, included an instruction for Plaintiff to use three different eyedrops, one drop

each, four times a day. The instructions included a direction to wait five (5) minutes

between drops. AHSA Whitehurst did not know whether Plaintiff had a watch at the time,

so he could not presume whether Plaintiff had a way of precisely tracking the five-minute

gap between drops.

      In PE 2298, the BOP pharmacist noted that Plaintiff reported to medical staff that

he ran out of his eyedrops every month. According to the note, Plaintiff represented that

he ran out of the eyedrops because he could not tell how many eyedrops were hitting his

eyes. AHSA Whitehurst was not aware of this report by Plaintiff at the time. As to whether

AHSA Whitehurst would have any reason to disagree with Plaintiff’s assertion regarding



                                            8
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 9 of 166




difficulty putting in the eyedrops, AHSA Whitehurst clarified that he had seen other

medical notes where Plaintiff was clearly able to distinguish the color on different bottle

tops—for example, at one point Plaintiff stated, “I don’t want the one with the red top.” If

Plaintiff was having difficulty administering the drops on his own, the medical staff would

have had to make an assessment and go to the Clinical Director for an instruction

regarding whether to send Plaintiff to pill line to ensure that he was getting his drops

effectively, or to continue Plaintiff on a self-administration regimen. Plaintiff’s statement

regarding the difficulty he experienced administering his eyedrops was entirely subjective,

so AHSA Whitehurst could not affirm its truth or falsity.

       In PE 2273, a BOP medical record dated July 30, 2014, Dr. Loranth described

Plaintiff as being “inappropriate” in the use of his eyedrops because he continued to

request refills. Accordingly, Dr. Loranth instructed Plaintiff to be seen “QID” at the Health

Services Unit (“HSU”), which meant that he would be seen four times per day for nurses

to administer his eyedrops. AHSA Whitehurst testified that, in his experience, most

eyedrops can be self-administered if the patient is taught the correct procedure. In the

BOP setting, it is ultimately the Clinical Director or the treating physician’s decision

whether a patient self-administers medications or has BOP staff administer medications.

In this case, the decision was made by Dr. Loranth.

       AHSA Whitehurst was not aware whether or not Plaintiff had a companion to help

him get to the HSU to be seen QID. He stated that he does not recall having any

conversations with Dr. Loranth about Plaintiff having a companion. Nor does he

remember ever having a conversation with Plaintiff about an inmate companion.

       AHSA Whitehurst testified that after the July 2014 cataract surgery on his right eye,



                                             9
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 10 of 166




an additional surgery was recommended for his left eye. However, the response to this

recommendation was complicated by issues that BOP medical personnel were already

having with Plaintiff’s follow-up care pertaining to his right eye. Specifically, Plaintiff did

not attend his follow-up appointment the day after cataract surgery due to an issue that

he instigated, and he was not compliant with his eyedrops as directed.

       AHSA Whitehurst was confronted with PE 2286, an August 28, 2014 medical

record written by Dr. Nutaitis, which states that the glaucoma in Plaintiff’s left eye was

inadequately controlled and that failing to have surgery in that eye risked worsening of

the glaucoma. Dr. Nutaitis recommended an increase in one of Plaintiff’s medications,

methazolomide, to three times daily, darker sunglasses, and diode laser surgery for

glaucoma in Plaintiff’s left eye. AHSA Whitehurst stated that BOP staff had an issue with

Plaintiff the month prior when Plaintiff refused his trip for follow-up care pertaining to the

surgery on his right eye. He testified that if BOP medical staff sends someone out for

surgery, they want to make sure the patient is going to take his medications as prescribed

and be engaged in his own care. He explained that the August 28 visit was a continuation

of the outside referral for both eyes and so it ended up functioning as both a follow-up of

the July 23 cataract surgery and an evaluation of Plaintiff’s left eye. After surgery was

recommended at the August 28 visit, it would be up to a medical provider at FCI

Williamsburg to determine whether to accept that recommendation, and then it would

need to go through scheduling. The Clinical Director typically makes a determination

about the general range of time in which a recommended surgery should be scheduled,

such as thirty, sixty, or ninety days, depending on how emergent the situation is. Then

the referral is sent to Seven Corners (see supra at 7) and they do their best to get it



                                              10
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 11 of 166




scheduled. Availability and timing also depends on the outside provider, in this case

Storm Clinic. It further depends on the medical needs of other inmates who may also be

pending surgery and need to be scheduled. AHSA Whitehurst did not know the internal

timeframe determination that was given to Seven Corners as he was not presented with

the referral and associated notes pertaining to the surgery proposed for Plaintiff’s left eye.

       AHSA Whitehurst testified that the process of Plaintiff receiving the recommended

surgery would be “two-fold”—first, the Clinical Director would decide whether Plaintiff

would get the surgery, then Seven Corners would schedule it. In PE 2273, Dr. Loranth

noted that Plaintiff was being very difficult to handle. AHSA Whitehurst explained that

administrative notes of this kind are sometimes included in the medical record in order to

give the rest of the medical staff a heads-up about a particular prisoner’s behavior. AHSA

Whitehurst stated that PE 2273 was not his medical note, that he is not a physician, and

that Dr. Loranth was the Clinical Director; however, he concluded that Dr. Loranth’s

comments in PE 2273 were likely associated with the aftermath of Plaintiff’s right-eye

cataract surgery because, the day after that surgery, Plaintiff refused his follow-up trip

and was argumentative. AHSA Whitehurst can remember two instances in which he

discussed with Dr. Loranth strategies about treating Plaintiff and Plaintiff’s behavior with

respect to his medical treatment—first, a discussion about Plaintiff not going on his

medical trip the day following cataract surgery, and second, a subsequent trip to Storm

Clinic for surgery when Plaintiff refused to have the surgery done. AHSA Whitehurst had

to notify Dr. Loranth that Plaintiff refused surgery while Plaintiff was at MUSC.

       In PE 2275, a BOP medical record dated August 1, 2014, Dr. Loranth documented

his suspicion that Plaintiff was manipulating his medication to cause his eye pressure to



                                             11
 5:16-cv-03913-BHH        Date Filed 01/31/23     Entry Number 332       Page 12 of 166




fluctuate. AHSA Whitehurst does not remember ever having a conversation with Dr.

Loranth about this comment or Dr. Loranth’s perspective on Plaintiff’s behavior. In PE

2296, a BOP medical record dated March 16, 2015, Dr. Loranth stated that Plaintiff’s

complaints were to be taken with a grain of salt. AHSA Whitehurst conceded that Dr.

Loranth was responsible for deciding whether Plaintiff got the recommended eye surgery,

that the ophthalmologist at MUSC indicated Plaintiff’s eye pressures were not adequately

controlled, and that Dr. Loranth was not an ophthalmologist.

      PE 2301, a May 19, 2015 medical note by Dr. Tremblay of the Storm Clinic, reflects

that Plaintiff had still not received the eye surgery recommended in August 2014, and

recommends again that glaucoma surgery be performed on Plaintiff’s left eye. In PE 2302,

a BOP medical record dated May 20, 2015, Dr. Loranth indicated that he would write a

consultation for the recommended surgery. AHSA Whitehurst testified that this would then

be sent to Seven Corners for scheduling, but the eventual availability of the surgery would

depend on Dr. Tremblay’s schedule. For security reasons, BOP medical staff avoid telling

inmates the date of their follow-up appointments, so, when scheduling the surgery, BOP

(through Seven Corners) would not have used either of the specific dates referenced by

Dr. Tremblay in PE 2301 as dates that he was available, because those dates were in the

medical record and potentially could have been known by Plaintiff ahead of time. AHSA

could think of two cases off the top of his head where medical trips went badly, and one

that caused death, so the security concerns related to scheduling were real.

      AHSA Whitehurst agreed that the span of time between the end of August 2014

and middle of May 2015 was approximately eight or nine months, and that this was longer

than the general time frame in which surgery is scheduled, which, if the outside provider



                                            12
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 13 of 166




is able to accommodate the BOP patient within the provider’s schedule, is often two to

three months. However, AHSA Whitehurst clarified that he did not know what the original

time parameter was, that he did not know what the conversation was between Seven

Corners and Storm Clinic, and that he did not know what was going on between August

2014 and May 2015—for example, whether BOP medical staff was sending Plaintiff to

the in-house optometrist to check his eye pressures.

       AHSA Whitehurst was confronted with PE 2305, a June 10, 2015 (Wednesday)

letter from Dr. Tremblay, which states that it is medically necessary for Plaintiff to receive

assistance with ambulation, and which recommends that a proctor, sitter, or nurse be

offered to assist Plaintiff in the prison setting. AHSA Whitehurst clarified that this letter

never came through BOP medical the way that outside paperwork normally would (see

supra at 8), but rather was presented by Plaintiff directly to BOP staff in the SHU on June

13, 2015 (Saturday), three days after Plaintiff refused surgery at the Storm Clinic on June

10. AHSA Whitehurst testified that Dr. Tremblay’s office called him on the day the surgery

was supposed to take place and informed him that Plaintiff was demanding various

requests be met or he would not consent to the surgery. AHSA Whitehurst further testified

that the things stated and recommended in the letter match the very things Plaintiff was

demanding on June 10, as relayed to AHSA Whitehurst by Dr. Tremblay’s office on the

phone. Thus, AHSA Whitehurst and BOP medical staff were left to conclude that Dr.

Tremblay may have provided the letter to Plaintiff to appease him. Otherwise, the

contents of the letter seemed to contradict what Dr. Tremblay’s office communicated to

AHSA Whitehurst on the day of surgery, which was that Plaintiff was demanding his

requests be granted and that his argumentativeness prevented the surgery from



                                             13
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 14 of 166




occurring. Ultimately, Dr. Tremblay ran out of time due to Plaintiff’s insistence that his

demands be met, and Storm Clinic was unable to complete the surgery because they had

to attend to other scheduled patients.

       AHSA Whitehurst stated that he has never, over the course of his career with the

BOP, seen anything like this before, where an inmate produces a medical letter given to

the inmate directly. The BOP medical staff first questioned why Plaintiff kept the letter for

three days and did not inform them of it, and second questioned why MUSC did not inform

the BOP that they had given Plaintiff such a letter. The June 10, 2015 letter caused a lot

of problems inside the BOP medical department because the staff was confused by the

contradiction between the information provided by Storm Clinic on the day of surgery—

which characterized Plaintiff’s insistence on certain conditions as “demands” and

described Plaintiff using his refusal to complete the surgery as coercion to obtain those

conditions—and the contents of the letter apparently conceding Plaintiff’s demands. It

was a very frustrating letter to receive because the presumption was that if Plaintiff really

cared about his care, and about his eyes, he would want the surgery to move forward so

that the problems he had been experiencing could be resolved. On the following Monday,

Dr. Loranth tried to contact Dr. Tremblay to get clarification about the letter, and BOP

medical staff tried to get ahold of the Storm Clinic to ask why they called the day of surgery

to report Plaintiff’s unreasonableness but then wrote him the letter anyway.

       In response to whether he had information to contradict the assertion that the

recommendations in the letter were medically necessary, AHSA Whitehurst noted that a

call from a physician’s office to BOP medical staff stating that a patient is demanding

certain conditions is a red flag, because such demands do not pertain to the clinical



                                             14
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 15 of 166




treatment of the patient’s health issue. In this situation, BOP medical staff were trying to

care for Plaintiff’s vision and trying to facilitate the treatment necessary to decrease

progression of Plaintiff’s disease, including coordination of an appointment for surgery at

a renowned eye clinic. In AHSA Whitehurst’s view, Plaintiff was trying to dictate his own

medical care, and, other than questioning whether the letter was given to Plaintiff to

appease him in an attempt to accomplish the surgery, AHSA Whitehurst did not know

what the mindset was behind the letter. For AHSA Whitehurst, Plaintiff’s demand for the

letter or to have certain conditions met prior to assenting to surgery was highly irregular

and did not demonstrate the normal demeanor of someone who is looking out for their

own medical care.

       In PE 2306, a BOP medical record dated June 15, 2015 (Monday), Dr. Loranth

stated that he did not agree with Dr. Tremblay’s assessment of Plaintiff in the June 10

letter. As far as AHSA Whitehurst knows, there was no subsequent letter sent by Dr.

Tremblay providing different recommendations than those in his June 10 letter.

       When asked to offer further comment about why Dr. Tremblay’s letter was so

irregular and possibly unprofessional, AHSA Whitehurst stated that in his view it just did

not really make sense—on the one hand Storm Clinic was telling BOP medical how bad

Plaintiff was being, how difficult he was being, even demanding a specific medication

before he would consent to the surgery, but on the other hand Storm Clinic still gave

Plaintiff the letter conceding his demands. For these reasons, AHSA Whitehurst was

inclined not to give as much credence to the June 10 letter as he normally would to a

doctor’s letter. The irregularity of Plaintiff possessing the letter himself and producing it

only when he wanted to was another red flag. AHSA Whitehurst has never encountered



                                             15
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 16 of 166




another situation where an inmate was demanding certain things before the inmate would

sign a consent for surgery. In his experience, most patients want to have their surgery

done because they have been waiting for a long time.

       AHSA Whitehurst testified that whether Plaintiff had a talking watch, large print

materials, or braille were all matters of educational assistance and not matters that would

be handled by the medical staff. For that reason, he may not know the details of what

educational assistance was provided to Plaintiff. AHSA Whitehurst indicated that there

are a number of factors that come into play when determining whether a prisoner should

self-carry his medications or obtain those medications through the pill line. For example,

if the medication is a controlled substance, the prisoner must get it through pill line. If the

medical staff believes that a prisoner is not taking his medication appropriately—such as

incidences where the prisoner hoards medication—the staff will take that into account

when deciding whether to put the prisoner on pill line. The factors informing the decision

include the type of medication, the purpose of the medication, potential side effects, and

the prisoner’s history of compliance. As to compliance specifically, AHSA Whitehurst

testified that a patient’s “buy-in” to compliance is very important. BOP medical staff try to

encourage patient buy-in because they cannot force prisoners to engage in treatment.

Rather, they try to help patients understand that the treatment plan is intended to help

them, and hopefully improve their health.

       AHSA Whitehurst expounded upon the utilization review meetings and how they

were used to ensure that the medical department was on track in caring for any particular

patient, including Plaintiff. The HSA, AHSA, Dr. Loranth, Dr. Massa, mid-level providers,

and a representative from pharmacy would come together to discuss the whole-person



                                              16
 5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 17 of 166




concept with regard to each patient at issue. In addition to deliberating about referrals,

problems—such as a particular patient not coming to pill line—would be discussed. The

idea was to make sure the entire medical staff was up to speed on what was happening

for the patient and to bring all the different components in the health service unit together

in the effort to get the patient’s body in tune.

       In DE 16 (5374), a BOP medical record dated June 10, 2015, AHSA Whitehurst

documented his interaction with the Storm Clinic on the day that Plaintiff refused surgery:

       Received call from Dr Tremblays office this am after inmate Washington
       refused his eye surgery. The resident advised that Inmate Washington was
       very demanding and requested a letter requesting a proctor/ sitter to help
       him with his ADL’s. They also stated that he would not have surgery until
       the physician advised certain medications. The physicians stated that it was
       very frustrating and that they gave Inmate Washington multiple chances to
       sign the consent for surgery but that he continually demanded certain things
       be done prior to any surgery. Finally, the physician decided that he could
       no longer delay the case due to other procedures that where scheduled.
       Requested that a letter be sent stating these facts.

(DE 16 (5374) (errors in original).) AHSA Whitehurst also had a previous situation in which

Plaintiff’s own behavior hindered his medical care, documented in DE 15 (5191). In July

2014, after the cataract surgery on Plaintiff’s right eye, BOP medical staff had already

scheduled him a follow-up appointment to check Plaintiff’s eye pressures post-

operatively. AHSA was called to the SHU to discuss Plaintiff’s concerns with him and to

try to encourage him to go on his medical trip. Plaintiff had already been in discussion

with the SHU Lieutenant. As the custody staff were trying to get Plaintiff ready to go, he

was asking for a winter coat. Coats are given out during certain parts of the year, when

they are needed, and taken away during the warm portions of the year. AHSA Whitehurst

explained that FCI Williamsburg is built on what is essentially a swamp, and it is very

humid and hot in June, July, and August. Plaintiff did not just want to talk about the coat,

                                              17
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 18 of 166




he wanted to talk about past medical care and a range of complaints.

       AHSA Whitehurst testified that he tried his best nursing skills to repeatedly redirect

Plaintiff. He told Plaintiff that he should center on the current problem at hand, which was

that Plaintiff had undergone cataract surgery the day prior, that the eye doctor had set

aside time for a follow-up appointment for Plaintiff, and that if they did not leave soon,

they would not make it to the appointment in time. He explained that the BOP had staff

assigned to take Plaintiff on the trip and that they had to leave soon or Plaintiff would lose

the trip. AHSA Whitehurst stated that the conversation became a long, drawn-out

discussion for twenty or thirty minutes, and that the subject matter was circular, repeatedly

coming back to the issue of the coat and Plaintiff’s objections to his past medical care. In

the end, BOP staff could not take Plaintiff to his appointment because of his

argumentative demeanor regarding not being provided a coat and his past medical care.

Due to limitations on custody staff, FCI Williamsburg only sent out a set number of trips

per day from the institution—at the time, two in the morning and two in the afternoon. So,

if AHSA Whitehurst were to arrange for Plaintiff to have an afternoon appointment after

they missed the morning time slot, it would have taken medical care from another inmate

who had an appointment scheduled in the afternoon. AHSA Whitehurst also would have

had to obtain approval from the Storm Clinic by asking if they could still come, since they

were beyond the originally scheduled slot. All of this demonstrates that the realities of

working within the prison system are more complicated than the process of making what

might seem to be simple scheduling adjustments in civilian life. Any time an inmate

refuses care, BOP medical staff asks the inmate to sign a refusal form, which documents

the inmate’s refusal and informs the inmate of the potential health consequences of such



                                             18
 5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332     Page 19 of 166




refusal. In this instance, Plaintiff refused to sign the refusal form.

       AHSA Whitehurst was shown DE 15 (5182–83), a BOP medical record dated July

30, 2014, in which AHSA Whitehurst noted, “Nursing to advise inmate that eye ggts

[drops] are 4x a day at pill line.” When asked to clarify, AHSA Whitehurst explained that

the outside provider called to inquire as to Plaintiff’s missed follow-up appointment and

the physician, Dr. Reynolds, was advised of Plaintiff’s refusal. AHSA Whitehurst’s July 30

medical note memorializes Dr. Reynolds’ recommendations regarding eyedrop

medications following the cataract surgery. However, whereas the recommendation was

for eyedrops four times per day, such a recommendation would be adjusted to

accommodate the controlled environment of the prison. In other words, due to factors like

movement schedules, lockdowns, staff availability, and the fact that pill line only happens

three times daily, this recommendation would have been adjusted to administration of

Plaintiff’s post-operative eyedrops three times per day. AHSA Whitehurst stated that BOP

medical personnel correlate the medical care that is directed as best they can to the

inherent limitations of the prison setting. In his view, when they make minor adjustments

to chronic treatments, such as eyedrops, to accommodate those limitations it does not

jeopardize the care that is required. In the case of an emergent situation, such as

antibiotics for a life-threatening infection, BOP medical personnel are more willing to make

changes to their normal practices.

       AHSA Whitehurst testified that he had direct dealings with Plaintiff in the prison

and personally observed him moving about the compound. AHSA Whitehurst does not

remember Plaintiff having problems navigating around the compound. He cited the

instance when Plaintiff called his name from approximately twenty-five feet away, and



                                              19
 5:16-cv-03913-BHH            Date Filed 01/31/23   Entry Number 332        Page 20 of 166




stated it was highly irregular for someone who says they cannot see. He further stated

that the BOP medical staff has observed those kinds of actions by Plaintiff on prior

occasions, and that there was a common belief that Plaintiff is probably able to see more

than he admits. However, AHSA Whitehurst confirmed that his belief regarding the level

of Plaintiff’s blindness would not affect whether he provided the care that Plaintiff

deserved.

       AHSA Whitehurst was questioned extensively about whether, after Plaintiff’s left-

eye surgery was recommended in August 2014, if a referral for surgery was approved

prior to the May 2015 referral, such approval would be shown in Plaintiff’s medical records

(specifically, the electronic medical records repeatedly referenced and admitted

throughout the trial). Plaintiff sought to establish the inference that if there was no record

of Dr. Loranth approving a surgery prior to May 2015, it is likely that no such approval

was given. The collective answer to the various iterations of the question was unclear.

AHSA Whitehurst described a “referral management system” in the relevant computer

program, wherein the reviewing physician, here Dr. Loranth, was presented with a queue

of potential referrals, and explained that once a particular referral was electronically

clicked off and signed, the referral moved from preauthorization to authorized. From there,

AHSA Whitehurst would print the authorized referrals and take them to the utilization

review meeting (see supra at 7) for final approval and transmission to Seven Corners via

fax. It was unclear whether or how this stage of the paperwork would be represented in

Plaintiff’s medical record.

       2. Plaintiff’s Testimony Regarding FCI Williamsburg

       Plaintiff Burl Washington is fifty-five years old and was born in Virginia. He is the



                                              20
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 21 of 166




fifth of eight children, having four brothers and three sisters. He described his family as

being close and providing a good support team for one another. Plaintiff stated that he

was first diagnosed with glaucoma in 2005.

       In 2005, Plaintiff remembers being in Missouri. He does not remember his eye

pressures being high at that time. He was still moving around freely, driving a car, and

had no real difficulty seeing or reading. Plaintiff stated that he took a fall in 1999, which

led to arthritis throughout his body, which is painful and was giving him pain in 2005.

Plaintiff stated that the pain he experiences from arthritis still gives him troubles now, and

it is exacerbated when he feels cold. He further stated that the combination of being cold

with the arthritis can be extremely painful, to the point where he probably could not get

up out of the chair without assistance.

       Plaintiff testified that in the time period between 2005 and when he was transferred

to FCI Williamsburg in 2013 he had multiple surgeries on his eyes. His understanding at

the time was that his glaucoma was a serious medical condition, but that it did not have

to lead to blindness if treated properly. Plaintiff’s biggest fear was going blind. He was

accustomed to family reunions, outings, and trips, and he wanted to give the same

opportunities to his kids, so the loss of his vision “would play a drastic part in that,” and

“being blind was not in [his] plans.”

       When asked how his vision changed between 2005 and the time he was

transferred to FCI Williamsburg, Plaintiff stated that his eye pressure had increased and

his vision had decreased, “probably more so from a cataract than glaucoma.” He asserted

that without going to the appropriate doctors, his eye disease was not diagnosed well, or

at least very little information was passed to him. The changes going on with his vision



                                             21
 5:16-cv-03913-BHH              Date Filed 01/31/23           Entry Number 332             Page 22 of 166




between 2005 and 2013 made him feel “hurt” and “sad.”

        Plaintiff was transferred to FCI Williamsburg on October 25, 2013. He remembers

that Dr. Loranth and Dr. Massa were physicians there, and that HSA Urrea and AHSA

Whitehurst were part of health services. Plaintiff stated that Dr. Loranth thought he was

faking his blindness and described Dr. Loranth as hard to talk to. He further stated that

he “wanted to believe” Dr. Loranth, because he did not want to be blind, and he hoped

that Dr. Loranth was more right than “the doctors” (presumably referring to his treating

ophthalmologists).

        When asked to describe in layman’s terms what his visual acuity was like while at

FCI Williamsburg, Plaintiff first stated, “I didn’t know. I didn’t know what I was seeing.” He

went on to describe how, after already having been an inmate in the BOP for several

years, he knew the arrangement of his cell “like the back of [his] hand.” Some elements

of the cell might be different, such as the toilet, sink, or locker being in a different corner,

but because the room is only about eight feet by five feet, he was familiar with the layout.

Plaintiff contrasted this familiarity with the “common area” of the prison, with which he

was relatively unfamiliar. However, Plaintiff also testified that, “Inside of a prison setting,

nothing moves. Nothing moves but people, period.” The point of this testimony appeared

to be that certain elements in the environment which Plaintiff was able to navigate to or

around—e.g., a trash can—would still be in the same place if he turned around and tried

to navigate to or around them again. 3 Plaintiff stated, “So, when I got up and moved

around—and what you’re asking, what I thought I was seeing, I wasn’t. I wanted to believe



3 For the sake of clarity, the Court notes that Plaintiff’s testimony was often rambling and only loosely

responsive to the questions asked. In these findings of fact, the Court has done its best to distill the purpose
of Plaintiff’s testimony and what the Court understood Plaintiff to be attempting to communicate.

                                                      22
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 23 of 166




that my vision was still there. And I conducted myself like that. This is Williamsburg. This

is me putting my best foot forward.”

       Plaintiff testified that the ophthalmologists at MUSC were great. He felt that he and

Dr. Nutaitis had a great rapport with each other. Dr. Nutaitis educated him about his

condition. Plaintiff stated that Dr. Nutaitis took the time to examine him, study his

condition, and understand how it related to his circumstances holistically. He noted that

Dr. Nutaitis conducted tests with electronics and machines, as well as placed him in a hall

with other people to observe how Plaintiff interacted in that setting. Plaintiff asserted that

Dr. Nutaitis prescribed medications and made recommendations according to those

observations. Plaintiff stated that he knows Dr. Tremblay, and has spoken to him, but the

ophthalmologist he has talked to most often is Dr. Nutaitis. Plaintiff’s testimony and

demeanor established that he had a clear preference for Dr. Nutaitis and wanted to be

treated by him more than others.

       When asked about his medications, Plaintiff stated that he was on at least three

eyedrops while at FCI Williamsburg. He further stated that it was already difficult for him

to take the eyedrops on his own when he got there, and the difficulty “was not because

[he] could not do the eyedrops, it was because [he] couldn’t do them properly.” Plaintiff

testified that he could not put the appropriate amount of medication in his eyes and would

overmedicate his eyes. He further testified, “That would make the medication run out

faster than the 30 days. The pharmacy would not refill the medication. They always told

me it was too soon. That caused me to go week—2 weeks without the medication.”

       Plaintiff testified that the nurses at FCI Williamsburg were great, and they tried to

educate him on the appropriate way to put in his eyedrops. He stated that this was the



                                             23
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 24 of 166




case both at FCI McCreary and FCI Williamsburg. He further stated, “They tried to teach

me. And in both cases, I learned it, but I could not maintain it. And that was the problem.”

Plaintiff asserted that he was able to administer the drops properly, but he had to have

constant instructions and supervision to do so. He believes this was the case because of

his limited vision, combined with the fact that he cannot feel it when a drop hits his eye

due to the deterioration of the first few layers of his eyes. One of the instructions when

administering the eyedrops is to not let the tip of the bottle touch your eye. Plaintiff

asserted that he could literally write his name across his eye with the bottle top without

feeling it, which created “a major problem for self-administering.” However, once the

medication started to overflow and touch areas that did have feeling, then he knew that it

was in his eyes. Plaintiff asserted that this is what he communicated to the nurses and

providers, “all of them,” at the various institutions where he was confined.

       When asked what his understanding was about what would happen to his eyes if

he did not take the eyedrops the way he was supposed to, Plaintiff stated, “At

Williamsburg . . . .” Whereupon a long, inexplicable pause occurred in Plaintiff’s testimony

as the courtroom sat in silence, after which pause, and after being prompted by counsel,

Plaintiff resumed by saying, “No. It’s not that it’s difficult to answer, it’s difficult—I’m—

I’m—I’m making it difficult for myself, and I’m going to stop doing that.” Plaintiff proceeded

to give a lengthy, unresponsive answer, asserting that the problems with his eyedrops

came about when he was still at FCI McCreary, before he got to FCI Williamsburg, and

that he was the one who had to take the initiative to solve the problem of his medication

running out early and his prescription not being refilled. According to Plaintiff, though, with

the combination of the medical staff teaching him how to use the eyedrops and him



                                              24
 5:16-cv-03913-BHH              Date Filed 01/31/23           Entry Number 332             Page 25 of 166




addressing the problem of his unfilled prescriptions with the staff, things were going

relatively smoothly. Plaintiff highlighted that when he was “talking to Dr. Nutaitis, he had

no worries. Nutaitis said he coming to get me, we going to fix this.”

        Plaintiff stated that while he was at FCI Williamsburg, taking the eyedrops that

were prescribed was important to him. The staff had no difficulty taking him for his July

23, 2014 cataract surgery at MUSC. Plaintiff stated that he was allowed to bring his coat

to the surgery that day, in order to help with the issues created by his arthritis when he

gets cold. Plaintiff indicated that he even got approval from the Captain prior to the trip,

and the Captain gave a standing order, months in advance, that if Plaintiff went out on a

trip he could take the coat with him. He further indicated that it was a joke between him

and the drivers because it was July. When asked about the situation that occurred the

following day, July 24, 2014, where Plaintiff refused to go on a medical trip for his follow-

up appointment, Plaintiff gave a rambling answer, spanning several pages of the

transcript, centered around the fact that the prison staff would not allow him to take a coat

and his informing the staff that he would not choose between care for his eyes and care

for his arthritis. Plaintiff described being prepared for the trip and ready to go out the door

when the transporter, with whom he was not familiar, would not give him a coat at his

request. Plaintiff stated that after arguing about the coat for some time and making a

phone call, the transporter took him back to the SHU and put him in the room where the

inmates get their hair cut, rather than his cell. Plaintiff further described the staff setting

up a video camera, 4 and his reaction: “I said okay, a video camera? So I started dancing.”



4 It is unclear how, if Plaintiff’s visual acuity was light perception only in one eye and hand motion vision in

the other, as documented below (see, e.g., PE 2301 (Dr. Nutaitis May 19, 2015 note)), he was able to
discern that the prison staff was allegedly setting up a video camera.

                                                      25
 5:16-cv-03913-BHH              Date Filed 01/31/23           Entry Number 332             Page 26 of 166




According to Plaintiff, after about twenty minutes passed the staff moved him to another

cell and set up the video camera again. He stated that the Warden, the Associate Warden

(“AW”), the SHU Lieutenant, AHSA Whitehurst, and perhaps one other person, were there

and were trying to convince him that he did not need the coat and should prioritize

treatment for his eyes, all while “the camera [was] rolling.” Plaintiff further stated that this

was part of a formal “refusal ceremony,” with the “top people on the compound,” not just

unit officers. Plaintiff testified that when he continued to insist that he needed both the

coat and the medical trip, “[t]hey eventually stop, turn the camera off and walk away.

That’s it. No refusal. Never, in the history.”5

        Plaintiff disagreed with Dr. Loranth’s medical notes in PE 2275 and testified that

he has never misused his eyedrops with the goal of increasing his eye pressure. His

understanding is that pain and loss of vision result if his eye pressures remain high. As to

Dr. Loranth’s questioning whether Plaintiff was “blind,” Plaintiff stated that in August 2014

he was blind, but he did not want to be blind. When he received a letter from a doctor at

FCI McCreary saying that he was legally blind, he did not want to believe it. He further

stated, “I refused to believe it, to be totally honest with you. And I’m trying to tell you I

lived my life according to that at Williasmburg: I’m not blind. This cannot be happening.

This is not going to define me. I am not going to be a blind inmate.” Plaintiff testified that,

at the time, he acted and talked like he could see, but it did not mean that he could.

        As to Dr. Loranth’s assertions that Plaintiff recognized people at a distance on the

compound, and that he saw Plaintiff recognize the Warden at ten to fifteen yards (PE


5 The Court notes that, other than Plaintiff’s testimony, there is no evidence that this incident about the coat

was video recorded. Nor is there evidence to corroborate Plaintiff’s assertion that the Warden and Associate
Warden of FCI Williamsburg were present for this exchange. In general, the Court found AHSA Whitehurst’s
testimony about this incident to be credible, and Plaintiff’s testimony to be incredible.

                                                      26
 5:16-cv-03913-BHH             Date Filed 01/31/23          Entry Number 332            Page 27 of 166




2275), Plaintiff stated that he recognized the Warden by her voice, because she was a

prominent person in the prison, and because she was telling him to backtrack out of a

portion of the yard where no inmates were allowed to be except him, because he had

been granted special permission. 6 Plaintiff testified that AHSA Whitehurst simply made

up the story about Plaintiff recognizing him from twenty-five feet away. If Plaintiff did call

to AHSA Whitehurst from a distance, Plaintiff speculated that he might have heard

someone else say AHSA Whitehurst’s name.

        Regarding Dr. Loranth’s direction that Plaintiff was to be put on pill line for his

eyedrops because he was not responsible to handle the issue himself (PE 2275), Plaintiff

agreed that he could not handle self-administering his eyedrops at that point. Plaintiff

stated that he had difficulty getting to pill line. He further stated that he had an inmate

companion to escort him at one point, but then “they took the inmate away from [him].”

His inmate companions did not receive any formal training or guidance. Plaintiff testified

that when he did not have an inmate companion, he got to pill line by “walk[ing] across

the grass.” Once he reached the building where he knew medical was located, he would

slide down the brick wall until he found the right door. Plaintiff stated that he missed some

pill lines at FCI Williamsburg because he did not have another inmate to help him get to

medical on time. He further stated that once he did make it to medical, it would have been

very helpful for a nurse to administer his eyedrops.



6 Plaintiff’s answer to counsel’s question was, once again, very long, rambling, and largely non-responsive.

In the middle of his description of recognizing the Warden, he stated, “she said go the other way, like I’m
not allowed to walk here, which, she must not have gotten the memo. So I’m walking to her to pull the paper
out, because of course I keep it because, it’s priceless. That piece of paper is priceless. You want a
[corrections officer] to say something just so you could flash it on them, man, if you don’t read this.” From
his tone and demeanor, the Court understood Plaintiff to mean that he relished the opportunity to prove
prison staff members wrong when he had been granted special exceptions to certain rules because of his
legal blindness.

                                                    27
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 28 of 166




       Plaintiff described two different time frames regarding administration of his

eyedrops, one being when the medical staff tried to teach him how to use the drops, the

other being when the staff was instructed to administer the drops for him. Plaintiff testified,

“And when they were instructed to teach me, they did just that, they taught me. And like I

said, it just—it just couldn’t stick. And when they instructed the nurses to assist me with

the administration of the eyedrops, they did just that three times a day appropriately, and

I showed up, I got it. And sometimes the [corrections officer] would not let me make my

way there. And when he didn’t let me make my way there, those are the times that I wasn’t

able to get it.”

       Plaintiff believes he spoke with someone on the medical staff in the weeks

following Dr. Nutaitis’ August 2014 recommendation of the diode laser surgery (PE 2286),

and that whoever he spoke with said the surgery should happen. Plaintiff stated that he

never spoke directly with Dr. Loranth about the surgery recommendation. He further

stated that he did not refuse the surgery at any point from August 28, 2014, through May

10, 2015. Plaintiff was not aware that Dr. Loranth was taking his complaints with a grain

of salt (see PE 2296) in March 2015. When Plaintiff made it back to Dr. Nutaitis on May

19, 2015, he was in a lot of eye pain. At this point in the testimony, Plaintiff gave an

extensive, rambling account of the interactions and conversations that he and Dr. Nutaitis

allegedly had during the May 19 appointment. Plaintiff asserted that when he told Dr.

Nutaitis the medical staff at FCI Williamsburg thought he was faking his blindness, Dr.

Nutaitis put him in the hallway and told him to sit down “because he was checking on

[Plaintiff] and [his] character.” After observing how Plaintiff conducted himself in that

setting, Dr. Nutaitis took Plaintiff into his office for a discussion and told Plaintiff that



                                              28
 5:16-cv-03913-BHH               Date Filed 01/31/23           Entry Number 332              Page 29 of 166




“according to [his] test” Plaintiff was not faking his blindness. Plaintiff testified, “I said, well,

I feel like I can see too. He said you’re fooling yourself. He said you cannot see. I was

like, man, I don’t feel like that. He said you’re fooling yourself. He said . . . the damage on

your optic nerve is consistent with the damage of a blind person.” Plaintiff further testified

that he told Dr. Nutaitis the medical staff was not giving him the assistance that he needed

regarding ambulation, and Dr. Nutatis responded, “[L]ook man, I know the warden. I’m

going to write him a letter, man. And I’m going to tell them this that and the third. I’m going

to tell them that you need assistance, you need help with your medication. You know what

I mean?” 7

        Plaintiff denied refusing surgery on June 10, 2015. The Court found this denial,

among a number of incredible aspects of Plaintiff’s testimony, to be particularly incredible.

Plaintiff gave a convoluted explanation for why the surgery did not proceed, including that

he failed to follow Dr. Nutaitis’ instruction not to eat before surgery and that he and Dr.

Nutaitis were engaged in further conversations about the letter and how Plaintiff needed

help at the institution. Plaintiff asserted that he never talked to Dr. Tremblay. Plaintiff

stated that once he told Dr. Nutaitis he had eaten something the night before, “that is

when he ended it.” He asserted that the medical staff at FCI Williamsburg did not put him

on NPO (nothing by mouth) status.

        Plaintiff testified that, while at FCI Williamsburg, he was not given a pair of dark

sunglasses, a full length blind-assistance cane, a talking watch, braille materials, or a

safe/lock for his personal property. He also said that he did not have consistent access



7 Not for the first time during Plaintiff’s testimony, the Court felt that this portion was crafted by Plaintiff in

an attempt to cure what he perceived to be damaging aspects of prior testimony from BOP witnesses. The
Court found it to be deserving of little weight and credibility.

                                                       29
 5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332         Page 30 of 166




to trained inmate companions.

       3. Consolidated Findings Regarding FCI Williamsburg

       The preponderance of the evidence, along with reasonable inferences from that

evidence, establish that Plaintiff demanded the June 10, 2015 letter from Dr. Tremblay,

and used his refusal to consent to the diode laser surgery as leverage to obtain the letter.

This letter is, in large part, the basis of Plaintiff’s claim that it is medically necessary for

him to receive ambulation assistance and to have a designated proctor, sitter, or nurse in

the prison setting. There is no evidence that Dr. Tremblay, or any of Plaintiff’s other

outside providers, had the same or similar opportunity to observe Plaintiff’s ability to

navigate the compound or administer his eyedrops that Dr. Loranth, AHSA Whitehurst,

and the rest of the BOP medical staff at FCI Williamsburg had on a day-to-day basis. The

preponderance of the evidence supports a finding that Dr. Loranth did not agree with Dr.

Tremblay’s recommendations because BOP medical staff routinely observed Plaintiff

successfully perform the tasks with which Dr. Tremblay’s letter stated Plaintiff needed

assistance. The testimony established that BOP medical professionals are not required

to follow all recommendations from outside consultants and that the inherent constraints

of the prison setting sometimes require adjustments in the timing or manner that

recommended treatment is provided. It was not established by a preponderance of the

evidence that Plaintiff’s medical care at FCI Williamsburg was compromised, or fell below

an acceptable level, due to such adjustments.

       Plaintiff’s assertion that the medical staff would not refill his eyedrop prescriptions

if he ran out early was not credible. Rather, the evidence demonstrated that when Plaintiff

was running out of his medications early, he was placed on pill line to ensure that he was



                                              30
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 31 of 166




receiving them and to allow the medical staff the opportunity to observe whether he was

administering them properly.

       Plaintiff’s allegations about a breach in the standard of care largely hinge on the

gap in ophthalmological care that occurred after diode laser surgery for Plaintiff’s left eye

was recommended by Dr. Nutaitis in August 2014. But when Plaintiff eventually did go for

surgery at the Storm Clinic in June 2015, he constructively refused the surgery by so

extensively delaying Dr. Tremblay and the staff with his demands, that they could not

conduct the surgery. It was not established by a preponderance of the evidence that

Plaintiff’s referral for diode laser surgery was intentionally delayed by Dr. Loranth or

postponed as a retaliative measure. Rather, the preponderance of the evidence showed

that Dr. Loranth, AHSA Whitehurst, and the rest of the medical staff at FCI Williamsburg

reasonably concluded that Plaintiff’s combative and sometimes bizarre behavior was

sabotaging his own care. (See, e.g., PE 2275 (Loranth August 1, 2014 medical note);

infra at n.22.)

   C. FCI Estill

       Plaintiff was transferred to FCI Estill in September 2015. Plaintiff alleges

Defendants ignored and disregarded the express instructions of Plaintiff’s treating

ophthalmologists during his confinement at FCI Estill. Plaintiff further alleges that

Defendants failed to provide him with the assistance he needed to administer his

eyedrops and with the accommodations he needed to cope with his disability.

       1. Richard Lepiane, MD

       Dr. Richard Lepiane (“Dr. Lepiane”) has served as the Clinical Director at FCI Estill

since November 2014, which includes the entire time that Plaintiff was housed at FCI



                                             31
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 32 of 166




Estill. Dr. Lepiane graduated from medical school in 1982 and finished residency in 1988.

He is board certified in family practice. He does not have a medical specialty in eye care

or glaucoma. He has treated glaucoma and eye disease, but he is not a specialist in those

areas. As Clinical Director, Dr. Lepiane is responsible for all medical care that is

performed at the facility, and he reports directly to the Associate Warden and the Warden.

During the relevant time period, the medical staff at FCI Estill consisted of six to seven

providers: Dr. Lepiane, two mid-level providers, two nurses, and one to two paramedics.

       Dr. Lepiane stated that a very small percentage of the inmates at FCI Estill are

blind. There were approximately 1,200 inmates at FCI Estill when Plaintiff was housed

there. The majority of medications are not dispensed through the pill line, but there are

certain medications that are required to be dispensed through pill line as stipulated by

BOP policy. Inmates that receive eyedrops typically administer the eyedrops themselves,

so long as they demonstrate that they can successfully administer them. If an inmate is

instructed on how to self-administer eyedrops, they may be subsequently placed on pill

line if the BOP medical staff finds that the inmate is not using the medications properly or

is hoarding the medication. The purpose is to observe that the inmate is using the

medications and to document such use. There are generally two pill lines per day at FCI

Estill, one in the morning and one in the evening. The medical staff tries to confine the

dispensing of medications to the two pill lines, but where a medication needs to be

dispensed on a different schedule the staff makes special arrangements. Each inmate’s

medication is dispensed on an individualized basis, according to how the medication is

prescribed. In the situation where Plaintiff needed to wait five minutes between individual

eyedrops, he may have had to wait in the waiting room until the next drop was to be



                                            32
 5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332         Page 33 of 166




administered. In the SHU, if an inmate is on pill line, a nurse will come and deliver the

medication to the inmate’s cell and watch them take or use the medication. Regarding

outside provider consultations, Dr. Lepiane stated that the BOP medical staff takes the

opinions of specialists into consideration and generally follows their recommendations.

       Dr. Lepiane was asked to discuss PE 2301, a May 19, 2015 medical note written

by Dr. Nutaitis of the Storm Clinic. In the note, Dr. Nutaitis indicates that Plaintiff’s vision

in his right eye was light perception only and in his left eye was hand motion. Dr. Lepiane

explained that this generally describes Plaintiff’s vision, and what the ophthalmologist

thinks Plaintiff can perceive, but it does not necessarily tell you everything about the

Plaintiff’s vision. So, the note indicates that Plaintiff could perceive some light and maybe

some colors in one eye and could make out some motions with the other eye, indicating

some peripheral vision. Being legally blind means he could not read the big E on the

vision chart. Dr. Lepiane had no reason to disagree with the findings of the

ophthalmologist.

       Dr. Lepiane was also asked to discuss PE 2305, a May 22, 2016 medical note

written by Dr. Goulas of Goulas Eye Practice (“Goulas Eye”). In the note, Dr. Goulas

indicates that Plaintiff’s unaided visual acuity is light perception only in both eyes. Dr.

Lepiane confirmed that Plaintiff was legally blind when he came to FCI Estill and remained

legally blind at the time of Dr. Goulas’ examination. The note reflects that Plaintiff’s left

eye has extremely elevated pressures and that he may lose the rest of his remaining

vision if the pressure is not lowered. Dr. Lepiane testified that such eye pressure is typical

of glaucoma. The note recommends that Plaintiff be provided assistance using his

eyedrops. Dr. Lepiane stated that this recommendation is about a subjective issue and



                                              33
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 34 of 166




constitutes Dr. Goulas’ subjective opinion of what Plaintiff needs. Dr. Lepiane testified

that the goal is to teach the patient to manage his own disease, whether he is self-

administering the eyedrops or someone is helping to administer them, whatever needs to

be done. He further testified that Plaintiff’s eye pressures fluctuated all over the place

because sometimes he used his eyedrops and other times he did not. The note

recommends referral to an evaluation by a glaucoma specialist, but Dr. Lepiane clarified

that Plaintiff was already seeing a specialist at Storm Clinic, and that the visit to Goulas

Eye was simply an occurrence of another ophthalmologist evaluating him. Dr. Lepiane

later explained that Goulas Eye was not really treating Plaintiff for his eye disease. Rather,

it was Storm Clinic that was following Plaintiff’s care, prescribing his eyedrops, and

performing surgery. Dr. Lepiane thinks Plaintiff was sent to Goulas Eye when he was

supposed to have gone to Storm Clinic, and it was a one-time thing.

       Dr. Lepiane was questioned about PE 2036, a BOP medical record dated May 23,

2016, wherein Dr. Lepiane documented his review of the May 22 consult report from Dr.

Goulas (PE 2035). With regard to the recommendation that Plaintiff see a glaucoma

specialist, Dr. Lepiane explained that the consult was already written for the specialist, he

approved it, and Plaintiff was scheduled for the trip to MUSC. This was already in process

before Plaintiff even returned from Goulas Eye.

       When asked about PE 2033, an October 18, 2016 medical note in which Dr.

Nutatitis states that if Plaintiff did not receive his medications his eye pressure would stay

uncontrolled, Dr. Lepiane testified that Plaintiff’s eye pressures would fluctuate according

to whether or not he used his eyedrops. When he was not using the eyedrops, and his

pressures were higher, that was just the reflection of what Plaintiff was doing himself.



                                             34
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 35 of 166




       Dr. Lepiane testified that when assigning a care level, BOP staff try to pair an

inmate with a facility that can provide the care and treatment the inmate will need. If an

inmate’s disease progresses or worsens, then the inmate’s care level designation may

increase. Level 1 is the lowest care level, and usually indicates an inmate that is healthy

and does not require chronic medications; Level 4 is the highest care level, is relatively

rare, and usually indicates an inmate that is in need of urgent treatment, such as a disease

that is rapidly progressing or life threatening, and who needs to be transferred to a medical

center immediately for continuation of care. BOP policy dictates that blindness is a Level

2 condition. However, if Dr. Lepiane felt, based on subjective criteria, that Plaintiff needed

more care, he could possibly qualify for Level 3. Ultimately, care level classification is not

the Clinical Director’s decision, it is a BOP administrative decision. FCI Estill is a Level 2

facility. So, if an inmate’s disease progresses to require Level 3 care, then FCI Estill staff

submit a transfer request to move that inmate to a Level 3 institution. Level 3 institutions

have 24-hour nursing staff.

       In PE 2327, a BOP medical record dated March 7, 2016, Dr. Lepiane notes that

Plaintiff was on a hunger strike. When an inmate is on a hunger strike, BOP medical staff

attempt to find out what the inmate’s concerns are to convince the inmate to eat. During

this process, Plaintiff expressed, many times, his desire or felt need to be at a BOP

medical center. So, Dr. Lepiane and the medical staff took that into consideration and

decided to submit a transfer request for Plaintiff at that time. Dr. Lepiane testified that

there are always two parts to every disease—the objective part, having to do with what

the patient needs medically, including diagnosis, medications, etc., and the subjective

part, having to do with what the patient reports he is needing, how he feels, and how he



                                             35
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 36 of 166




is coping. Plaintiff’s disease alone did not qualify him for Level 3 care, but his mannerisms

and how he coped with his disease led Dr. Lepiane to believe that he needed to be at a

facility that could provide greater care. Accordingly, Dr. Lepiane granted Plaintiff’s request

to seek transfer for him to a FMC. When questioned about the portions of the March 7

medical note that indicate Plaintiff’s difficulties with ambulation around FCI Estill, his

desire for an inmate companion, and his representation that he could not use his

eyedrops, Dr. Lepiane testified that those were the subjective aspects the medical staff

observed about how Plaintiff was coping with his disease. As to his ADLs, such as

bathing, dressing, and cleaning, Plaintiff clearly demonstrated to the medical staff that he

could do those things. By designating certain aspects of Plaintiff’s reported condition as

“subjective,” Dr. Lepiane was not labelling them as invalid; they were an accurate

assessment of how Plaintiff was coping with his disease. Therefore, Dr. Lepiane’s opinion

at the time was that Plaintiff needed more care than FCI Estill was able to provide, which

is why he requested a transfer.

       PE 2022 is a July 14, 2016 memorandum reflecting the BOP administrative

decision denying Dr. Lepiane’s transfer request. Dr. Lepiane testified that there are two

parts to any such transfer request—first, being blind did not qualify Plaintiff for a transfer,

and second, “I felt that he needed more attention; the Bureau felt differently.” The BOP

memorandum recommended that Plaintiff seek assistance from the State Commission

for the Blind.

       PE 2023 is a March 2016 email exchange that demonstrates FCI Estill HSA Regina

Bradley’s effort on Plaintiff’s behalf to seek assistance from the Commission for the Blind,

and the Commission’s indication that they could not provide ADL training. Dr. Lepiane,



                                              36
 5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332         Page 37 of 166




who discussed these communications with HSA Bradley at the time, explained that the

Commission put BOP medical staff in contact with a contractor who was able to provide

some training for Plaintiff down the road (see infra at 36). The main goal was to get

someone to teach Plaintiff to use a blind-assistance cane. FCI Estill had no resources to

do that, so the medical staff first reached out to the Commission, which subsequently put

them in contact with the contractor. It took some time to set up this special arrangement,

where an outside contractor was willing to come in and teach Plaintiff how to use the

cane. The contractor’s expertise was on the use of the cane only, and she came to give

Plaintiff instructions on how to use it. The training was very unsuccessful. After the training

was unsuccessful, Dr. Lepiane did not resubmit a transfer request because Plaintiff did

not qualify. Nothing had changed for Plaintiff that would have changed the analysis of his

care level at that point.

       PE 2370 is a March 2017 letter from Dr. Nutaitis and Dr. Kammerdiener of MUSC,

which recommends that Plaintiff have assistance administering his eyedrops because he

has difficulty doing it himself. Dr. Lepiane testified that this is again, part of the subjective

care of Plaintiff, and is based upon what he told his ophthalmologists during an outside

visit. Dr. Lepiane explained that Plaintiff said, “I need help with my eyedrops,” so the

ophthalmologists wrote it in the record; they did not observe Plaintiff, they were not there

every day to take care of him, but this recommendation represents what he subjectively

told them and “coached them to write.” Dr. Lepiane stated that this recommendation had

nothing to do with the medical treatment of Plaintiff’s disease. When confronted with the

fact that the letter states that a failure to administer the medications could lead to

permanent vision loss, Dr. Lepiane testified that BOP medical staff did everything they



                                               37
 5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332         Page 38 of 166




could to help Plaintiff cope with his disease and keep his eye pressures down—they gave

him the eyedrops, they gave him cups to assist in administering the eyedrops, they taught

him to do it, he showed the staff that he could do it, but then he simply would not do it.

Dr. Lepiane stated that Plaintiff was resistant in learning these things and he did not want

to cooperate, which made it very difficult to manage him and establish a treatment plan.

       Dr. Lepiane explained that at certain point, Plaintiff was placed on pill line so that

the medical staff could watch him administer his medications. The medical staff suspected

that Plaintiff was not using his eyedrops properly because they found a big stash of

unused eyedrops in his locker. Dr. Lepiane stated that although Plaintiff showed he could

do it, he was not doing it, and that this choice was likely reflected in his elevated eye

pressures.

       PE 2031 is a BOP medical record which lists Plaintiff’s pill-line medications from

October to December 2016. The entries on the record show, for each day, the

medications Plaintiff was scheduled to receive, the times, and whether or not he received

the medications at each opportunity. Any medications that were assigned to pill line would

be shown on the record, any medications that were self-carry would not. Plaintiff’s eye

drops are not listed on this record, indicating that they were still on a self-administration

regimen at this point.

       PE 2032 is a similar medication administration record (“MAR”) beginning in

February 2017. The medications on this record have nothing to do with Plaintiff’s eye

disease, they were pain medications. Where the record reflects an “R” in a particular box,

for a particular time on a particular day, it means that Plaintiff refused the medication at

that time. It could be that Plaintiff did not need the medicine or that he just did not want it.



                                              38
 5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332         Page 39 of 166




The MAR does not show the reason for the refusal. Where the record reflects “NS” in a

particular box, it means that Plaintiff was a “no show” at the pill line for medication at that

time. It is an inmate’s responsibility to be there for pill-line medications. FCI Estill provided

an inmate companion for Plaintiff at times, and Dr. Lepiane stated there were difficulties

with that arrangement. The MAR would not reflect it if the reason Plaintiff did not show up

to pill line was because his inmate companion was not there to help him. Dr. Lepiane

stated that there were some inmates assigned to escort Plaintiff that wanted to do it, and

others that were not as cooperative and did not want to do it. All the MAR can show is

that Plaintiff did not show up for his medication, that is what the BOP medical staff are

able to document.

       Dr. Lepiane was questioned about the third page of PE 2032 (bates number 6143),

a MAR from June 2017 that reflects Plaintiff was on pill line for artificial tears, two drops

per eye, three times a day, as juxtaposed with PE 2033, Dr. Nutaitis’ October 18, 2016

note, in which he prescribed artificial tears four times per day. Dr. Lepiane testified that

artificial tears were for Plaintiff’s comfort only, they did not treat his glaucoma. He further

testified that artificial tears are generally a self-carry medication; inmates use them as

needed. The BOP medical staff put Plaintiff on pill line in the attempt to ensure he was

using them at least three times a day.

       Through questioning Dr. Lepiane, Plaintiff sought to demonstrate that, whereas Dr.

Nutaitis recommended artificial tears four times per day, Plaintiff would not have been

able to access them four times per day in a pill line environment. Ironically, the MAR (PE

2032 at 3) shows that Plaintiff refused the artificial tears on almost every recorded

occasion. Further, Dr. Lepiane confirmed that artificial tears can be obtained from the



                                               39
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 40 of 166




prison commissary, are a comfort measure only, and Plaintiff did not need to receive them

in the pill line environment. Under repeated questioning designed to show that FCI Estill

could not accommodate four pill lines a day, Dr. Lepiane explained, once again, that FCI

Estill generally has two pill lines a day, and that if an inmate needs medication four times

per day, the medical staff makes special arrangements for that to occur. Such

circumstances are handled on an individualized, case by case basis.

       Dr. Lepiane was confronted with the second page of PE 2032 (bates number

6142), which shows that on June 14, 16, 17, 18, 24, and 25 of 2017, the 1300 hours (or

1:00 p.m.) entry is not completed for Brimonidine Tartrate, an eyedrop that was prescribed

to be administered three times a day and intended to treat Plaintiff’s glaucoma by lowering

his eye pressure. Through this line of questioning, Plaintiff sought to demonstrate that,

because there was no record for those particular time slots on those particular days, there

is no way to tell whether Plaintiff received his medication at those times. Dr. Lepiane

explained that the record speaks for itself and there is no way to know whether the nurse

simply failed to document the result on those occasions, or what happened on those days.

More importantly, and once again ironically, the record undisputedly demonstrates that

Plaintiff affirmatively refused this very medication on the majority of days and time slots

represented. (See PE 2032 at 2.)

       When asked about Dr. Tremblay’s recommendation that Plaintiff receive dark

glasses (PE 2301 at 2), Dr. Lepiane stated that the BOP has contractors who make all

the glasses and tints for prisoners. He further stated that Plaintiff was given the tint that

the contractor could provide according to Bureau standards, and Plaintiff did not like the

tint, so he refused the glasses.



                                             40
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 41 of 166




       In PE 2021, a BOP medical record dated March 4, 2016, Dr. Lepiane noted that

Plaintiff had difficulty navigating the compound at FCI Estill without assistance. Dr.

Lepiane testified that Plaintiff had difficulty ambulating on his own, so he was assigned a

guide to help lead him around. FCI Estill does not have a trained inmate companion

program, but inmates are assigned to help guide other inmates around if they need it.

Plaintiff is one of those who was assigned an inmate to help guide him. When questioned

about whether the companion had formal training, Dr. Lepiane stated that he did not need

formal training; the companion was assigned to help Plaintiff and instructed on how to do

so, and Plaintiff helped the companion along as well. The FMCs deal with inmate

companion programs much more than a facility like FCI Estill, so they have more formal

training of inmates. At FCI Estill, the medical staff works with the psychology department

to find an inmate that is compatible with the inmate that needs a companion. That was

sometimes very difficult to do for Plaintiff, but the staff did their best to provide a

companion.

       Dr. Lepiane was questioned about PE 2042, a BOP medical note entered by Nurse

Jade Lloyd in March 2016 and co-signed by Dr. Lepiane. The note deals with a time when

Plaintiff was on hunger strike. Dr. Lepiane explained that Plaintiff requested Nurse Lloyd

to administer his eyedrops because he liked Nurse Lloyd. When confronted with the fact

that the note shows Dr. Lepiane instructed Nurse Lloyd not to administer Plaintiff’s

eyedrops, Dr. Lepiane testified that the staff instructed Plaintiff on numerous occasions

how to use his eyedrops—Nurse Lloyd did it, all the nurses did it. He further testified that,

even though Plaintiff demonstrated that he could administer the eyedrops himself, and

the staff gave him everything he needed to assist him, he did not want to do it. Plaintiff



                                             41
 5:16-cv-03913-BHH        Date Filed 01/31/23       Entry Number 332       Page 42 of 166




liked certain nurses to do it, and he wanted them to do it for him. Accommodating such

specific preferences was not part of FCI Estill medical staff’s general procedure.

       PE 2030, a BOP medical note entered by Nurse Chambers in November 2016,

describes a situation in which Plaintiff was instructed on how to use the eye cups to assist

with administration of the eyedrops. Nurse Chambers notes that Plaintiff stated he could

see the medication going into his eye, but he could not tell how much was going in

because he could not feel his eyeball. Plaintiff further stated that he could feel the

medication running down his face, and that is how he knew he got the medication into his

eye. When questioned about these statements, Dr. Lepiane testified that the medical staff

watched Plaintiff administer the medication successfully and then sometimes he would

tell them that he could not do it. He further testified that he did not know what else the

medical staff could do when they watched Plaintiff administer the medication successfully,

and then Plaintiff simply would not want to do it. Dr. Lepiane could not explain that

behavior and stated, “That’s up to Mr. Washington.”

       As to Dr. Nutaitis and Dr. Kammerdiener’s recommendation that Plaintiff see a low-

vision specialist (see PE 2370), Dr. Lepiane stated that he made a referral for the

consultation but could not be sure if it took place without reviewing the records. He further

stated that the Storm Clinic has a low-vision specialist, so if Plaintiff needed care in that

regard, Storm Clinic could have arranged for him to have that care. Dr. Lepiane explained

that assistance from a low-vision specialist does not treat Plaintiff’s glaucoma, it is

intended to help Plaintiff cope with his disease.

       Dr. Lepiane did not know whether Plaintiff ever received any braille materials

because he is not part of the education unit at the prison. He stated that Plaintiff had some



                                             42
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 43 of 166




peripheral vision, so Plaintiff did not need braille. Dr. Lepiane further stated that Plaintiff

never asked for braille and he does not think Plaintiff would have benefited by it. Dr.

Lepiane testified that if Plaintiff would have needed braille, BOP would have provided it

for him, but it did not seem like that was an interest, a desire, or a need of Plaintiff’s at

that time. Dr. Lepiane did not know whether Plaintiff ever received a talking watch, and

whether or not Plaintiff received one was not his decision. Dr. Lepiane did not know

whether Plaintiff ever received a special lock designed for blind inmates because he is

not part of the custody unit. He also did not know whether Plaintiff ever received an alarm.

Anything that goes outside or above normal inmate property must be approved by the

prison administration and that is not in Dr. Lepiane’s control.

       When questioned about following the recommendations of outside specialists, Dr.

Lepiane elucidated the distinction he made between recommendations pertaining to the

objective and subjective aspects of Plaintiff’s care. Dr. Lepiane testified that if the

specialist makes specific medical recommendations, such as for surgery or for a particular

medication to treat Plaintiff’s disease, BOP medical staff follows those recommendations.

If the recommendation is more subjective, the BOP medical staff take care of Plaintiff

every day, so they take subjective recommendations into consideration as they observe

Plaintiff’s daily behavior and needs. Dr. Lepiane clarified that specialists may only see

Plaintiff in their office for about fifteen minutes, and take whatever Plaintiff tells them at

face value, whereas the BOP medical staff is able to observe how Plaintiff reacts and

what occurs at the prison, not just what Plaintiff says during an appointment.

       Dr. Lepiane confirmed that inmates have a right to refuse their medication. He

stated that all medications have a cost and come out of the FCI Estill budget. If an



                                              43
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 44 of 166




inmate—in the opinion of the medical provider—wastes, spills, or misuses medication,

the BOP medical staff generally just accepts that and continues to provide the inmate with

the medication. If an inmate is doing it on purpose, the staff can issue the inmate a

citation, but it would have to be for something intentional. The medical staff generally try

not to cite inmates for misusing medication because it does not help the inmates. The

medical staff wants the inmates to take the medication, that is the goal.

       Dr. Lepiane described an instance when the medical staff found that Plaintiff had

a big supply of eyedrops in his locker, so they suspected that he was not taking his

eyedrops. Dr. Lepiane stated that Plaintiff’s disease was not straightforward in the way

that glaucoma usually is, because usually patients with glaucoma are prescribed

eyedrops, they use the eyedrops, the medication controls their eye pressures, and they

see a specialist to make sure that their eye pressures are controlled. Plaintiff has seen

specialists numerous times, they would ask if he was taking his medications, and he

would probably tell them, “yes.” His eye pressures were still way out of control. It was up

to the specialists to determine whether that was due to Plaintiff not taking the medications

or due to Plaintiff’s disease.

       Dr. Lepiane testified that if an inmate has a self-administer medication and has

shown an ability to successfully use the medication, the inmate should not have to come

to pill line for the staff to administer the medication, he should be able to do it on his own.

This aligns with the rehabilitative purpose of prison. Plaintiff has had glaucoma for a long

time, and he will probably need eyedrops for the rest of his life, so the BOP medical staff’s

job was to teach him how to use the eyedrops and how to cope with his disease. Plaintiff

will not always be in prison or always have someone there to administer his eyedrops, so



                                              44
 5:16-cv-03913-BHH            Date Filed 01/31/23         Entry Number 332           Page 45 of 166




the medical staff’s goal was to teach him how to do it on his own. However, Plaintiff was

often resistant to such instruction.

        In DE 17 (5642), 8 a BOP medical record dated March 4, 2016, Dr. Lepiane noted

that Plaintiff had difficulty ambulating around the FCI Estill compound and had been

assigned a guide to lead him. When asked whether the medical staff ever took away the

guide, Dr. Lepiane testified that they never did, but Plaintiff did not get along with certain

inmates assigned to guide him and made claims that he was being inappropriately

touched or groped by his inmate guides. Dr. Lepiane stated that Plaintiff was difficult and

“nobody”—meaning his fellow inmates—wanted to work with him. The medical staff had

a very hard time finding someone that was willing to be Plaintiff’s guide. Nevertheless,

Dr. Lepiane indicated that Plaintiff always had a guide. Plaintiff would use the inmate

guide by placing his hand on the guide’s shoulder and walking with him. The medical staff

could observe Plaintiff walking around the compound and the orientation and mobility

specialist gave additional instructions to Plaintiff’s companions on how they should guide

him, but Plaintiff would not follow the instructions given.

        The orientation and mobility specialist was named Shirley Madison and was the

contractor to whom BOP medical staff were referred by the State Commission for the

Blind (see supra at 27). Dr. Lepiane met with Ms. Madison and talked with her several

times. Ms. Madison came to FCI Estill two or three times to instruct Plaintiff, but

communicated to the staff that it was a waste of time and stopped coming. DE 17 (5770–

72) documents Ms. Madison’s assessment of Plaintiff, wherein she recommends that

Plaintiff not continue his training because he would not follow her instructions. She



8 DE 17 (5642) is the same as PE 2021, so it was unnecessary for it to be separately admitted.


                                                   45
 5:16-cv-03913-BHH             Date Filed 01/31/23         Entry Number 332            Page 46 of 166




indicates that Plaintiff was untrainable, did whatever he wanted to do rather than what he

was instructed to do, and was resistant to the training, such that she could not train him.

        Regarding the transfer request that he submitted while Plaintiff was on hunger

strike, Dr. Lepiane testified that he knew Plaintiff’s disease was not a care Level 3

condition and did not qualify him to be transferred. It was Plaintiff’s behaviors and the

subjective complaints reported by Plaintiff that led Dr. Lepiane to believe he needed more

care than the medical staff at FCI Estill could provide. Dr. Lepiane has had past transfer

requests granted based upon an inmate’s inability to perform ADLs, such as maintaining

proper hygiene. However, Plaintiff was able to take care of himself, he was always

dressed properly, and he demonstrated this ability on numerous occasions. The main

issue was Plaintiff’s claim that he could not administer his eyedrops. But the medical staff

instructed him on how to use them, observed him do it confidently, then the next time he

just would not do it and would complain that he could not do it. Dr. Lepiane stated that for

this reason it was very, very difficult to make a care plan for Plaintiff, and he was very

difficult to manage. 9

        In DE 18 (6069), a BOP medical record dated March 26, 2017, Dr. Lepiane

documents administrative notes following Plaintiff’s left eye surgery at the Storm Clinic on

February 22, 2017. He notes that Plaintiff was seen for a follow-up appointment by the

ophthalmologist on March 14, 2017, was stable post-operatively, and was continued on

his five then-prescribed eyedrop medications. Dr. Lepiane further notes that the

ophthalmologist at the Storm Clinic felt Plaintiff would benefit by an appointment with the

low-vision specialist, Dr. Hill, also of the Storm Clinic. The March 26 note includes a



9 During this portion of Dr. Lepiane’s testimony, the Court observed that he was visibly exasperated.


                                                    46
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 47 of 166




consultation request for a visit with Dr. Hill written by Dr. Lepiane.

       In DE 18 (6058–59), a BOP medical record dated May 5, 2017, Nurse Alexis

Chambers documents an interaction between Plaintiff, Nurse Chambers, and Dr.

Lepiane. Nurse Chambers called Plaintiff to the medical department to speak with Dr.

Lepiane about a new plan for Plaintiff to receive his eyedrops. At this point, Plaintiff was

being placed on pill line for his eyedrops because of the lack of success in getting him to

administer the drops on his own. Nurse Chambers quotes Plaintiff as saying, inter alia, “I

have no problem with [N]urse Chambers, but I refuse to have anyone else help me or

watch me do anything,” “I can not deal with your other staff members,” “Ya’ll can’t tell me

what kind of plan I’m going to do,” and “This plan did not include me at all.” (DE 18 (6058).)

The May 5 note describes Plaintiff as continuing to argue with Dr. Lepiane about how

Plaintiff did not want to come to medical to receive his eyedrops and did not want nurses

other than Nurse Chambers to help him.

       In DE 18 (6057), a BOP medical record dated May 5, 2017, Dr. Lepiane documents

the same interaction with Plaintiff described by Nurse Chambers. He states that even

though Plaintiff has had end stage glaucoma since 2009, has been using eyedrops on his

own for many years, and has demonstrated the ability to successfully use the eyedrops

at the time of the note, that Plaintiff simply chooses not to do so. Dr. Lepiane notes that

Plaintiff keeps getting his outside ophthalmologist to write that he needs help applying his

eyedrops, but really Plaintiff just wants someone to cater to him and to apply the eyedrops

for him. Dr. Lepiane further notes that Plaintiff wants to pick and choose who applies his

eye drops and who does not. The note states, “This is disturbing the order[ly] running of

our medical dept.” (DE 18 (6057).)



                                             47
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 48 of 166




         In DE 18 (6054), a BOP medical record dated May 9, 2017, Dr. Lepiane documents

how Plaintiff refused to comply with the medical department’s instructions about obtaining

his eyedrops at pill line, and continued to be “very manipulative and very demanding.” Dr.

Lepiane notes that Plaintiff was told that if he wanted help with the eyedrops, the medical

staff was willing to help him and instruct him, but he needed to be willing to work with

them rather than against them.

         In DE 18 (6048–50), a BOP medical record dated May 10, 2017, Nurse Eve Ulmer

records how Plaintiff, upon coming to medical at 1030 hours for the staff to observe him

putting in his eyedrops, said, “Let me see who is here today,” and “I want Ms. ____ to put

my eye drops in.” Nurse Ulmer advised Plaintiff that he was there for the medical staff to

observe him putting in the eyedrops himself, to which he responded, “No that was not the

plan.”

         In DE 18 (5943–44), a BOP medical record dated June 27, 2017, Nurse Lloyd

documents that after accepting his prescribed eyedrops, Plaintiff squeezed all of the

bottles until medication ran down his face and onto his chest. Nurse Lloyd notes that

numerous attempts were made to educate Plaintiff regarding the proper administration of

the eyedrops, but Plaintiff was uncooperative and would not attempt the nurse’s

directions, preferring instead to squeeze the contents of the bottles until they were empty.

         In DE 18 (5940–41), a BOP medical record dated June 28, 2017, Dr. Lepiane

documents an extensive summary of the medical care provided to Plaintiff since he

arrived at FCI Estill in September 2015. Dr. Lepiane divides the report into two parts, the

first pertaining to Plaintiff’s medical condition of end-stage glaucoma, and the second

pertaining to Plaintiff’s personal needs as a legally blind individual. Regarding Plaintiff’s



                                             48
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 49 of 166




eyedrops, Dr. Lepiane notes that at the time Plaintiff had been using eyedrops for eleven

years. Dr. Lepiane further notes:

       He is certain capable of administering his own eye drops. We have
       instructed and observed him using his eye drop properly on several
       occasions. We even obtained eye cup to help him with his eye drop
       administration. It is in his own best interest to learn to do this on his own.
       However inmate Washington continue to insist he need help with his eye
       drop and he wants other to do this for him. He has demonstrated that he
       can recognize his eye drop my the size of the bottle and the color of their
       caps Due to his insistent that he need help with his eye drops we elect to
       place him on pill line to assure that he was proper administering his eye
       drops. this has been a disaster. First the insistent that he could not make it
       to medical 3 times a day which was simple not true. His companion was
       willing to bring him to medical. Then he want to pick and chose who was to
       give him his eye drops. He has been acting up and has intentional squirted
       out all this eye drops wasting them. Inamte Washington has been
       uncooperative and has been very difficult to work it has been impossible to
       form any viable plan of treatment with him. We had done all that we can to
       help and assist inmate Washington with the prison environment. However
       he keep rejecting and sabotaging all our efforts to help him.

(DE 18 (5940–41) (errors in original).)

       2. Eve Ulmer, RN

       Eve Ulmer is a registered nurse by training and has been serving as a nurse at

FCI Estill for fourteen years, including the time period while Plaintiff was housed there.

Plaintiff is the only blind patient for whom Nurse Ulmer has provided care. FCI Estill had

one inmate that was totally blind come after Plaintiff left and that inmate stayed at FCI

Estill, though it is a care Level 2 facility. Nurse Ulmer is not aware whether that inmate

had glaucoma or any other eye disease. Nurse Ulmer was made aware by one of the

custody lieutenants that Plaintiff expressed concerns about feeling safe around her. This

occurred a few weeks or a month after Plaintiff arrived at FCI Estill but she did not know

anything about Plaintiff’s concerns until the Lieutenant mentioned them.

       Nurse Ulmer was aware that Plaintiff complained of difficulties self-administering

                                            49
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 50 of 166




his eyedrops. At one point Plaintiff was directed to administer his own eyedrops in front

of the medical staff. Nurse Ulmer does not remember the time frame when this directive

came.

         In PE 2029, a BOP medical note written by Nurse Kirstie Wooten when Plaintiff

was on hunger strike, Nurse Wooten recounts that Plaintiff asked her to administer his

eyedrops, she did so, and there appear to have been no problems with that arrangement

in this instance. When confronted with this note, Nurse Ulmer stated that she really could

not say if there were any problems because she was not there, and the note in question

was Nurse Wooten’s note.

         Nurse Ulmer only became aware that Plaintiff requested braille materials when she

“heard it through the grapevine.” Plaintiff did not make such a request to her. He would

have had to do that through his unit team. The medical department is not involved with

braille. Nurse Ulmer also heard that Plaintiff requested some type of alarm or clock for

the visually impaired. However, Nurse Ulmer clarified that the staff and inmates conduct

scheduled moves at FCI Estill. Everything is announced on the hour, five minutes before

the hour, or five minutes after the hour. Because everything is announced, everyone

knows when to move. Nurse Ulmer is unaware whether Plaintiff had a cell mate while he

was at FCI Estill. She is also unaware whether Plaintiff received a special lock for the

blind.

         In PE 2356, a hand-written BOP medical record dated January 18, 2017, the

contract optometrist at FCI Estill notes that Plaintiff’s eyes are sensitive to light, that the

current tint of his glasses was not dark enough, and that Plaintiff should be provided with

the darkest tint possible—namely, tint #4 gray. When asked whether she is qualified to



                                              50
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 51 of 166




agree or disagree with the optometrist’s medical opinions, Nurse Ulmer testified: “No. I

don’t do any of that. All I do is take the order, a piece of paper, and give it to the lady in

the department that does the actual ordering of the glasses.”

       Nurse Ulmer was unaware whether Plaintiff had a companion specifically trained

to assist visually impaired inmates while he was at FCI Estill. When asked how she

observed Plaintiff getting around the FCI Estill compound, Nurse Ulmer stated that

sometimes Plaintiff would walk with friends and sometimes he would walk alone. When

asked whether the friends he walked with would guide Plaintiff around, Nurse Ulmer

stated that it was not guiding, but walking side by side, “chitchatting as they walked along.”

       Nurse Ulmer testified that she knows Plaintiff well and provided care for him for a

long time. The fact that Nurse Ulmer knows Plaintiff well is reflected by the number of

medical notes that she prepared about her care of Plaintiff, which are in the record.

       Nurse Ulmer was shown numerous BOP medical records that she prepared and

asked to briefly state her recollection of the issues pertaining to Plaintiff’s care on each

occasion, which she did as follows: DE 16 (5336–37), September 26, 2015, observed

Plaintiff pushing another inmate in a wheelchair to the pharmacy to pick up medications,

whereupon Plaintiff maneuvered the wheelchair through the medical door and metal

detector with no issues, demonstrating his ability to navigate; DE 16 (5333–35),

September 27, 2015, treated Plaintiff for a burn on his arm that, by his statements,

happened while he was ironing his clothes; DE 16 (5331), October 10, 2015, observed

that Plaintiff came to the pharmacy by himself to ask that his medications be renewed for

him because he was unable to see the computer; DE 17 (5648–49), March 2, 2016, saw

Plaintiff in the SHU with the Lieutenant present and an officer at the door because Plaintiff



                                             51
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 52 of 166




was complaining of pain in his tooth, also took wooden cane from Plaintiff as instructed

by the HSA and Clinical Director because it was not documented when given; DE 17

(5624–26), March 6, 2016, checked on Plaintiff in the SHU during his hunger strike and

noted no signs of distress, and although Plaintiff was asserting that he needed someone

to administer his eyedrops because he has no feeling in his eyes and he hurts them when

he does it, Dr. Lepiane directed that Plaintiff was to self-administer, and Nurse Ulmer

received a report from SHU officers that they observed inmate putting his eyedrops in

with no problems; DE 17 (5592), May 2, 2016, observed Plaintiff came to medical out of

bounds from the recreation yard during insulin line, and he was instructed to leave

because it was insulin line only and he was not permitted to be away from his unit,

whereupon Plaintiff left, cursing and yelling about medication refill issues; DE 17 (5781),

August 23, 2016, medical treatment refusal form that Plaintiff refused to sign when he

refused to go on his outside trip to the ophthalmologist; DE 17 (5579), September 8, 2016,

noted that the optometrist confirmed, by way of a note written on the back of the

eyeglasses receipt, that the glasses received matched the glasses that were prescribed,

because Plaintiff was complaining that there was a discrepancy between the two; DE 17

(5774), September 9, 2016, medical treatment refusal form that Plaintiff refused to sign

when he refused to accept the glasses with gray tint that were prescribed; DE 17 (5566),

September 19, 2016, observed, during an emergency on the recreation yard, Plaintiff

maneuvering in the crowd without assistance and with no signs of distress; DE 17 (5557),

October 24, 2016, noted that Plaintiff asked for the glasses that he previously refused,

and signed for them with an X; DE 17 (5545–46), November 3, 2016, noted that Plaintiff

did not show up for the 0630 pill line, so officer called on radio and learned Plaintiff was



                                            52
 5:16-cv-03913-BHH             Date Filed 01/31/23          Entry Number 332            Page 53 of 166




on his way, but it was after 0700, Plaintiff was not visible on the yard, and Nurse Ulmer

needed to leave for rounds at the SHU, when she returned Plaintiff was sitting in the lobby

at medical with his companion, and when she offered Plaintiff his medication he said “I

am not taking anything from you,” whereupon Plaintiff was observed swiftly walking

through the lobby to leave and had no issues navigating through a complicated scenario

on his own 10; DE 17 (5537–38), November 4, 2016, noted that Plaintiff came to the 0630

pill line after being called for and, upon seeing Nurse Ulmer, said, “I ain’t taking nothing

from you”; DE 17 (5534–35), November 7, 2016, noted the Plaintiff was called to come to

pill line and refused to take his medication; DE 17 (5528), November 29, 2016, noted that

Nurse Ulmer called Plaintiff’s unit officer to inform him that Plaintiff was to come to pill line

at 0630 and officer said he would tell Plaintiff, because Plaintiff had not been coming to

pill line as required; DE 18 (6123–24), January 18, 2017, noted that while Plaintiff was at

medical to see another provider he found out that the contract optometrist was present

and Plaintiff wanted to see him, but Plaintiff did not want to wait and insisted on being

seen right that minute even though there were two people ahead of him, when he was

told he needed to wait he became upset and left the building, telling the Lieutenant and

the HSA that he was being held hostage in medical, and when Plaintiff came back and

was escorted to the optometrist, Nurse Ulmer heard Plaintiff saying that he was trying to

do everything he could to save the last bit of his remaining vision, even though Plaintiff

has a history of being noncompliant with his eyedrops, refusing his eyedrops, and refusing




10 Nurse Ulmer testified that sometimes there are twenty to twenty-five inmates sitting in the medical lobby,

people are halfway laying down with their feet out, and the doors are hard to open; she stated that while
Plaintiff left swiftly, he was able to maneuver through the other inmates, forcibly open the first door, get
through the sally port area, and physically turn the handle on the next door, which is very hard to open, all
with no issues.

                                                    53
 5:16-cv-03913-BHH             Date Filed 01/31/23         Entry Number 332            Page 54 of 166




surgery; DE 18 (6121), January 19, 2017, reported Plaintiff was seen by the optometrist

at his request and was advised he should consider surgical intervention to better control

his glaucoma, Plaintiff was further advised that tint #4 gray was the darkest tint of glasses

available, and Plaintiff requested that the lights be turned off in his cell when possible or

that he be permitted to wear a stocking cap over his eyes to block the light; DE 18 (6119),

January 30, 2017, noted Plaintiff’s unit officer called to say Plaintiff complained of being

out of medications, and although Plaintiff was instructed to come to sick call to retrieve

more medications, he did not show up at sick call; DE 18 (6104–05), February 23, 2017,

noted, during rounds in the SHU and while checking on Plaintiff who had eye surgery the

day prior, that Plaintiff had refused pain medication from the pharmacy technician that

morning, was laying face down in bed with a sheet hanging down from the top bunk, and

put his arm out while stating “turn the light down,” but was showing no signs of distress 11;

DE 18 (6102), February 24, 2017, noted that Plaintiff was standing at the door of his SHU

cell during executive staff rounds with his night eye patch on (gauze pulled apart and

hanging down), which was not intended to be worn during the day but only at night for

one week following surgery, when Plaintiff inquired how long he had to wear the eye patch

and about lifting things, whereupon Plaintiff was advised that he was supposed to wear

the polarized glasses he had been provided during the day for one week, that the night

eye patch and polarized glasses were for his protection, and that he was not to lift

anything over five pounds or bend at the waist for one week, which instructions had been



11 Nurse Ulmer testified that on this occasion she was checking on Plaintiff’s welfare because he might not

have needed the pain medication when the pharmacy technician came around earlier that day, but might
have needed it while Nurse Ulmer was there since a significant time had passed. She further testified that
she never, based on her many interactions with Plaintiff, decided to cease providing the medical care that
he deserved. Rather, she treated Plaintiff the same as any other inmate. Nurse Ulmer has dealt with other
difficult inmates as well, but she sees it as her job to provide medical care for them irrespective of that.

                                                    54
 5:16-cv-03913-BHH             Date Filed 01/31/23          Entry Number 332            Page 55 of 166




provided to him both during discharge from surgery at the hospital and upon his arrival

back to FCI Estill; DE 18 (6099), February 28, 2017, observed, while checking on Plaintiff

in the SHU during sick call rounds, that Plaintiff was not wearing the polarized glasses

during the day as he was advised following surgery; DE 18 (6070), March 22, 2017, noted

that, because Plaintiff had been complaining about his glasses not having a dark enough

tint, Nurse Ulmer called and spoke to a UNICOR officer at FCI Butner to determine

whether there had been a mistake, whereupon Nurse Ulmer was advised by the UNICOR

officer that they offer tinting grades of #1 through #3, which is the professional standard,

because a darker tint becomes a liability due to the chance of falling over things, all of

which signified to Nurse Ulmer that the glasses provided to Plaintiff were the darkest tint

permitted by the BOP; DE 18 (6048), May 10, 2017, recorded Plaintiff’s behavior and

statements when he came at 1030 for medical staff to observe him administering his

eyedrops, whereupon Plaintiff said, “Let me see who is here today,” “I want Ms. ___ to

put my eyedrops in,” and, after being advised that he was there for medical staff to

observe him putting in his own eyedrops, “No that was not the plan”; DE 18 (6043), May

11, 2017, noted that Plaintiff did not come to medical as directed to have the staff observe

him putting in his eyedrops12; DE 18 (6040), May 19, 2017, noted that Plaintiff did not

show up for his 1200 “call out,” which is a list established on the day prior showing the

date and time that medical wants to see particular inmates, and he did not show up at

1300 when he was called for, which appointment was to give Plaintiff the glasses he had




12 Nurse Ulmer testified that this record reflects a time when Plaintiff was on pill line to have the medical

staff observe him administering his eyedrops, and that he was placed on pill line because he was
noncompliant. He was not using his medications as he was supposed to be using them. Nurse Ulmer further
testified that Plaintiff wanted to pick and choose who put the medications in his eyes or helped him with his
medications, and that he wanted the younger nurses.

                                                    55
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 56 of 166




been requesting; DE 18 (6036), May 30, 2017, noted that Plaintiff’s unit officer called to

say that Plaintiff was complaining of not having his medications, but Plaintiff had been on

call out to pick up his medications, which had already been filled five days prior; DE 18

(6026), June 8, 2017, noted that a SHU officer called medical and said that Plaintiff was

asking for eyedrops, at which time artificial tears had been prescribed for Plaintiff three

times a day, whereupon Nurse Ulmer took the tear drops to the SHU and went to Plaintiff’s

door with two officers, but Plaintiff refused the drops and refused to sign the refusal form,

at which point an SHU officer asked Plaintiff why he said he wanted eyedrops but would

not accept them now that medical staff was there to provide them, to which question

Plaintiff did not respond; DE 18 (6021), June 9, 2017, noted that Nurse Ulmer took

eyedrops prescribed to be used three times a day to Plaintiff in the SHU, and with the

SHU Lieutenant present, Plaintiff refused the eyedrops, saying that he wanted a sealed

bottle to be brought to him every day because he wanted to be sure that no one had

contaminated his eyedrops, whereupon Plaintiff also refused to sign the refusal form; DE

18 (6008), June 12, 2017, noted another refusal of eyedrops delivered to Plaintiff in the

SHU, and another refusal to sign the refusal form; DE 18 (6005), June 13, 2017, observed

Plaintiff in his SHU cell, while wearing the 1.75 reading glasses prescribed for him by the

BOP optometrist, look through several papers that were spread out on his bed, pick one

up and hold it approximately twelve inches from his face, then put it down and look directly

at the officer through the door window as he responded to the officers, which led Nurse

Ulmer to believe that Plaintiff was sorting his mail and reading; DE 18 (6000), June 14,

2017, noted that when Nurse Ulmer attempted to deliver #3 gray tint glasses (darkest tint

permitted by the BOP) that had been ordered for Plaintiff by the optometrist, he refused



                                             56
 5:16-cv-03913-BHH        Date Filed 01/31/23     Entry Number 332       Page 57 of 166




to sign for them, got back in his bed, and pulled the covers over his head; DE 18 (5993),

June 15, 2017, noted that, per the nurse conducting the SHU insulin line, Plaintiff asked

her to bring him the glasses that Nurse Ulmer offered him the day prior, that a refusal

form was completed and witnessed by two officers when Plaintiff refused to take the

glasses, that the glasses are the same prescription as the glasses issued to Plaintiff in

August 2016, and that, per the Clinical Director, Plaintiff does not get to pick and choose

who brings his glasses to him; DE 18 (5988), June 16, 2017, noted another refusal of

eyedrops delivered to Plaintiff in the SHU, with an officer standing at the door as a

witness; DE 18 (5975), June 20, 2017, recorded that Nurse Ulmer received a “cop out,”

which is a form that an inmate can use to send a request to another department at the

institution, in which Plaintiff stated to the SHU Lieutenant that he was being denied his

glasses after he clearly requested the glasses, even though Plaintiff refused the glasses

and refused to sign the refusal form just a few days prior; DE 18 (5970), June 21, 2017,

noted the SHU Lieutenant called to advise that Plaintiff was asking for the glasses that

he earlier refused, whereupon Nurse Ulmer delivered the glasses to Plaintiff’s room, and

Plaintiff refused to sign for the glasses but did take the glasses; DE 18 (5963), June 22,

2017, noted that Nurse Ulmer took Plaintiff his eyedrops at 1300 in the SHU, whereupon

Plaintiff stated, “I do not want them, I want the yellow bottle,” refused the eyedrops, and

refused to sign the refusal form; DE 18 (5951), June 23, 2017, Paramedic G. Wiggins

noted that he asked Plaintiff in the SHU if he was going to take his medication that

evening, Plaintiff responded by asking if the seals on the eyedrop bottles were already

broken, Paramedic Wiggins informed him that they were and that it had already been

explained to him why this was the case, and Plaintiff would not verbally refuse the



                                            57
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 58 of 166




medication after being asked several times, but simply walked away to his bunk; DE 18

(5947), June 26, 2017, noted that Plaintiff squeezed out all bottles of eyedrops into his

eyes until the bottles were empty and the liquid was running down his chest, whereupon

Plaintiff shook each bottle and said, “Look officer she gave me empty bottles,” and the

officer observed that Plaintiff did the same thing over the weekend; DE 18 (5946), June

26, 2017, noted that Nurse Ulmer took Plaintiff his eyedrops at 1300 in the SHU, and

Plaintiff was constantly spinning as he talked, stating that he would not use the eyedrops

until it had been verified that his yellow-top drops have been refilled; DE 18 (5942), June

28, 2017 (morning), noted that Plaintiff refused to get out of bed and come to the door for

his eyedrops, and refused to sign the refusal form; DE 18 (5939), June 28, 2017

(afternoon), noted that Nurse Ulmer took Plaintiff his eyedrops in the SHU, whereupon

Plaintiff took the Brimonidine drops and used so much that the medication was running

down the front of his shirt, and after handing the bottle back refused the tears drops

because they were opened for him in front of the officer; DE 18 (5938), June 29, 2017,

noted that Plaintiff refused to get out of bed and use his eyedrops, stating, “Turn my lights

out!”; DE 18 (5936), June 29, 2017, noted that Plaintiff purchased artificial tears from the

commissary on June 8 and June 14, whereas Plaintiff had tear drops prescribed and had

never used them when they were brought to his room by medical staff, and Plaintiff was

accusing medical staff of tampering with his medications, whereupon the medical staff

did not speak with Plaintiff during this visit and let the SHU Lieutenant do all of the talking

because it was concluded that Plaintiff was being “extremely manipulative”; DE 18 (5932),

June 30, 2017, noted that Plaintiff submitted a cop out to a SHU officer, who emailed it to

medical, wherein Plaintiff was complaining of eye irritation and a rash on his lower back,



                                              58
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 59 of 166




whereupon Nurse Ulmer advised the SHU Lieutenant that Plaintiff was given extra time

to do sick call that morning and he did not go, and the AHSA, who was also present,

instructed the SHU Lieutenant that sick call must be done face to face and not by cop out,

but the medical staff, nevertheless, went and examined Plaintiff during executive rounds

about the rash on his back; DE 18 (5929), June 30, 2017, noted that, per the HSA, the

medical staff would now administer Plaintiff’s eyedrops because he continued to empty

full eyedrop bottles each time the drops were taken to his room, whereupon Plaintiff was

placed in the SHU medical room and, with another nurse and a SHU officer present as

witnesses (HSA instructed the SHU Lieutenant that the medical staff was not to be left

alone with Plaintiff at any time), the SHU nurse offered to administer the eyedrops twice,

but Plaintiff refused; DE 18 (5924), July 5, 2017 (morning), noted that Nurse Ulmer went

to Plaintiff’s room with a SHU officer, whereupon Plaintiff refused to have the medical staff

administer his eyedrops and stated to the officer, “I do not need the extra baggage that is

with you this morning,” referring to Nurse Ulmer, and refused to sign the refusal form; DE

18 (5923), July 5, 2017 (afternoon), noted that Plaintiff refused to allow the medical staff

to administer his eyedrops as ordered, and refused to sign the refusal form; DE 18 (5921),

July 6, 2017 (morning), noted that Nurse Ulmer took Plaintiff’s eyedrops to the SHU to be

administered, the SHU officer brought Plaintiff to the SHU medical room, and, once

Plaintiff got to the medical room door, he stated, “Which nurse is it?”, whereupon the

officer told Plaintiff that it was Nurse Ulmer and Plaintiff stated, “We don’t need to go any

further,” and later, while walking back to his cell, “I need my medication and I was not

given it yesterday either,” but Plaintiff refused his eyedrops the day prior because he did

not have the nurse that he preferred to administer the eyedrops; DE 18 (5920), July 6,



                                             59
 5:16-cv-03913-BHH            Date Filed 01/31/23         Entry Number 332           Page 60 of 166




2017 (afternoon), noted that Nurse Ulmer took the prescribed eyedrops to Plaintiff in the

SHU, the officer instructed Plaintiff that medical was there with the eyedrops, and Plaintiff

stated, “I do need the eye drops but not the problems,” whereupon Plaintiff refused to

sign the refusal form and asked to speak with the Lieutenant; DE 18 (5919), July 7, 2017,

noted that Plaintiff refused his eyedrops, with an officer and second nurse present as

witnesses, and Plaintiff refused to sign the refusal form.

        Nurse Ulmer testified that each time Plaintiff refused to take his medication, a

refusal form was filled out. Sometimes Plaintiff would sign the refusal forms, and

sometimes he would not. When asked whether she had an idea about how many refusal

forms there were for Plaintiff, Nurse Ulmer testified that the last time she counted it was

between seventy and eighty refusals.

        Nurse Ulmer explained that the reason she and the other medical staff were

directed not to speak with Plaintiff alone was because Plaintiff was manipulative, claiming

that he was not receiving the things he asked for—e.g., glasses and medications—even

when those things were brought to him. Plaintiff did this both to Nurse Ulmer and to other

staff as well. This situation was routinely brought up at the medical staff’s morning

meetings.

        3. Jade Lee (Lloyd), RN

        Nurse Jade Lloyd 13 is currently employed by Beaufort Jasper Comprehensive

Health Services at the Estill office. However, between 2013 and 2017 she was a nurse at

FCI Estill. In that capacity she came into contact with Plaintiff while he was an inmate at

FCI Estill.


13 For the sake of clarity, the Court will refer to Jade Lee by the surname she possessed at the time the

relevant events occurred—namely, “Lloyd.”

                                                   60
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 61 of 166




       In DE 17 (5637), a BOP medical record dated March 5, 2016, Nurse Lloyd notes

that during her rounds in the SHU, Plaintiff asked her to place his eyedrops in his eyes

for him. She informed him that she was not permitted to do so under the orders of the

physician, but that she would watch Plaintiff administer the eyedrops himself. Plaintiff was

complaining that he could not tell if the drops were going into his eyes and declined Nurse

Lloyd’s offer to watch him put the drops in. He did not attempt to put the eyedrops in his

eyes. Nurse Lloyd considered this a refusal.

       In DE 17 (5636), a BOP medical record dated March 6, 2016, Nurse Lloyd notes

that Plaintiff stated he had difficulty with the eyedrops because he tended to touch his eye

with the bottle. Plaintiff offered to demonstrate how he does the eyedrops. She did not

consider this a refusal because he made the attempt. However, she documented that

Plaintiff was unwilling to accept any direction concerning placement of the eyedrops.

       In DE 17 (5632), a BOP medical record dated March 6, 2016, Nurse Lloyd records

during a hunger strike encounter that Plaintiff stated, “I’m ok. I still haven’t eaten. I feel

sick sometimes. I have dizziness and nausea that comes and goes. Nothing right now.

Can you put my eye drops in?” (DE 17 (5632).)

       In DE 17 (5603), a BOP medical record dated April 6, 2016, Nurse Lloyd notes that

Plaintiff was called to medical and was instructed in the administration of his eyedrops

using proper technique. She observed that Plaintiff was argumentative and resistant to

instructions. However, Nurse Lloyd stated that if Plaintiff made any effort to attempt

putting in his eyedrops, he was not written up for a refusal.

       In DE 17 (5601), a BOP medical record dated April 7, 2016, Nurse Lloyd notes that

Plaintiff was still resistant to instruction, but was more cooperative showed much



                                             61
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 62 of 166




improvement in the administration of his eyedrops. She did not write him up for refusal

because he made a good faith effort.

       In DE 17 (5600), a BOP medical record dated April 8, 2016, Nurse Lloyd records

that Plaintiff was still resistant to instruction, but was improving as time went on. She

stated this was the third consecutive day that she taught Plaintiff to administer the

eyedrops. She consistently notated improvement in his technique as long as he was

willing and cooperative, and listened to the instruction.

       In DE 17 (5593–95), a BOP medical record dated April 29, 2016, Nurse Lloyd notes

that during an after-hours encounter, Plaintiff said he had been bitten by something at

1:00 p.m. that afternoon and it was still painful. That was the complaint for which she was

initially evaluating him. Nurse Lloyd records that Plaintiff then said, “What I really want is

for you to do my eye drops.” (DE 17 (5593).) This was significant because after hours

encounters are performed on the basis of emergency or high priority.

       In DE 18 (6046), a BOP medical record dated May 10, 2017, Nurse Lloyd records

that Plaintiff arrived to medical for placement of his eyedrops and was instructed to remain

waiting, and someone would assist him momentarily. While he was waiting and sitting in

a chair closest to the compound side door, a second inmate arrived in a wheelchair,

whereupon Plaintiff stated, “man you almost took my foot off with that wheelchair.” The

second inmate responded, “yeah I knew you could see.” Plaintiff then stated, while

laughing, “yeah, I can.” When Nurse Lloyd called Plaintiff to assist him with his eyedrop

placement, he was no longer present in the medical waiting area and was observed

walking to the chow hall. (DE 18 (6046).)

       Regarding DE 18 (5943), the medical note that documents the previously



                                             62
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 63 of 166




described incident on June 27, 2017 where Plaintiff squeezed out eyedrop bottles until

the medication was running down his face and onto his chest (see supra at 48), Nurse

Lloyd testified that she made numerous attempts to educate Plaintiff regarding the proper

installation of the eyedrops, but he was uncooperative and unwilling to listen to her

directions. She further testified that Plaintiff did not even attempt to use the eyedrops

properly, “[a]nd instead, he just squeezes the eyedrops until they’re empty and says hey,

they’re empty, you gave me empty bottles.”

       In DE 18 (5930), a BOP medical record dated June 30, 2017, Nurse Lloyd notes

that Plaintiff was pulled to the SHU medical room by a corrections officer and two nurses.

The nurses were trying to place Plaintiff’s eyedrops for him because Plaintiff “ha[d]

consistently wasted prescription eye drops.” (DE 18 (5930).) Nurse Lloyd writes, “SHU

RN politely offered the installation of prescription eye drops. Inmate is confrontational and

refuses eye drops to be placed by SHU RN. SHU RN offered eye drops a second time.

Inmate continues to refuse placement by SHU RN.” (Id.)

       Nurse Lloyd was confronted with PE 2336, a BOP medical record dated June 9,

2016, wherein she records Plaintiff reported that he was going through the metal detector,

let go of his inmate companion, and ran into the metal detector. She agreed that Plaintiff

reported he hit his face, including the bridge of his nose. She confirmed that under her

exam comments she noted some swelling to Plaintiff’s nose. When asked whether this

record recounts Plaintiff injuring himself as a result of walking into a metal detector, Nurse

Lloyd stated, “That’s correct.”




                                             63
 5:16-cv-03913-BHH             Date Filed 01/31/23          Entry Number 332            Page 64 of 166




        4. Kaitlin Loadholt (Rainwater), RN

        Nurse Kaitlin Rainwater 14 obtained her nursing degree from the University of South

Carolina and subsequently went into the commissioned Public Health Service, which falls

under the United States Department of Health and Human Services and the Surgeon

General. She worked as a nurse at Memorial Hospital in Savannah, Georgia, and then

moved to Hampton Regional Medical Center where she got more hands-on training. Once

she commissioned in the Public Health Service she worked at the BOP for thirteen years.

She left the BOP recently and is employed by the Immigration Health Service Corps.

        During Plaintiff’s term at FCI Estill, Nurse Rainwater interacted with him both in a

treatment capacity as well as in relation to her role as part of the quality management and

infection prevention and control unit. In this role, she contributed to making sure that FCI

Estill remained in good standing for internal and external accreditation audits and was

doing the things necessary to meet national health care standards.

        Nurse Rainwater was assigned to escort the orientation and mobility specialist,

Ms. Madison, hired by the BOP to train Plaintiff on the use of the blind-assistance cane.

In DE 17 (5586), a BOP medical record dated June 3, 2016, Nurse Rainwater documents

the first interaction between Ms. Madison and Plaintiff, which did not go well. Nurse

Rainwater states that Plaintiff reached around Ms. Madison’s shoulders multiple times

when he had been instructed to only hold her by the elbow and was immediately

reprimanded and corrected for this inappropriate contact. She further states that Plaintiff

made very disparaging comments and stated on multiple occasions that he would never

be alone on the compound without his sight because there were “murderers and child


14 For the sake of clarity, the Court will refer to Kaitlin Loadholt by the surname she possessed at the time

the relevant events occurred—namely, “Rainwater.”

                                                    64
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 65 of 166




molesters on the compound.” Moreover, “During the training there were multiple

occasions where a visually impaired person would have been uncomfortable in open

areas but Washington displayed no signs of anxiety. At one point Washington jerked the

instructor by the elbow to divert from her path of instruction to his. Washington also told

the instructor that he had filed multiple PREA complaints and made very negative

comments.” (DE 17 (5586).) In general, Nurse Rainwater’s note describes a course of

behavior by Plaintiff that was uncooperative, unwilling to learn or practice new techniques,

and repeatedly negative. Nurse Rainwater testified that, as the assigned chaperone, she

was uncomfortable multiple times. Ms. Madison had a plan in her mind as to what was

most important for Plaintiff to learn, but Plaintiff wanted to do things his way. Nurse

Rainwater testified that the staff had worked so hard to get this contractor onto the

compound to help Plaintiff and give this training, that they arranged with the Captain’s

office to clear the compound and ensured that there was no group movement. The one

exception was an inmate who was called to medical for a special appointment during that

time. That inmate happened to live in Plaintiff’s housing unit and offered to take him back

if it would be helpful. Nurse Rainwater explained that Ms. Madison came back once,

maybe two more times, to attempt to train Plaintiff and the interaction was similarly

negative.

       In DE 18 (6055), a BOP medical record dated May 9, 2017, Nurse Rainwater

documents how Plaintiff became belligerent with the medical staff when called to medical

to discuss his eyedrops with the Clinical Director. Nurse Rainwater describes how Plaintiff

was hostile and talked over Dr. Lepiane during the entire conversation. Dr. Lepiane

informed Plaintiff that there were three pill line opportunities for Plaintiff to attend to



                                            65
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 66 of 166




receive his drops, but Plaintiff responded that his inmate companion would not bring him

three times and he was not going to deal with certain staff members who he felt caused

him trouble in the past. Nurse Rainwater records how Plaintiff ultimately requested his

eyedrops back for self-administration, and that she issued the prescribed medications.

By her account, at one point Plaintiff was so hostile and loud that she felt the need to

open the door to the office in case she and Dr. Lepiane would need assistance. Nurse

Rainwater concludes the note as follows, “Prior to the inmate leaving he requested that

this RN administer his drops. The inmate allowed me to put the drops in his eyes in

accordance with the prescription. One medication is written for right eye only—the inmate

stated he puts it in his left as well because he feels he needs it.” Nurse Rainwater told

Plaintiff that as a nurse, she must follow orders written by a doctor and she would not

administer medication that was not ordered, whereupon Plaintiff left the medical

department.

       In DE 17 (5580), a BOP medical record dated August 31, 2016, Paramedic

Wiggins documents Plaintiff’s interaction with Ms. Madison when she returned for

continued training. Nurse Rainwater reviewed documents like this frequently in her role

as quality manager, and she also recalls the scenario. The note describes how Plaintiff

rejected Ms. Madison’s instructions with statements such as, “I don’t like to do it that way,

I do what works for me,” and was completely uncooperative. After approximately an hour

of Ms. Madison trying to secure Plaintiff’s cooperation, with him never acknowledging

what she was saying and only continuing with things he wanted to talk about, Plaintiff was

finally instructed to return to his unit and no training was accomplished. Paramedic

Wiggins describes how, when asked directly if he was refusing the training offered,



                                             66
 5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332         Page 67 of 166




Plaintiff would not answer the question directly and began talking about other issues, such

as how he felt unsafe on the compound. Nurse Rainwater testified that in her experience

as a health care provider, people often refuse care in different ways. They do not always

say, “I refuse,” but sometimes display a general negative attitude and a posture of not

wanting to learn, which is a refusal of a sort.

       Nurse Rainwater testified that the distance from Plaintiff’s housing unit to the dining

hall at FCI Estill was approximately half of a football field. She confirmed that Plaintiff’s

statements to Ms. Madison during their August 2016 interaction about not feeling safe on

the compound were similar to the safety concerns he expressed to Ms. Madison during

their June 2016 interaction. Nurse Rainwater stated that the reason why they had

Paramedic Wiggins be the staff escort during Ms. Madison’s second visit was to remove

Nurse Rainwater from the scenario, in case she was the barrier to education for whatever

reason, and to give Plaintiff the opportunity to work with a different staff member.

       As to Plaintiff’s hostile interaction with Dr. Lepiane and his specific assertion that

he would have difficulty coming to pill line because his inmate companion would not bring

him three times per day, Nurse Rainwater testified that whether or not his companion was

willing was not relevant to Plaintiff being at pill line. She further testified that if someone

needed to be escorted up to medical, they would use ancillary staff, and “that’s what we

have a second compound officer for.” Nurse Rainwater stated that she used to go on the

recreation yard and find inmates that missed pill line, so an inmate companion’s

unwillingness to bring a patient to pill line is not in itself a reason or rationale for a doctor

to change what he felt was most effective for the patient’s care. When asked whether staff

ever brought Plaintiff to pill line, Nurse Rainwater responded, “We had to hunt him on



                                               67
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 68 of 166




multiple occasions. Yes, ma’am.”

       5. Stephanie Breland, CPhT

       Stephanie Breland has been a Certified Pharmacy Technician (“CPhT”) since

1990. She has been employed at FCI Estill for thirteen and a half years. Her job

responsibilities include filling prescriptions and performing pill lines. She conducted the

pill line during the day, Monday through Friday, and the evening pill line at 1900 hours

was handled by the nurses. CPhT Breland was serving at FCI Estill while Plaintiff was

housed there.

       In DE 17 (5542), a BOP medical record dated November 3, 2016, CPhT Breland

notes that Plaintiff refused his medications at pill line. She records that Plaintiff stated he

cannot take his medications the way they are prescribed, and that taking them on pill line

makes him sick. Plaintiff requested to be taken off pill line and was advised to come to

the open house meeting that day to discuss the matter with administrative staff.

       In DE 18 (6126), a BOP medical record January 10, 2017, CPhT Breland records

that Plaintiff came to the pill line window to get another bottle of Brimonidine eyedrops,

stating that he was out. This eyedrop had been filled near the end of November 2016. Dr.

Lepiane had rewritten the prescription for two bottles a month on December 22, 2016.

CPhT Breland notes that Plaintiff was given another 10ml bottle on that date, which was

supposed to last him until the next time to refill his prescription, which was January 18,

2017. CPhT Breland further notes that while Plaintiff was at the window and she was

looking at his profile on the computer, Plaintiff told CPhT Breland to look at him. She

writes, “when I finally looked at him he turned his bottle upside down and started

squeezing it. Clearly he could see that I was looking at him.” (DE 18 (6126).) CPhT



                                              68
 5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332         Page 69 of 166




Breland testified that she did not talk to Plaintiff further, but simply documented the

incident in the medical record.

       In DE 18 (6035), a BOP medical record dated June 2, 2017, CPhT Breland

documents that all of Plaintiff’s medications had been filled on May 25, 2017, the day he

came to the pharmacy to request a refill of his eyedrops. She notes that she placed

Plaintiff on call out four times since then and he did not show up, nor had he been to the

pharmacy to check on his medications. On June 1, 2017, CPhT Breland called Plaintiff’s

unit for him to come to pharmacy on the next group movement at 9 a.m., but Plaintiff

never showed. In DE 18 (6031), a BOP medical record dated June 7, 2017, CPhT Breland

documents how Plaintiff continually missed call outs, she called his unit officer to let them

know to send Plaintiff to medical, the unit officer stated that Plaintiff was told the last time

she called on June 1, 2017 but Plaintiff refused to go to medical, and Plaintiff never

showed up on June 7, 2017.

       CPhT Breland agreed, under questioning, that DE 18 (6035) does not contain any

information about whether an officer brought Plaintiff to pill line, whether an inmate

companion was available, or specific reasons why Plaintiff was not at pill line.

       6. Alexis Chambers, RN

       Nurse Alexis Chambers is employed as a nurse with the BOP at FCI Tallahassee.

She lives in Tallahassee, Florida. From 2013 to 2017, she was employed at FCI Estill,

while Plaintiff was an inmate at that facility. She cared for Plaintiff in her capacity as a

nurse on multiple occasions.

       In DE 17 (5531), a BOP medical record dated November 10, 2016, Nurse

Chambers notes, inter alia, that she called Plaintiff to medical to instruct him on using the



                                              69
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 70 of 166




ezy-drop guide (the “eyecup” or “cup”), that she provided Plaintiff with five eyecups for

use with each individual eyedrop medication, and that Plaintiff demonstrated successful

use of the eyedrops with the cup but still stated he could not know how much medication

was going into his eye because he cannot feel his eyeball.

       Nurse Chambers testified about numerous BOP medical records regarding which

she has personal knowledge. The general content and import of those records, as noted

therein by Nurse Chambers, is as follows: DE 17 (5522), December 30, 2016, recorded

Plaintiff as saying that he has been having eye problems for a long time and that his

outside doctors recommended surgery and a consultation with a low-vision specialist; DE

18 (6056–58), May 5, 2017, noted Plaintiff’s argumentative interaction with Dr. Lepiane

wherein Plaintiff stated that he had no problem with Nurse Chambers, but refused to let

anyone else help him or watch him the eyedrops in, and Plaintiff, even after being told he

could speak to the HSA about the entire plan of care at 1300 hours, and even after

medical staff called Plaintiff’s unit to have him report back to medical, did not show up;

DE 18 (6030), June 7, 2017, noted Plaintiff refused to take Latanaprost at 1802 and when

Nurse Chambers returned to the SHU at 1840, Plaintiff engaged her in the pointless task

of filling out a commissary sheet on his behalf only to state after she completed it that he

no longer needed it filled out, whereupon Plaintiff refused his medications and refused to

sign the refusal paperwork; DE 18 (6025), June 8, 2017, noted Plaintiff refused to take

his eyedrop medications and refused to sign the refusal form; DE 18 (6018), June 9, 2017,

noted Plaintiff agreed to take all of his eyedrop medications except for Latanaprost, but

applied constant squeezing pressure to the bottle of Atropine Sulfate and Timolol Maleate

till the drops were running down his face and shirt, after which the bottles were almost



                                            70
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 71 of 166




empty even though they had only been used one prior time; DE 18 (6016–17), June 10,

2017, noted Plaintiff was instructed not to waste his eyedrops as he had been doing, but

Plaintiff once again, with an officer present as a witness, squeezed the bottle of

Brimonidine until the eyedrop solution was running down his face and shirt, completely

emptying the bottle, whereupon Nurse Chambers printed a medication summary and read

it to Plaintiff at the door of his cell to reeducate Plaintiff on proper use of his medication,

but Plaintiff walked away, laid in his bed, and did not respond; DE 18 (6013–14): June

11, 2017, recorded Nurse Chambers called out to Plaintiff several times to come at get

his eyedrops, but he would not do it and continued to lay in his bed, when Nurse

Chambers asked him to move so that she knew he was alive, Plaintiff made a forceful

kick but would not speak to Nurse Chambers; DE 18 (6007), June 13, 2017 noted Nurse

Chambers offered Refresh tears and Brimonidine eyedrops to Plaintiff, but he stated “If

you not putting them in my eye, I don’t want them”; DE 18 (6003), June 14, 2017, noted

Plaintiff refused his eyedrops at 0600 pill line; DE 18 (5994), June 15, 2017, noted Plaintiff

refused his eyedrops from Nurse Chambers and stated, “Hey, I would like you to bring

my eye glasses today,” “I don’t like nurse [Ulmer] to I didn’t take them from her yesterday,”

and “I feel threatened by her,” but when Nurse Chambers inquired why Plaintiff felt

threatened or what Nurse Ulmer had done, Plaintiff stated, “I don’t have to tell you why I

don’t like her”; DE 18 (5980), June 19, 2017 (morning), noted Plaintiff refused his

eyedrops and continued to state that he was not given his eyeglasses, even though they

were offered to him twice the prior week; DE 18 (5979), June 19, 2017 (evening), noted

Nurse Chambers offered Plaintiff his 1300 pill line eyedrops, but Plaintiff did not respond

and refused to come to the door or answer with a verbal response; DE 18 (5974), June



                                              71
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 72 of 166




20, 2017, noted Nurse Chambers offered Plaintiff his eyedrops three times through the

flap of the cell door, but Plaintiff would not reach or grab for the eyedrops; DE 18 (5972),

June 21, 2017, noted Nurse Chambers offered Plaintiff his medication three times, and

although Plaintiff was moving and sat up in bed, he would not speak to Nurse Chambers

to accept the medications; DE 18 (5964), June 22, 2017, noted Plaintiff was

argumentative and yelling about how he needs and is entitled to two containers of Refresh

drops for a single pill line dosage, even though he only requires two drops in each eye

and a single container of Refresh drops contains approximately eleven drops; DE 18

(5917), July 10, 2017, noted Plaintiff stated, as Nurse Chambers was attempting to

administer his eyedrops for him, “you’re too heavy handed,” “do you have kids?”, and “I

just figured that if you’re someone’s mom you would be more gentle,” whereupon Nurse

Chambers advised Plaintiff that she would attempt not to touch him at all if he would open

his eyes, but Plaintiff refused to open his eyes or place his head back for Nurse Chambers

to administer the eyedrops.

       When questioned about her November 10, 2016 note (DE 17 (5531), Nurse

Chambers stated that she was not sure if that was the first time she attempted to educate

Plaintiff on the use of the eyecup. He could have been educated by other nurses on the

eyecup as well. She would not describe the training on the eyecup as unsuccessful. When

you give an eyedrop to yourself it does not all simply absorb into the eyeball, so the fact

that some of the drops ran down Plaintiff’s face does not mean it was unsuccessful. Nurse

Chambers testified that when Plaintiff was administering the eyedrop with the cup he

stated he could see the eyedrop. She further testified that the fact that some of the

eyedrops ran down his face was not necessarily a big concern because there was an



                                            72
 5:16-cv-03913-BHH            Date Filed 01/31/23          Entry Number 332            Page 73 of 166




excess of eyedrops. In her view the eyedrops were not profusely coming down his face.

        When asked whether Plaintiff had a talking watch at the time Nurse Chambers

tried to reeducate him on the use of the eyedrops (DE 18 (6016–17)), she testified that

he did not. She went on to state that the medical staff went to Plaintiff’s door during the

times that the eyedrops were to be administered, so although he may not have had a

clock, he could rely on the time frame as kept by the nurses.

        7. Plaintiff’s Testimony Regarding FCI Estill

        When asked to comment on other witnesses’ testimony that Plaintiff intentionally

wasted his eyedrops and/or squirted them out and caused them to run down his face for

an improper reason, Plaintiff stated that he never purposefully wasted his eyedrops. 15 He

further stated, “In all honesty, that situation only happened one time with one nurse—let

me correct myself. Excluding the times when I put the drops in and felt it run down my

face and stopped, that was often, but not to the extent that we’re talking about. The extent

that you’re talking about is only—only happened once at Estill.” Plaintiff went on to assert

that the nurses at FCI Estill tried to teach him how to administer the eyedrops on his own

and they were not good teachers. This was the third institution where the medical staff

tried to teach him, FCI McCreary, FCI Williamsburg, and FCI Estill. They talked him

through every single step, “[e]ven the littlest minute thing,” which Plaintiff found to be

annoying. Then they offered Plaintiff the eyecup to assist him. Plaintiff stated the staff at

all institutions confirmed that when they tried to teach him or offered him something to

assist, he “showed up” for the lesson. He explained that the eyecup has a hole at the top

where you stick the medication bottle in, and it holds the bottle. The eyecup lines up the


15 The Court found this portion of Plaintiff’s testimony to be incredible based on the preponderance of the

testimony and documentary evidence admitted.

                                                   73
 5:16-cv-03913-BHH              Date Filed 01/31/23          Entry Number 332             Page 74 of 166




medication with your eye, you squeeze the bottle, and the drop should hit the target.

        Plaintiff testified that Nurse Chambers is the one who instructed him on how to use

the eyecup. She came down to the unit and to his cell by herself, with no guard or

Lieutenant, and took the time to instruct him on how to use it. Plaintiff then asserted that

he is a peaceful person and not combative like the BOP witnesses have represented. 16

When the eyecup worked well, Nurse Chambers told Plaintiff to let her know how it was

going in a few days, and Plaintiff was “a happy camper.” But, according to Plaintiff, it is a

problem that the cup is rubber because it starts to lose its rigidity and “wobble” after

repeated use, and because the eyedrop bottles are not all the same size and do not all fit

in the cup. 17

        Plaintiff testified that Dr. Lepiane was in charge of his care when he was housed

at FCI Estill. At the time he was not aware that Dr. Lepiane put in a transfer request on

his behalf. Plaintiff testified that, when he got to FCI Estill, they had an inmate companion

to assist him, and they had multiple companions for him. Plaintiff asserted that “these

inmates caused [him] more injury than they caused help.”

        Plaintiff did not know, in May 2016, that Dr. Goulas recommended (see PE 2305)


16 On this point, the Court found, to quote the Bard, that “the [gentleman] doth protest too much.” The

preponderance of the evidence supports a finding that Plaintiff was routinely argumentative and
unreasonable with his caregivers. His assertion that he is a peaceful person, as it pertains to his behavior
toward caregivers that he does not prefer, was incredible.
17 At this point in Plaintiff’s testimony, he began a long, rambling account, spanning multiple pages of the

transcript, of how he went back to medical to report to Nurse Chambers that the eyecup was not working
as it had initially, and of how it was unfair that he was given an administrative citation (a “shot”) for being
out of bounds, but his inmate companion who brought him to medical was not. The Court had to sua sponte
interject and encourage Plaintiff’s counsel to ask another question. Whereupon Plaintiff continued right
where he left off, asserting that Nurse Chambers came to the SHU to observe him using the medications
with the eyecup, that the medication overflowed and ran down his face, that the medication was already
close to being empty anyway, and “[j]ust like the BOP,” the staff exaggerated the situation and Nurse
Chambers wrote him a shot. Plaintiff concluded, “Now, after getting the shot, we ain’t doing that no more.
That—each shot is a ticket to staying incarcerated longer. So, I’m not doing that anymore. That scenario,
where it ran down my face, and she wrote me the shot, was the last time it ever happened. And it only
happened with Nurse Chambers and no other nurse, period.”

                                                     74
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 75 of 166




Plaintiff be given assistance placing his eyedrops in his left eye. He stated that after May

2016, he did not get assistance at FCI Estill in the form of someone placing his eyedrops

for him. He further stated that he was on a self-administration regimen with his eyedrops

from the day that he got to FCI Estill until July 2017, and that he had the same issues with

self-administration there as he experienced at previous facilities. Plaintiff testified that he

had the same issues getting to pill line at FCI Estill that he experienced at FCI

Williamsburg. He asserted that some of the no-shows represented in the MAR were

attributable to him not being able to make it to pill line on time and difficulties finding

inmate companions that could help him get there. Regarding the refusals in the MAR,

Plaintiff asserted that the medical staff misrepresented no-shows as refusals, and that he

never refused his medication in his time at the BOP: “I think [Nurse Ulmer] said it was like

80. There might be 80 or 90 no-shows, but there are zero refusals.” The Court found

Plaintiff’s statement that he never refused his medication to be highly incredible based on

the overwhelming amount of testimonial and documentary evidence to the contrary.

       As to Dr. Kammerdiener’s recommendation following the diode laser surgery that

patient receive assistance instilling his eye drops (see PE 2370), Plaintiff stated that at

first he did not receive assistance, but eventually he did. He further stated that he received

ambulation assistance at FCI Estill. Plaintiff testified that the blind-assistance cane

training was not successful. He asserted that part of the reason for the cane training was

because of the perception that was created by him walking around the compound with

his hand on another man’s shoulder, “that maybe we was more partners you know,” and

that “it made [him] more of a target for sexual innuendos.” Plaintiff further asserted that

Ms. Madison informed him that she would not be able to change that for him because the



                                              75
 5:16-cv-03913-BHH              Date Filed 01/31/23           Entry Number 332             Page 76 of 166




design of the compound at FCI Estill prevented her from fully teaching him the use of the

cane. In other words, he would still need personal human assistance. The Court found

Plaintiff’s self-interested testimony blaming to the ineffectiveness of the cane training on

Ms. Madison to be incredible.

        Plaintiff stated that while he was at FCI Estill he did not get a consultation with a

low-vision specialist, braille materials, a talking watch, or a safe/lock for his personal

property. He further stated that he obtained the sunglasses he wore throughout trial in

2011, even before he got to FCI Williamsburg. Counsel placed three pairs of eyeglasses

on the projector and represented that Plaintiff had given them to him at the beginning of

trial. The glasses were marked as PE 2595 for identification. 18 Plaintiff stated that two of

the pairs of glasses were the pairs that Nurse Ulmer testified he was provided in 2017.

Plaintiff asserted that the sunglasses he wore throughout trial (which, the Court noted,

appeared to be very dark) were the glasses he had when Dr. Nutaitis said he needed a

darker pair, “So if they ain’t darker than this, then I don’t know what to say.” The glasses

marked as PE 2595 for identification were lighter in tint than the sunglasses worn by

Plaintiff.

        8. Consolidated Findings Regarding FCI Estill

        The preponderance of the evidence established that Plaintiff was on a self-

administration regimen for his eyedrops when he arrived at FCI Estill. Because Plaintiff

was noncompliant with his eyedrops, and in an effort to ensure that Plaintiff was properly

applying his eyedrops and not hoarding or wasting them, Dr. Lepiane directed that Plaintiff

receive his eyedrops at pill line under the observation of the medical staff. Plaintiff


18 The glasses were initially marked in error as “PE 2594 for identification,” but that exhibit slot had already

been taken by Dr. Amy Kotecha’s curriculum vitae. “PE 2595 for identification” represents the final marking.

                                                      76
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 77 of 166




routinely refused his eyedrops if they were not provided by his preferred medical staff

members and for other unexplained reasons. Later, when it was arranged for a nurse to

administer Plaintiff’s eyedrops in the SHU, Plaintiff also refused to allow the staff to

administer his eyedrops if it was not done by his preferred nurse(s). Plaintiff’s refusals,

along with his refusals to sign the refusal forms, are comprehensively documented in the

records admitted into evidence and confirmed by the testimony.

       The preponderance of the evidence shows that Plaintiff was capable of

administering his own eyedrops but did not want to do so because he preferred a nurse

to do it for him. He had many years of experience administering the eyedrops on his own.

The FCI Estill medical staff observed Plaintiff successfully administer the eyedrops on

numerous occasions, repeatedly provided him with assistive devices to aid him with the

administration, and routinely delivered his medications when he could not come to

retrieve them himself. Nevertheless, Plaintiff obstinately refused to use the eyedrops

properly, sometimes intentionally wasting the medication by squirting out entire bottles

and claiming that the staff had given him empty bottles. Plaintiff also refused to allow

various nurses to observe him put the eyedrops in for himself and was often rude and

disrespectful to the nursing staff who were attempting to assist him while he was at FCI

Estill. The evidence did not show that Plaintiff’s outside providers had the same or similar

opportunity as the FCI Estill medical staff to observe his ability to administer his eyedrops.

Rather, the preponderance of the evidence established that the outside providers’

recommendation that Plaintiff receive assistance in administering his eyedrops was

based on Plaintiff’s subjective reporting to the outside providers during relatively short

consultative appointments. On February 22, 2017, Plaintiff had diode laser surgery at the



                                             77
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 78 of 166




Storm Clinic to relieve elevated IOP in his left eye and mitigate the further progression of

his glaucoma.

       There was a discrepancy between the #4 gray tint glasses recommended by the

contract optometrist and the #3 gray tint glasses provided to Plaintiff. However, the #3

gray tint glasses are the darkest tint provided by the BOP, as confirmed by the applicable

contractor, due to an increased tripping risk presented by the darker tint. As further

elucidated in the conclusions of law below, this discrepancy does not arise to the level of

a violation of the Rehabilitation Act or the Eighth Amendment under the circumstances.

Moreover, Plaintiff possessed dark sunglasses before he ever got to FCI Williamsburg

and repeatedly refused the glasses that were offered to help him with his photosensitivity

at FCI Estill.

       The evidence established that when the FCI Estill medical staff arranged for

Plaintiff to receive instruction on the blind-assistance cane, he stubbornly refused to

comply with the instructions provided such that the orientation and mobility specialist, Ms.

Madison, discontinued the training after only two or three visits. Lastly, the evidence

showed that Plaintiff was assigned an inmate companion when he arrived at FCI Estill,

and the medical staff took reasonable steps to provide him with replacement companions

when Plaintiff’s existing companions did not want to work with him because of his

unreasonableness and/or because Plaintiff made allegations of abuse against them,

which were unsubstantiated.

   D. FCI Edgefield

       Plaintiff was transferred to FCI Edgefield on July 12, 2017. In anticipation of

Plaintiff’s arrival at FCI Edgefield, the medical staff prepared an inmate companion



                                            78
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 79 of 166




program to assist Plaintiff with navigating the compound and getting to appointments,

programs, and the chow hall. Through the psychology department, at least six inmates

were hired and instructed how to assist Plaintiff as inmate companions.

       1. Rex Blocker, MD

       Dr. Rex Blocker graduated medical school in 1998, began serving as a medical

doctor with the BOP in 2000, and retired from service in 2019. This was a second career

for him, as he taught middle school physical education from 1977 to 1993. Dr. Blocker

was the Clinical Director at FCI Edgefield while Plaintiff was housed at that facility, which

was July 12, 2017 to February 7, 2018. As Clinical Director, Dr. Blocker supervised the

entirety of the medical care provided at FCI Edgefield. It was his responsibility to ensure

that the medical staff followed BOP policy.

       In Dr. Blocker’s experience, a very small percentage of BOP inmates, probably

less than one percent, have glaucoma and are legally blind. Dr. Blocker agreed that, to

the extent that an outside ophthalmologist made recommendations regarding an inmate’s

glaucoma that did not conflict with BOP policy, the medical staff would follow those

recommendations to be the best of their ability. However, sometimes outside providers

recommend things that they believe to be medically necessary, but the BOP cannot

provide.

       Plaintiff is the only blind inmate that Dr. Blocker can recall from the relevant time

period at FCI Edgefield. Dr. Blocker agreed that Plaintiff’s blindness is a disability and

that his glaucoma is a serious medical condition. When shown PE 2001, the BOP’s

Revised Medical Classification Criteria (“Revised Criteria”), Dr. Blocker acknowledged

that safety and vulnerability are considered part of the functional criteria in determining a



                                              79
 5:16-cv-03913-BHH         Date Filed 01/31/23    Entry Number 332       Page 80 of 166




care level assignment for any particular inmate. (See PE 2001 at 4.) He agreed that blind

inmates are particularly vulnerable in the prison setting. Under the definitions in the

Revised Criteria, an inmate who is blind but copes with the general population of the

institution with the assistance of an inmate companion would not score as a care Level 3

or 4. Dr. Blocker agreed that a blind inmate who does not so cope “could” classify as a

Level 3 or 4. When shown PE 51, the BOP’s Program Statement for Medical Designations

and Referral Services (“Designations Statement”), Dr. Blocker acknowledge that if proper

treatment cannot be provided at the institution where an inmate is located, the inmate can

be redesignated and transferred, possibly to a FMC. (PE 51 at 5.)

       When Plaintiff arrived at FCI Edgefield, Dr. Blocker sent him to an ophthalmologist

in Aiken, South Carolina named Dr. Daniel Smith. In PE 2004, an August 2, 2017 medical

note written by Dr. Smith, he indicates that Plaintiff had advanced stage glaucoma in both

eyes (“OU” being shorthand for both eyes). Dr. Blocker confirmed that this was a serious

medical need. Dr. Smith’s August 2 note indicates that Plaintiff was prescribed four

different eyedrops for his glaucoma, as well as artificial tears. Dr. Smith also referred

Plaintiff to a glaucoma specialist for further treatment. Dr. Blocker could not remember

whether Plaintiff was sent to a glaucoma specialist during his time at FCI Edgefield, but

agreed that if Plaintiff had seen a glaucoma specialist, there would be a record of it. Dr.

Blocker could not say whether Plaintiff saw a low-vision specialist during his time at FCI

Edgefield, and had no memory of that occurring. Dr. Blocker did not deal with the issuance

of locks, so he could not say whether Plaintiff received an alternative lock or safe meant

for visually impaired individuals.

       In the appendix to the BOP staff guide for Managing Inmates With Disabilities



                                            80
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 81 of 166




(“Managing Inmates”), it states that all staff should know that inmates have been provided

assistive equipment or devices by medical, such as wheelchairs, walkers, and canes. (PE

2018 at 10.) Dr. Blocker remembers seeing Plaintiff with a blind-assistance cane but is

not sure whether it came from FCI Edgefield or Plaintiff’s previous institution. He agreed

that the cane was something Plaintiff needed to help him move around the compound,

and that it would be important for the cane to be full length so that it would work properly.

Dr. Blocker does not know if Plaintiff was ever provided with braille materials at FCI

Edgefield. He was not familiar with the concept of a talking watch and did not know if

Plaintiff had been provided such a watch.

       When asked whether an inmate companion could administer medications, Dr.

Blocker replied that he would have to check whether that was permitted and did not

remember whether there is any regulation or policy that would permit such an

arrangement. He did not think that Plaintiff was provided with regular assistance

administering his eyedrops at FCI Edgefield, but he had no specific memory on that point.

Dr. Blocker affirmed that Plaintiff did not always get his medications as prescribed while

at FCI Edgefield.

       In PE 2005, a medical note written by Dr. Smith of Aiken Ophthalmology and dated

November 30, 2017, Dr. Smith records that Plaintiff complained of not receiving his

eyedrops as prescribed. The note states that Plaintiff should be taking four different sets

of eyedrops as directed and again refers Plaintiff to a glaucoma specialist, Dr. Fechter.

(PE 2005 at 2.) Dr. Blocker does not recall Plaintiff being sent to Dr. Fechter.

       In PE 2399, a BOP medical record dated December 1, 2017, Dr. Blocker states

that he reviewed Plaintiff’s MAR for the prior month. He notes that Plaintiff missed several



                                             81
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 82 of 166




doses of eyedrops. For example, Plaintiff was supposed to take Atropine twice daily in

both eyes. But the MAR reflected that Plaintiff missed twenty-seven doses of Atropine.

Similarly, Plaintiff was supposed to take Brimonidine three times daily in both eyes, but

over the prior month he had missed thirty-four doses. Plaintiff was also prescribed Timolol

and Latanoprost at that time. When asked whether he failed to check the MAR for those

medications, Dr. Blocker stated he did not know and could not remember specifically.

When asked to affirm that Plaintiff had been correct in his reporting to Dr. Smith that he

was not “receiving” his eyedrops as prescribed, Dr. Blocker questioned whether the issue

was that Plaintiff was not “receiving” them, or not “taking” them.

       Dr. Blocker testified that the medical staff knew Plaintiff was coming to FCI

Edgefield before he arrived. In preparation for Plaintiff’s arrival, Dr. Blocker reviewed his

medical records to see what was going on with Plaintiff as a patient at that time. Dr.

Blocker also had conversations with various departments that provided input. He recalls

that there was an inmate companion program set up for Plaintiff, but he was not involved

with that program. The psychology department helped set up the companion program for

Plaintiff because they had set up companion programs for other inmates in the past.

Plaintiff had several inmate companions while at FCI Edgefield. Dr. Blocker was not sure

of the reasons that Plaintiff’s companions were replaced.

       Dr. Blocker testified that if an outside specialist made a recommendation, either he

or another provider would review it, and, if possible, comply with what was recommended.

If, for some reason, the recommendation could not be followed, then the medical staff

would try to determine a workable alternative or substitute. For example, if an outside

doctor prescribed a medication that was not in the BOP formulary, then the medical staff



                                             82
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 83 of 166




would try to substitute another medication that had equal effects with the same treatment

regimen. If an outside doctor recommended that an inmate needed assistance with his

ADLs, then the medical department would try to comply with that recommendation as

well. For example, if the outside doctor said the inmate needed a lower bunk, that is

something medical would attempt to accommodate. Per the Revised Criteria, the BOP

defines ADLs as eating, urinating, defecating, bathing (personal hygiene), and

dressing/undressing. (PE 2001.) If something was recommended that was against BOP

policy, then the medical staff would not be able to implement the recommendation without

approval from higher BOP authority, who would review the recommendation in the context

of the individual.

       At FCI Edgefield, the pill line occurred in the morning, afternoon, and evening.

Inmates that needed controlled medications once, twice, or three times a day had those

medications distributed by health services staff. If an inmate has a self-carry medication,

the medical staff does not document the inmate as having taken it because the inmate is

permitted to take the medication back to their unit and use it as directed. So, if FCI

Edgefield was keeping a record of how many times Plaintiff missed his medication, it

indicates that the medication was being provided via pill line. Medication refusals were an

issue with Plaintiff at FCI Edgefield. Dr. Blocker encountered other instances where an

inmate refused medication, but they were “very, very seldom.” Plaintiff had to the right to

refuse his medication and if he refused, the medical staff would indicate to him what the

consequences might be if he did not take the medication.

       Dr. Blocker testified that, per the Revised Criteria (PE 2001), the Clinical Director

does not have the authority in and of himself to redesignate an inmate’s care level. Rather,



                                            83
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 84 of 166




a redesignation request is sent to the BOP Medical Designations Unit in Grand Prairie,

Texas, where a team of administrative personnel, including various health care

practitioners, reviews the request and makes the final determination.

        DE 18 (5910), a BOP medical record dated July 12, 2017, documents the “14 Day

Physician Eval encounter” that Dr. Blocker conducted on the day that Plaintiff was

transferred to FCI Edgefield. Dr. Blocker explained that when an inmate with chronic care

issues comes to a new facility, this type of evaluation is conducted within fourteen days

of the inmate’s arrival so that the physician can understand what the inmate needs and

familiarize himself with the inmate’s treatment plan. The portions of the record that

indicate what the patient is reporting are based on the patient’s subjective statements

during the evaluation. At the time, Plaintiff was on a four-eyedrop regimen as well as

refresh drops for dry eyes. Plaintiff’s main concern was his fear of being “on the

compound” while being legally blind. He expressed fears of harassment and sexual

victimization, which he asserted had happened multiple times since he lost his sight.

Plaintiff reported not having his eyedrops in the past twenty-four hours, thereby missing

multiple scheduled doses. He was also fearful of not being able to maneuver himself

around the compound. Dr. Blocker deferred taking Plaintiff’s vitals and conducting an

exam due to the amount of time spent discussing a plan for accommodating Plaintiff’s

blindness. During this encounter Dr. Blocker established a doctor/patient rapport with

Plaintiff.

        In DE 18 (5862–63), a BOP medical record dated September 1, 2017, Dr. Blocker

documents that Plaintiff refused his eyedrops on several occasions with complaints

regarding the personnel giving the drops. Dr. Blocker testified that if a patient complained



                                            84
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 85 of 166




about the personnel providing a service to him, the medical staff would discuss the issue

in their daily morning meetings to determine whether it was a staff or an inmate problem,

and then to see what could be done to alleviate the problem. He further testified that the

medical staff at that time included three or four nurses and two or three mid-level

providers. The inmate population at FCI Edgefield was approximately 2,100, with forty to

sixty percent of those inmates enrolled in chronic care. So, the supply of medical staff

assigned to serve that population was certainly not unlimited.

       In DE 18 (5860–61), a BOP medical record dated September 7, 2017, Dr. Blocker

documents a PREA evaluation encounter that he conducted with Plaintiff. This type of

evaluation is performed when an inmate claims that he has been sexually assaulted. Dr.

Blocker notes that Plaintiff alleged he was “groped” when he first arrived at FCI Edgefield,

with the date of injury being July 12, 2017. The date reported for treatment was

September 7. Plaintiff did not provide any information about where the injury happened.

Plaintiff reported to a Lieutenant and requested to be placed in the SHU because he

feared for his safety. Plaintiff also reported that he was physically assaulted “a couple of

days ago.” At the HSU, Plaintiff would not give any information regarding the incidents

and refused to allow Dr. Blocker to conduct a physical examination. In the “Exam

Comments” section of the record, Dr. Blocker notes his observations that while Plaintiff

was in the exam room and being escorted out of HSU, Plaintiff showed no evidence of

injury, pain, or discomfort. Dr. Blocker testified that if an inmate wanted to be placed in

the SHU, that would be a decision for the custody staff not the medical staff.

       DE 18 (6265), is a BOP medical treatment refusal form dated July 19, 2017. Nurse

Charles Thomas notes that Plaintiff refused to let him administer Plaintiff’s eyedrops.



                                            85
 5:16-cv-03913-BHH            Date Filed 01/31/23         Entry Number 332           Page 86 of 166




Plaintiff refused to sign the refusal form. DE 18 (6264), is the same form dated July 20,

2017. DE 18 (6258), is the same form dated July 22, 2017. DE 18 (6260), is the same

form dated July 23, 2017, which also notes that Plaintiff stated he was refusing to let

Nurse Thomas administer his eyedrops because it was not his preferred provider. DE 18

(6262), is the same form dated July 24, 2017, which notes that Plaintiff was refusing

because it was not his preferred provider. DE 18 (6253), is the same form dated August

5, 2017, which notes that Plaintiff was refusing because it was not his preferred provider.

DE 18 (6237), is a refusal form dated November 7, 2017, in which Dr. Blocker notes that

Plaintiff refused to go to a scheduled ophthalmology appointment and refused to sign the

refusal form.

        In DE 18 (5836), a BOP medical record dated November 7, 2017, Dr. Blocker

documents that Plaintiff was scheduled for a follow-up ophthalmology appointment, but

Plaintiff refused to go until he received his scheduled eyedrops and his noon meal,

whereupon a nurse was called and Plaintiff was given his eyedrops, and Plaintiff was told

he would be provided a lunch to eat enroute to his appointment, but Plaintiff refused to

agree to this and said he would not go. (See DE 18 (6237) (related refusal form).) Dr.

Blocker testified that it is not a normal occurrence for a patient to refuse to go on a medical

trip.

        Dr. Blocker was further questioned about DE 18 (6232), 19 Dr. Smith’s November

30, 2017 medical note from Aiken Ophthalmology. The note states, in relevant part:

“Patient states that he is not recieving drops like he has been prescribed and he recieves

Atropine once daily,Artificial Tears twice daily, and Timolol once daily in both eyes. States



19 DE 18 (6232) is the same as PE 2005, so it was unnecessary for it to be separately admitted.


                                                   86
 5:16-cv-03913-BHH           Date Filed 01/31/23        Entry Number 332    Page 87 of 166




he is not receiving Latanoprost at all.” (PE 2055 (errors in original).) Dr. Blocker confirmed

that, after he received Dr. Smith’s note, he reviewed Plaintiff’s MAR to determine whether

Plaintiff’s assertions were accurate. PE 2399 20 is Dr. Blocker’s December 1, 2017

administrative note, in which he documents the results of his MAR review. Dr. Blocker

testified that because Plaintiff was on pill line for his eyedrops at the time, there would be

a record if he missed a dosage. Likewise, if Plaintiff had been missing or refusing doses,

it would be represented on the MAR. Though Plaintiff stated that he was not receiving

Latanaprost at all, Latanaprost was not indicated as a medication that Plaintiff had missed

during Dr. Blocker’s review of the MAR. Timolol was also not indicated as a medication

that Plaintiff missed during the relevant time period.

       2. Charles Thomas, RN

       Nurse Charles Thomas resides in Jacksonville, Florida. He is employed with the

U.S. Public Health Service and currently detailed to the ICE Health Service Corps,

Department of Homeland Security. He was formerly employed as a nurse at FCI

Edgefield, while Plaintiff was an inmate there.

       Nurse Thomas testified that FCI Edgefield did not have a medical companion

program until Plaintiff was scheduled to come to their facility, but mental health services

did have a companion program. The HSA called Nurse Thomas into her office and told

him about an incoming blind inmate, that they needed to set up a companion program,

and that he would be in charge of putting the program together and running it. There was

a pool of six to eight inmates that had already been vetted through the psychology

department to serve as inmate companions. Nurse Thomas brought those inmates in and



20 DE 18 (5814) is the same as PE 2399 and was not separately admitted.


                                                 87
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 88 of 166




explained what the process was going to be, that they would be Plaintiff’s every-day

guides to appointments and help him get around, but would not assist him with his ADLs.

Nurse Thomas testified that they trained and instructed the inmates on what their level of

involvement would be.

       When Plaintiff first came to FCI Edgefield, Nurse Thomas conducted his medical

intake and ensure that his basic medical needs were met, and he was set up for any

necessary appointments. Nurse Thomas explained the inmate companion program to

Plaintiff and that the plan was for his companions to rotate every three hours. He further

explained how sick calls, appointments, and pill lines worked at FCI Edgefield. Nurse

Thomas testified that this encounter got “a little heated” when he asked Plaintiff his level

of vision. Plaintiff was aggravated by the question. Nurse Thomas stated, “He said: I’m

blind. I said: Well, what level? Can you see shapes, colors, light? He said I’m blind. And

he was loud about it. I said: Well, I just need to know because that’s kind of important to

talk to the other companions about what you can see and what you can’t see. So, he

finally said: Well, I can see light. So that’s what I wrote down.” When Nurse Thomas asked

Plaintiff about the blind-assistance cane, he got aggravated again and insisted that of

course he knew how to use the cane.

       Nurse Thomas testified that Plaintiff preferred to have the female nurses

administer his eyedrops. The nursing staff was instructed to administer the eyedrops

three times a day according to the prescriptions. But Plaintiff did not like some members

of the staff, especially Nurse Thomas, to place the eyedrops. Nurse Thomas testified that

he told Plaintiff he could not choose his nurse, and that it was his duty to administer the

drops. When Plaintiff observed that Nurse Thomas was on duty, he would state that he



                                            88
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 89 of 166




wanted someone else to place the drops, and when Nurse Thomas told Plaintiff that he

would be taking care of him, Plaintiff would often just leave. On those occasions, Nurse

Thomas would document that Plaintiff refused his medication.

       Nurse Thomas stated that everyone started with high hopes for the inmate

companion program. Everyone was on board and wanted to help. However, the

companion program “quickly went downhill.” Nurse Thomas began getting reports from

the inmate companions that Plaintiff was extremely disrespectful and rude to them, and

that he was mistreating them. The companion program started with six to eight inmates

and Nurse Thomas recalls that every one of them either quit based on his actions toward

them or said they did not want to continue what they were doing or could not come in for

certain work hours because they had a conflict in their schedule. So, the medical staff

had to find more people to participate in the companion program. Nurse Thomas stated

that Plaintiff was always very well kept, dressed to regulations, and very neat. He never

looked disheveled or unkempt.

       Nurse Thomas was asked to comment on various BOP medical records that he

prepared, as follows: DE 18 (6128–31), July 12, 2017, noted that upon Plaintiff’s medical

intake interview when he arrived at FCI Edgefield, Nurse Thomas confiscated his

medication to go through it, determine whether it was still valid, dispose of any that was

no longer good, and reissue medication as necessary from the pharmacy; DE 18 (5905),

July 14, 2017, noted Plaintiff wanted to talk about other things at pill line, whereupon

Nurse Thomas told Plaintiff that he was only there to administer Plaintiff’s eyedrops and

that if Plaintiff was not going to have his medication administered then he needed to leave,

but Plaintiff would not leave even when Nurse Thomas gave him a direct order, so the



                                            89
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 90 of 166




Lieutenant had to come and get Plaintiff; DE 18 (5903), July 19, 2017, noted that during

pill line Nurse Thomas instructed Plaintiff to enter the exam room for administration of the

eyedrops, but Plaintiff refused; DE 18 (6258–65), July 19, 2017, documented refusal form

pertaining to the previously cited incident; DE 18 (5900), July 20, 2017, noted Plaintiff

asked who would be doing his eyedrops at the 1500 hours pill line and when he found it

would be Nurse Thomas, he left; DE 18 (5898–99), July 22, 2017, same as previous; DE

18 (5896–97), July 23, 2017, same as previous; DE 18 (5895), July 24, 2017, noted that

Plaintiff came to medical to receive his morning eyedrops, demanded to talk to the Clinical

Director, requested that Dr. Blocker administer his eyedrops instead of Nurse Thomas,

and requested a Lieutenant from Dr. Blocker, whereupon a Lieutenant arrived and agreed

to stand alongside Nurse Thomas while he administered the eyedrops, but Plaintiff

refused and requested to be let out of the medical department because he did not get his

preferred provider; DE 18 (6253), August 5, 2017, documented refusal form when Plaintiff

refused to let Nurse Thomas administer his eyedrops because it was not his preferred

provider; DE 18 (5868), August 19, 2017, noted Plaintiff arrived at morning pill line and,

upon approaching the service window, asked if any other nurses were working now, when

he was told Nurse Thomas was the only nurse working he exited the medical department

with his companion and without receiving his morning medications; DE 18 (5866–67),

same as previous.

       Nurse Thomas testified that the medical inmate companion program was created

for Plaintiff. Nurse Thomas was instructed to create the program by HSA Patina Battle.

HSA Battle told Nurse Thomas at the time that Plaintiff had been in other BOP facilities

and that he was a noncompliant, difficult patient. She also told Nurse Thomas that Plaintiff



                                            90
 5:16-cv-03913-BHH          Date Filed 01/31/23     Entry Number 332       Page 91 of 166




had already brought a lawsuit. The inmate companions were paid to help Plaintiff, but

Nurse Thomas was not involved with the payment, only managing the people.

         When questioned about the refusal forms he completed (e.g., DE 18 (6258)),

Nurse Thomas agreed that Plaintiff did not fill out anything on the forms. When questioned

about the warning on the forms that the possible consequences of refusal were, “Eye

sight can worsen resulting in loss of vision and even death,” Nurse Thomas testified that

he understood the suggestion of death is extreme, but if you do not take your medicine

you might develop some kind of infection in your eye that could lead to a brain infection,

which could kill you. He agreed that in that event, the infection would be causing the

death.

         3. Plaintiff’s Testimony Regarding FCI Edgefield

         Plaintiff testified that Dr. Blocker was in charge of his care at FCI Edgefield. He

does not recall seeing Dr. Smith as an outside provider. He does not remember seeing a

glaucoma specialist at any point while he was at FCI Edgefield.

         Plaintiff stated that he was not provided a blind-assistance cane while at FCI

Edgefield, and that FCI Estill is where he obtained the cane. Plaintiff reverted to a

discussion of Ms. Madison’s training and asserted, “The second time she came out, Ms.

Madison did not end the sessions, my counselor—no, not my counselor. My case

manager at Estill is the one who ended the sessions abruptly and immediately for the—I

don’t know why. I don’t know why. I did not get an incident report.” The cane Plaintiff had

at FCI Edgefield was the same cane he was given at FCI Estill. Plaintiff stated that the

cane did not work properly because it was too short for him. He further stated that he

never got a properly sized cane.



                                             91
 5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 92 of 166




       Plaintiff testified that he never received any braille materials, a talking watch, or

consultation with a low-vision specialist while at FCI Edgefield. He asserted that one of

his inmate companions at FCI Edgefield walked him into the steel gates that surround the

metal detector in the middle of the compound, causing him injury, and “[t]imes like that

where the inmate companion caused [him] injury, [he] asked for a different companion.”

He further asserted that, in the process of the prison staff removing one companion and

assigning another, he would inform medical staff that it was going to be extremely difficult

for him to get to pill line, that he was not refusing and wanted his medication, but without

the inmate companion it would be hard to make it there. Plaintiff testified that he never

refused his medication at FCI Edgefield. The Court found this assertion to be lacking in

credibility based on the weight and volume of contrary evidence that was admitted.

Plaintiff stated that he was experiencing eye pain during his time at FCI Edgefield.

       4. Consolidated Findings Regarding FCI Edgefield

       The preponderance of the evidence showed that the medical staff at FCI Edgefield

established and operationalized a medical inmate companion program specifically for

Plaintiff. At least six inmate companions were vetted, hired, and instructed in advance on

how they were to assist Plaintiff. Though the program began with high hopes, many of

Plaintiff’s inmate companions quit because he mistreated them and they did not want to

keep working with him. Plaintiff continued his pattern of refusing his eyedrop medications

when they were not provided in the way and by the staff member(s) he desired. Plaintiff

also refused a scheduled ophthalmology appointment because he would not depart for

the trip without first being given his noon meal, even though he had been assured he

would receive the meal while enroute to the appointment.



                                            92
 5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332         Page 93 of 166




   E. FCC Butner

       1. Larence Sichel, MD

       Dr. Lawrence Sichel is currently a medical officer at FCI Butner Medium I. He has

been a doctor at FCC Butner for fifteen years. Butner is a Federal Correctional Complex,

meaning that there are multiple facilities on the campus. Dr. Sichel has worked at other

facilities within FCC Butner, but in his current role, he is responsible for directing all of the

medical activities at FCI Butner Medium I. He also follows some patients directly. This

includes yearly evaluations for all patients that are in chronic care, and all new inmates

coming into the facility. He no longer sees those patients for interim visits, as nurse

practitioners now conduct the sick calls and follow-up visits. Prior to a system change,

however, he did conduct the interim visits and was following the Level 3 inmates and

selected other inmates with more complex issues.

       Dr. Sichel is familiar with Plaintiff and his medical condition. Plaintiff was not one

of the patients that Dr. followed previously because Plaintiff was care Level 2. Thus,

Plaintiff would have been seen by a nurse practitioner with Dr. Sichel’s supervision. Dr.

Sichel agreed that Plaintiff is legally blind, which is not the same as total blindness, and

that people who are legally blind may have some vision that is worth saving. In his time

at Butner, Dr. Sichel recalls one other inmate who is visually impaired. Dr. Sichel oversees

the care for about 650 inmates at FCI Butner Medium I with approximately 370 of those

inmates being in chronic care.

       Dr. Sichel testified that, when providing care for disabled inmates, the medical staff

tries to individualize care to the needs of the particular inmate. They try to work with the

disabled inmate to allow the inmate to access medical care as best as possible. Dr. Sichel



                                               93
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 94 of 166




agreed that legal blindness is a form of disability and that the medical staff might have to

make arrangements to provide different access to a legally blind inmate.

       When an inmate is transferred into the facility, if the inmate has been in the BOP,

then Dr. Sichel is able to access the inmate’s medical records. He does not typically

review all of the records at great depth when the inmate first arrives. When Dr. Sichel

sees the inmate for his yearly visit, then Dr. Sichel does a more in-depth review of the

records. The depth of Dr. Sichel’s medical record review upon arrival varies with the

circumstances surrounding each individual inmate. He did not review Plaintiff’s records

in-depth at the time of transfer because Plaintiff was coming from the low security

institution within the Butner complex. Such a case essentially involves a continuation of

the care Plaintiff was already receiving, so typically a nurse practitioner would have

renewed the medications that Plaintiff was getting at the previous institution and Dr. Sichel

would not have had much involvement at the beginning.

       Dr. Sichel testified that the medical staff has attempted to provide Plaintiff with an

inmate companion to help him get around the complex and do things that he would have

trouble doing due to the limitations of his eyesight. Sometimes it is within Dr. Sichel’s role

to recommend that, and nurse practitioners can recommend that as well. Dr. Sichel does

not recall whether he made that recommendation in Plaintiff’s case. Plaintiff was referred

to an occupational therapist, but Dr. Sichel was not sure whether he or the nurse

practitioner made the referral.

       In PE 2422, a BOP medical record dated January 3, 2019, Occupational Therapist

C. Kaminski recommends that Plaintiff be provided a talking watch and a low-vision lock

for his locker. Dr. Sichel has no direct knowledge of whether Plaintiff received those



                                             94
 5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332        Page 95 of 166




things. He would not be involved with approving Plaintiff’s receipt of those items. He would

also not be responsible for approving whether Plaintiff was referred for braille training or

received braille materials.

       Dr. Sichel agreed that the recommendation to provide Plaintiff with an inmate

companion was made in order to help Plaintiff access his care, and to do so safely. That

need existed because Plaintiff is legally blind, and Plaintiff was legally blind before

entering FCI Butner Medium I. When questioned as to whether he had been made aware

that Plaintiff was involved in litigation related to his medical care against the BOP when

Plaintiff arrived at Butner, Dr. Sichel responded, “Not initially, no.” He stated that he only

became aware of the litigation when he was called for a deposition.

       Dr. Sichel, from his review of the occupational therapy notes, believes that Plaintiff

was offered a blind-assistance cane during his time at Butner. When questioned as to

whether the cane would be medically necessary because Plaintiff is legally blind, Dr.

Sichel stated, “I think it would be option. I don’t think it would be medically necessary.”

       Dr. Sichel testified that he has dealt with and cared for Plaintiff quite a bit. However,

he does not have any personal dealings with whether or not Plaintiff was provided a cane,

because that falls under the purview of the occupational therapist. Dr. Sichel saw Plaintiff

for a chronic care appointment earlier in the month of trial. They discussed various issues

with Plaintiff’s medical concerns. In terms of his vision, Plaintiff complained of some

soreness in his eyes and reported that he had difficulty putting the ophthalmologic

ointment, which had been recommended by the ophthalmologist, into his eyes to keep

them moist. So, Dr. Sichel ordered the nurse to put the ointment under Plaintiff’s eyelid

for him so that he would not have difficulty trying to do it himself. Dr. Sichel was not aware



                                              95
 5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332         Page 96 of 166




of any problems between Plaintiff and the medical personnel.

       In DE 19 (6404–06), a BOP medical record dated November 9, 2018, Dr. Sichel

documents a medication reconciliation that he conducted regarding Plaintiff. In DE 19

(6396), BOP medical record dated November 16, 2018, Dr. Sichel documents another

medication reconciliation that he conducted regarding Plaintiff when he came back from

the SHU. In DE 19 (6375), a BOP medical record dated December 24, 2018, Dr. Sichel

notes that Plaintiff was recommended for a follow-up appointment with Dr. Firozvi, a

glaucoma surgery specialist with the North Carolina Eye, Ear, Nose, and Throat

(“NCEENT”) practice, who had recommended surgery for left-eye cataract extraction and

eye stent placement. Dr. Sichel further notes that Plaintiff had continued to be

noncompliant with medical recommendations, refusing to cooperate with a preoperative

history and physical, as well as his eyedrops and oral medications. (DE 19 (6375).) Dr.

Sichel states, “It would not be safe to proceed with surgery until he is willing to cooperate

with medical recommendations.” (Id.) Dr. Sichel testified that he was very concerned that

if Plaintiff had surgery and failed to follow recommendations after surgery it could result

in a very bad outcome from surgery.

       In DE 20 (6988), a BOP medical record dated March 18, 2019, Dr. Sichel notes

that he spoke with the mid-level provider about the fact that there are only three pill lines

available at FCI Butner Medium I. Dr. Sichel was concerned that if Plaintiff was using

artificial tears at pill line, at the same time as the glaucoma drops, the artificial tears might

wash out the prescribed medications. Dr. Sichel notes that it may be better for Plaintiff to

use the artificial tears on his own a few hours after the medicated drops. Dr. Sichel further

notes that he spoke with the AHSA, who suggested getting Plaintiff an autodrop guide to



                                               96
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 97 of 166




help Plaintiff use the eyedrops on his own, and they planned to discuss it with the

optometrist the next time she came to their institution. (DE 20 (6988).) Dr. Sichel

confirmed that the medical staff was still trying to work with Plaintiff to help him better

comply with his treatment.

       When questioned about Dr. Firozvi being a glaucoma surgeon, Dr. Sichel

explained that she would not be the eye doctor that Plaintiff would see generally for his

glaucoma treatment. Rather, Dr. James is the ophthalmologist who comes out to the

institution on a regular basis. Dr. James refers to Dr. Firozvi when he thinks there is

something more complex going on that is beyond his area of sub-specialization. Plaintiff

may have seen Dr. Firozvi twice in the records that Dr. Sichel reviewed, but he was unsure

of the last time Plaintiff saw Dr. Firozvi. Dr. James and Dr. Firozvi are colleagues at the

same practice, NCEENT.

       2. Katherine Kaminski, LCDR

       Katherine Kaminski is an occupational therapist holding the rank of Lieutenant

Commander in the U.S. Public Health Service. She has served as an occupational

therapist at FCC Butner since 2013. She has a master’s degree in occupational therapy

from the UNC Chapel Hill. Her duties include evaluating inmates to see what disabilities

they have that may prevent them from completing ADLs on the compound.

       In DE 19 (6395), a BOP medical record dated November 21, 2018, LCDR Kaminski

notes that Plaintiff was a no-show for his first occupational consultation. She testified that

if an inmate does not show up when placed on call out, it is documented, and she

reschedules the inmate. This was Plaintiff’s first no-show. If there are more than two no-

shows, then the individual is discharged from occupational therapy for noncompliance.



                                             97
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 98 of 166




The occupational therapists at FCC Butner only see people as a result of referral from a

primary care doctor, so not every inmate sees an occupational therapist.

       In DE 19 (6388), a BOP medical record dated November 28, 2018, LCDR Kaminski

documents that she saw Plaintiff for an initial evaluation. She testified that she had to call

him up for his appointment. She did so because other staff in the medical area mentioned

that Plaintiff occasionally had trouble coming to call out. LCDR Kaminski stated that an

evaluation typically takes about forty-five minutes, but she sat with Plaintiff for about one

and a half hours. He appeared to be very irritated. Part of the evaluation is to establish

rapport by asking questions about the client’s functioning, the reason for the referral, and

any goals he might have for working and occupational therapy. LCDR Kaminski stated

that Plaintiff provided many vague answers and she found it very challenging to

extrapolate useful information to create treatment goals based on his functional concerns.

She further stated that Plaintiff used several phrases about which she asked for

clarification, but on which she did have a sense of clarity by the end of the evaluation. For

example, Plaintiff used the phrase that he “eats a bowl full of stress every day.” LCDR

Kaminski testified that it is important to build rapport because she needs the client to trust

her in the same way she trusts the client’s reports and concerns. When LCDR Kaminski

asked Plaintiff how his functioning was being impacted by his low vision, Plaintiff replied

that he wanted to do what everyone else was doing. LCDR Kaminski understands this

sentiment, but from an occupational therapy perspective, in order to come up with a

treatment plan and goals, it is helpful to have more specific answers given.

       In order to help Plaintiff on an individualized basis LCDR Kaminski tried to clarify

what ADLs he needed help with. Plaintiff expressed problems with urinating and



                                             98
 5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 99 of 166




requested a hand-held urinal. LCDR Kaminski asked if sitting down to urinate would be

an option and Plaintiff stated he was uncomfortable with that. LCDR Kaminski asked if he

was uncomfortable sitting down to defecate and with showering and Plaintiff simply did

not answer. When an inmate is in a cell, due to security considerations, the inmate

generally does not have privacy when doing those things. Plaintiff expressed a need for

a single cell because he could not tell where his belongings were, and LCDR Kaminski

testified that this is not a request that occupational therapy would normally entertain. She

further testified that up to that point, Plaintiff had done pretty well with having a cellmate.

One concern with placing inmates in single cells is that, statistically speaking, the risk of

suicide or self-harm increases dramatically. Thus, requests for single cells are not taken

lightly. Instead, in low-vision cases like Plaintiff’s, occupational therapy tries to work with

the client to set up a system to establish a recognizable area within the cell where the

client’s items might be stored.

       LCDR Kaminski understood that Plaintiff had been issued a blind-assistance cane

at a previous institution, but he was not using it on the day that she met with him. When

she inquired about the cane, Plaintiff said that he had not been trained on it properly, that

it was not the correct size for him, and that the compound was not squared off at right

angles, so he would be incapable of using the cane on the compound. LCDR Kaminski

pointed out to Plaintiff that the community is also not set up at right angles, so in order to

help him with his independence and with functional mobility, whether he is incarcerated

or out in the community, the expectation would be that he could learn to use the cane to

navigate the compound. Based on Plaintiff’s presentation at the evaluation, LCDR

Kaminski did not see anything about his condition that would prevent him from learning



                                              99
5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332        Page 100 of 166




to use the cane. LCDR Kaminski testified that she has asked Plaintiff on numerous

occasions about learning to navigate with the cane at FCC Butner, “and every time he

has either not answered the question or he just said I’m not interested in learning.” LCDR

Kaminski subsequently issued Plaintiff a new cane because she saw that his old one was

broken and was not the correct length.

       LCDR Kaminski reiterated that throughout the course of her evaluation of Plaintiff,

which is documented in DE 19 (6388), it was very difficult to extrapolate useful information

to formulate a treatment plan. Her final assessment was that Plaintiff has loss of vision

due to end-stage glaucoma and it was very difficult to figure out ways she could help him

to establish his independence on the compound in spite of his vision loss. However,

because she has worked with other inmates with low vision and blindness, she felt that

one way to continue to establish rapport with Plaintiff was to offer some of the adaptive

equipment that she has offered in the past to inmates with similar diagnoses. LCDR

Kaminski has offered an alternate lock to help such inmates store personal belongings in

their locker, a talking watch, and a lighted magnifier as a way to improve the ability to see

things at close range. Even if some of these things would not be helpful to Plaintiff, offering

them was a way of showing she was trying to provide him assistance so that he may be

more willing to work with her in the future. LCDR Kaminski also worked with the primary

care provider and the AHSA to consider a referral to a contract low-vision specialist. Such

a specialist may have more pieces of adaptive equipment for a client to try while at that

specialist’s clinic.

       LCDR Kaminski testified that during the evaluation she counseled Plaintiff on the

need to work with medical providers in order to better manage his concerns. She did this



                                             100
5:16-cv-03913-BHH          Date Filed 01/31/23       Entry Number 332         Page 101 of 166




because she felt that Plaintiff was being very rigid in the way he was thinking about issues.

She stated that Plaintiff would repeat a lot of the same statements over and over. She

had a concern that, without his willingness to participate in some of the things that health

services was offering for his medical care, Plaintiff could be missing out on ways to help

himself.

       In DE 20 (7003–04), a BOP medical record dated January 3, 2019, LCDR

Kaminski documents her follow-up visit with Plaintiff after the initial evaluation. In this visit,

LCDR Kaminski wanted to issue some of the adaptive equipment she thought might be

helpful for Plaintiff. She communicated to him that she was still working on getting some

of the equipment approved so that Plaintiff would not think he had forgotten about it. On

this date, LCDR Kaminski issued the lighted magnifier and Plaintiff indicated he was

willing to try it. LCDR Kaminski testified that Plaintiff was in an unpleasant mood and

required repeated redirection. She observed that Plaintiff wanted to talk more about how

he was not getting adequate care, but she was trying to keep the conversation on topic

so she could ensure Plaintiff knew how to operate the magnifier if he needed to. At this

point, she needed to wait for the additional adaptive equipment to be available so that

she could issue it to Plaintiff.

       LCDR Kaminski testified that she knew Plaintiff had an inmate companion in the

past and she assured him that having adaptive equipment issued to him would not

preclude him from having an inmate companion. LCDR Kaminski spoke with the inmate

companion program coordinator because she was informed that Plaintiff had been

assigned numerous inmate companions and they were quitting. She also followed up with

Dr. Sichel and the AHSA, Cheryl Daniel, about a referral to a low-vision specialist,



                                              101
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 102 of 166




because such a referral is at their discretion. LCDR Kaminksi explained the reasons why

she felt that it would be useful, but they indicated they did not feel it was appropriate at

that time. AHSA Daniel disagreed with LCDR Kaminski’s recommendation for a referral

because Plaintiff had demonstrated continued noncompliance with other aspects of his

medical care.

        In DE 20 (7005), a BOP medical record dated January 3, 2019, LCDR Kaminski

notes that Plaintiff arrived late to call out for the January 3 follow-up appointment.

Typically when a client does not show up on time for their call-out, LCDR Kaminski will

document it as a no-show. The reason why she noted that Plaintiff was late on this

occasion was because she had started a note that he was a no-show and wanted to

clarify in the medical record that he did, in fact, show up, just not on time. LCDR Kaminski

testified that she does not recall whether Plaintiff had an inmate companion with him at

this time, but she believes she has seen him with a companion most times, if not every

time.

        In DE 20 (6099–7000), a BOP medical note dated January 10, 2019, LCDR

Kaminski documents her discharge encounter with Plaintiff. The talking watch came in,

so she was set to issue it on that date. The only other piece of adaptive equipment that

had not yet been approved or come in was the alternate lock. However, the alternate lock

is equipment that must be approved and issued by the lock shop and custody staff. Thus,

LCDR Kaminski planned to discharge Plaintiff from occupational therapy because, after

issuing the watch, Plaintiff had no other indicated needs with her in the occupational

therapy clinic. If Plaintiff had opted to receive more blind-assistance cane training, he

would have been retained in treatment. LCDR Kaminski testified that Plaintiff was a little



                                            102
5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332        Page 103 of 166




upset because the talking watch only had the capability of programming one alarm. As

you push the buttons, the watch gives instructions on how to set the time and alarm.

However, LCDR Kaminski appreciates why that may be challenging for a vision-impaired

client. She typically sets the time for the client in advance and offers to set an alarm in

person, so that the watch is fully functional when the client leaves the clinic. She also has

the client demonstrate that they know which buttons to push on the watch to have the

time announced, how to turn off the alarm, and similar functions. She did this with Plaintiff.

During the discharge encounter, Plaintiff mentioned that the education department did not

have a talk-to-text computer program. LCDR Kaminski directed Plaintiff to take that

concern up with the education department, and if they had any questions they could reach

out to her. She asked Plaintiff, again, if he would be interested in having additional training

to use the cane and he alternately indicated that he was not interested and expressed his

view that because the compound was not set up at right angles he would not be able to

learn. Plaintiff mentioned to LCDR Kaminski that he did not currently have an inmate

companion and that he had been assisted to the clinic by another inmate informally. LCDR

Kaminski provided suggestions to Plaintiff on how to make sure he was aware if he was

on the call out list.

       In DE 20 (6978–79), a BOP medical record dated March 28, 2019, M. Van Sickle,

ANP-BC, notes that Plaintiff was seen by the optometrist that day and offered the “Auto

Drop” eyedrop guide specially ordered for him, but Plaintiff refused the device and the

training of its use by the optometrist. The note further indicates that Plaintiff refused his

eyedrops that morning at pill line and that Plaintiff denied then current eye pain. Nurse

Practitioner Sickle and LCDR Kaminski spoke that day about a plan to increase Plaintiff’s



                                             103
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 104 of 166




independence. LCDR Kaminski had offered Plaintiff cane training by a member of the

North Carolina School for the Blind, which he refused. In DE 20 (6980), another BOP

medical record from the same day, Mala Bailey, OD, documents the aforementioned

interaction between Plaintiff and the optometrist. Dr. Bailey describes Plaintiff as being

very angry when she offered him the auto-drop device. She records that Plaintiff stated

the device was useless for him because he could not see. She further records that Plaintiff

kept asking for a pressure check, whereupon Dr. Bailey informed him that there was no

consultation written for a pressure check. When handed the device, Plaintiff became very

angry and loud and asked what would happen if he was to drop the device and step on

it. When Dr. Bailey told Plaintiff that the device would break, he became very angry and

stated he was being insulted.

       LCDR Kaminski recalls this incident with the auto-drop device because Plaintiff

had indicated to her that he was having issues self-administering his eyedrops. The auto-

drop device is one of the adaptive equipment pieces that occupational therapy has issued

in the past for similar complaints. It is a device that can be fitted to the top of a standard

issue eyedrop container. It can control the direction of the eyedrops as well as the flow

rate of the eyedrops. LCDR Kaminski had asked Plaintiff if he would be interested in

learning how to use the auto-drop device so he could self-administer his eyedrops. She

also acknowledged that because he had several medications, it could be difficult for

Plaintiff to distinguish between the eyedrop containers. One of the things the occupational

therapy department can facilitate for a low-vision client is to provide textured stickers for

the bottles so that the client can distinguish between the bottles.

       In PE 2454, a BOP medical record dated January 15, 2020, LCDR Kaminski



                                            104
5:16-cv-03913-BHH          Date Filed 01/31/23       Entry Number 332         Page 105 of 166




documents that she provided Plaintiff with a new blind-assistance cane because the one

he had been issued previously was broken in half and was no longer serviceable. LCDR

Kaminski testified that during this visit she asked Plaintiff if he would like additional training

and he indicated he would not. She further testified that she offered Plaintiff training with

the cane on four or five occasions. LCDR Kaminski stated that Plaintiff is able to

independently fold and unfold the cane but he still does not regularly use it. Typically,

when she sees Plaintiff on the compound, he is being guided by an inmate companion.

       LCDR Kaminski testified, as represented in a device and equipment log maintained

as part of Plaintiff’s medical record (PE 2552), that on August 14, 2020 she provided

Plaintiff with a new talking watch. Plaintiff had previously come in with the old talking

watch and it was not working appropriately. LCDR Kaminski could not find a replacement

battery, so she simply issued Plaintiff a new watch.

       LCDR Kaminski testified, as represented on a medical duty status form maintained

as part of Plaintiff’s medical record (PE 2582), that Plaintiff was issued a personal bowl

and plate because he reported that eating at main line was very difficult for him. Such

medical duty status forms are printed out and provided to the inmate so he can show his

custody unit team that he is permitted to have the issued items. These items were issued

to Plaintiff to allow him to eat more effectively. On May 6, 2022, LCDR Kaminski wrote an

administrative note (PE 2583) about Plaintiff being permitted to eat in his unit, rather than

the cafeteria.

       LCDR Kaminski testified that as a disabled person goes through life, sometimes

their needs change over time. This reality warrants periodically looking at the person’s

health status to determine if their needs have changed. LCDR Kaminski further testified



                                              105
5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332      Page 106 of 166




that occupational therapy is a bit of a moving target in the prison system because “some

of the accommodations that might be reasonable out in the community may not always

be safe for a prison environment. And so, sometimes some of the decisions that we make

have to be in conjunction with custody in order to ensure any accommodations we make

don’t disrupt the orderly operations of the institution.” LCDR Kaminski stated that if she

makes a recommendation, and the security staff of the prison say it poses a problem, she

and the security staff will try to find a middle ground.

       LCDR Kaminski testified, as reflected in her notes dated May 18, 2022 (PE 2584),

that Plaintiff was referred to her by the AHSA to consider how his concerns about eating

at main line might be addressed. Plaintiff wanted to continue to obtain his food in his cell,

the way the inmates had been fed during the height of the COVID pandemic. Plaintiff

expressed that he was having difficulty managing himself at main line because it was

noisy and difficult to ascertain what was on his plate at mealtimes. LCDR Kaminski

believed there were several scenarios that could address Plaintiff’s concerns and

documented those options for consideration by custody and food service. LCDR Kaminski

stated that her role is to address the specific concerns of the disabled individual, but when

it comes to environmental adaptions and modifications, she collaborates with the other

stakeholders involved (e.g., custody and food service) in order to find the best solution.

       At the time of trial, LCDR Kaminski was not aware whether or not Plaintiff’s talking

watch was working properly. He had not reported to her that it was not working, so she

assumed it was functional.

       In PE 2479, dated in June 2020, LCDR Kaminski sent a message in response to




                                             106
5:16-cv-03913-BHH            Date Filed 01/31/23         Entry Number 332           Page 107 of 166




a request from Plaintiff. Plaintiff had still not received an alternative lock 21 and reported

to LCDR Kaminski that some of his personal belongings had been stolen. LCDR Kaminski

testified that she approved Plaintiff’s lock request, but the request was denied by the lock

shop. She further testified that special locks had been issued to visually impaired inmates

in the past and that Plaintiff never received a special lock.

        In PE 2536, a BOP medical record dated May 5, 2021, LCDR Kaminski

summarizes Plaintiff’s treatment and conditions and recommends, again, that Plaintiff

consult with a low-vision specialist.

        In PE 2587, a May 20, 2022 email exchange between Plaintiff and LCDR Kaminski,

Plaintiff reports that he does not have a companion to assist him with his ambulation and

that no one is assigned to assist him with his medication administration. LCDR Kaminski

testified that she has a board certification in mental health. Her training and experience

in mental health issues helps her understand the psychological aspects of dealing with a

disability in a prison environment. She agreed that it is generally true that a person who

acquires a disability later in life has a harder time adjusting to the lack of independence

the disability brings but stated there is still a healthy range of how well such a person

handles the adjustment. She did not agree that fifty percent of people with an acquired

disability are hard to work with and never fully accept their occupational therapy training.

When confronted with her prior deposition testimony and asked if she wanted to change

that answer in court, she explained that she would not necessarily extrapolate her

experience as a clinician in the BOP as being common to occupational therapists

generally. She testified that working for the BOP and with the population she does



21 The evidence demonstrated that traditional combination locks are standard issue for inmates.


                                                  107
5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332         Page 108 of 166




introduces an additional set of challenges to clients who are seeking to come to terms

with their disability. She further testified that there is a spectrum of how readily the inmates

she works with are able to adjust to their limitations and move forward with their lives.

She agreed that Plaintiff is one of those people that is stuck on his loss of independence

and therefore struggles to accept training.

       As to the permissibility of an alternate lock, LCDR Kaminski testified that each

Captain of a BOP facility has discretion regarding what he or she will allow within the

facility. As to her renewed recommendation for a consultation with a low-vision specialist

(PE 2536), LCDR Kaminski stated she knew that Plaintiff had not adhered to medical

recommendations in the past, and had missed some surgical procedures as a result, but

she felt that the risks associated with failing to comply with presurgical orders were not

the same as Plaintiff missing the opportunity to have a low-vision assessment, and “if he

. . . wasn’t willing to participate in the evaluation when he was there, that’s on him.”

       3. Cheryl Daniel, LPN

       Cheryl Daniel, LPN, currently serves as the AHSA at FMC Butner. Prior to that

assignment, she was the AHSA at FCI Butner Medium I while Plaintiff was housed there.

Prior to becoming an AHSA, Ms. Daniel was a health systems specialist. In that role she

worked with the quality management department on accreditation activities and reviews.

Part of her duties as an AHSA is to review medical records and make sure the needs of

the inmate population are met as far as scheduling and coordination. She is responsible

for ensuring that the medical care is carried out and rendered as the clinicians have

requested.

       AHSA Daniel is familiar with the inmate companion program (“ICP”) at FCC Butner.



                                              108
5:16-cv-03913-BHH          Date Filed 01/31/23    Entry Number 332         Page 109 of 166




The ICP is typically at the medical referral center and the staff follows the technical

reference manual in establishing that program, which is overseen by the nursing

department. At the other institutions on the complex, outside of the medical center, the

ICP can be implemented if needed, depending on the needs of the population at each

constituent institution.

       DE 1 (813–23), entitled “Technical Guidance for the Medical Inmate Companion

Program,” is guidance specific to creating and establishing a program for the needs of

inmates within a BOP medical center. When inmates are at the FMC, they are essentially

in a hospital. At the FMC, the inmate companions come from the cadre unit, which is the

working unit in the medical center. If an inmate needing a companion is at an FCI, the

guidance advises that the program may be altered to meet the level of need and the

circumstances present at the FCI. Even at the FMC, an inmate companion would never

be charged with administering medication. Inmate companions may never be substituted

for nursing assistants or nurses. For example, if an inmate needed assistance with

bathing, an inmate companion could assist in setting up the supplies and with

coordination, but the medical staff would deliver the services at issue.

       In DE 49 (6411–12), a BOP medical record dated October 25, 2018, Nurse Michael

Neal notes that Plaintiff was scheduled for cataract surgery on October 29 at an outside

facility. AHSA Daniel testified that Nurse Neal coordinated outside trips, consultations,

and preoperative requirements for patients at FCC Butner. She further testified that a lot

of work goes into executing an outside medical trip, including the initial consultation, the

follow-up consultation, review of the documents to determine what the specialist has

provided, and utilization review committee for approval. Once the procedure is approved,



                                            109
5:16-cv-03913-BHH        Date Filed 01/31/23       Entry Number 332       Page 110 of 166




the medical staff works with the outside provider to get the appointment scheduled and,

if it is a surgical intervention, they must go through the preoperative steps to make sure

the patient is safe and clear for surgery—for example, if anesthesia is involved the inmate

may need to forego eating for a period of time prior to the procedure. (See DE 49 (6411)

(“NPO after midnight, prior to the procedure”).)

       In DE 49 (6410), a BOP medical record dated October 25, 2018, Nurse Practitioner

L. Ruffin notes that Plaintiff returned from his NCEENT appointment, wherein he was

evaluated for a cataract in his left eye and primary open-angle glaucoma in both eyes.

Dr. Firozvi recommended cataract surgery on Plaintiff’s left eye and artificial tears, one

drop six times daily in both eyes. Nurse Practitioner Ruffin indicates she could not

prescribe the artificial tears because of a national shortage at that time. In DE 49 (6409),

a BOP medical record dated October 26, 2018, Nurse Practitioner Ruffin documents her

attempt to complete Plaintiff’s preoperative history and physical examination. Plaintiff was

not compliant and did not engage in completing the activity—for example, he refused to

give direct answers to questions about possible allergies to things such as Latex. AHSA

Daniel testified that without completing the preoperative phase, they could not proceed

with the surgical phase. In a situation like this, AHSA Daniel would be notified because

the trip would need to be cancelled in a timely fashion to prevent any further cost and to

permit other appointments in the community to be scheduled if need be.

       In DE 49 (6408), a BOP medical record dated October 26, 2018, Health

Information Technician Kymberley notes that Plaintiff’s outside trip scheduled for October

29 and 30 was cancelled because Plaintiff refused to cooperate with the preoperative

history and physical screening. AHSA Daniel testified that when an inmate is sent out to



                                            110
5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332       Page 111 of 166




a community provider the institution has an obligation to provide written documentation

that the inmate has complied with the preoperative procedures. She further testified that

it is a collaborative effort including the history and physical being completed by a nurse

practitioner/physician assistant/doctor, the nurses completing an EKG where indicated,

the laboratory staff collecting the lab results, etc.

       In PE 2439, an October 22, 2019 medical note written by a contract staff

ophthalmologist at FCC Butner, Dr. Milton James notes that, although surgery was being

considered for cataract removal and stent placement, Dr. James and the attending

physician agreed surgery was not in Plaintiff’s best interest due to his noncompliance with

his medications. Because Plaintiff was noncompliant, he may have a poor prognosis from

surgical intervention. AHSA Daniel stated that the proposed surgery was never scheduled

because of Plaintiff’s noncompliance with his medications.

       AHSA Daniel testified that when she makes decisions regarding adaptive

equipment, the inmate’s compliance with medical care is considered. Compliance is taken

into consideration on a cost analysis basis, a safety basis, and as part of the total analysis

of all factors.

       When asked to affirm, in the case of an inmate who has received a

recommendation that assistance is required with the administration of the inmate’s

medication, that it would be the responsibility of the medical staff to determine how that

assistance is provided, AHSA Daniel replied, “So, our outside consultants are merely that,

they’re consultants. It’s incumbent upon the attending physicians to review the record and

make any determinations whether they agree or disagree with the recommendations from

the contract providers.”



                                              111
5:16-cv-03913-BHH          Date Filed 01/31/23       Entry Number 332          Page 112 of 166




       4. Plaintiff’s Testimony Regarding FCC Butner

       Plaintiff confirmed that in the gap between when he left FCI Edgefield and arrived

at FCC Butner, he first went to USP Atlanta, FTC Oklahoma City, FCI Canaan, and FCI

Loretto, then back to FCI Canaan, FTC Oklahoma City, and FCI Atlanta. He stated his

medical care during these transitions was consistently poor, he was not getting his

eyedrops as they were prescribed, and he did not have access to an ophthalmologist.

       Plaintiff arrived at FCC Butner in May 2018. He is housed at FCI Butner Medium I

but his eye doctor, Dr. James, is at the FMC on the Butner complex. Plaintiff stated that

the last time he saw a glaucoma specialist was in October 2018. He further stated that

the blind-assistance cane he has at Butner is not the appropriate length. Plaintiff testified

that he has not received braille materials at Butner, but he has received a talking watch.

However, if you press the buttons on the watch, it tells you that it is not in working order,

and Plaintiff asserts he has not received, to date, a talking watch that works. Plaintiff

stated that he was put in for a consultation with a low-vision specialist at Butner, but he

has not seen one.

       Plaintiff testified that he is on pill line for his eyedrops at Butner. He further testified

that he has had the same difficulties getting to pill line as he had at past facilities, which

has resulted in some no-shows in the MAR, but he has never gone to pill line and told the

staff there that he does not want the medicine. That would be too much work because it

is a five-minute walk one way. Plaintiff asserted that there have been times when he went

to pill line to receive his medication and “staff just refused to give it to me.” Plaintiff stated

that he has received assistance putting the drops in his eyes at Butner, and that the

assistance “has been offered from day one.” But he asserted, “sometimes I go to receive



                                               112
5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332         Page 113 of 166




it and some certain staff members just do not do it.” The Court found this assertion to be

highly incredible.

       Plaintiff testified that he does not have a safe or a lock for his personal property at

Butner. In his view, it is important for him to have a visually impaired lock because, “I’m

in prison. It’s full of criminals. People do steal. It’s to keep your possessions safe, secure.

Without the security, somebody will go in your locker and take your items.” When asked

what happened recently regarding items in his locker, there was a lengthy pause in

Plaintiff’s testimony and he began crying. Once he recovered his composure, Plaintiff

stated that the corrections officers have a right to an check inmate’s cell at any time. On

a recent occasion an officer searched his cell and told him that the officer found a knife in

his locker. Plaintiff stated that both he and his cellmate were written a “one hundred series

shot,” which is very serious, and placed in the SHU. More concerning to Plaintiff is the

fact that, when one inmate puts a knife in another inmate’s cell, “it’s for one of two

reasons: one, they want the inmate to get in trouble; or, two, they telling the inmate that

they’re going to get them off the compound either through serious harm or death. That’s—

that’s the message that whatever inmate put in my locker had sent out.” The shot was

eventually expunged from Plaintiff’s record. So, in Plaintiff’s mind, he was put back on the

same yard as someone that wants him off the compound through serious injury or death,

and that is what he would have to prepare for when he returned to the facility after trial.

       Plaintiff testified that he still has vision left that he wants to save. He asserted that

he needs adequate medical care and assistance, including: cataract surgery, assistance

administering his eyedrops, and assistance walking on the compound. He stated, “I need

it. It’s . . . not even whether I want it or not, I can’t come out the stand without assistance.



                                             113
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 114 of 166




I cannot take one step without assistance. I can’t eat without assistance. Sometimes I

can’t even put my shoes on the right fee without assistance. And I don’t even know how

that happens. I can’t clean my cell. I don’t know when my shirt is dirty. I don’t know where

the shower is unless somebody shows me. I don’t know where the toilet is until the

Marshal had to show me where the toilet at in this little cell right out here. These things,

it’s not a matter if I want, it’s not even a question of if they want to give them to me. It’s

needed, period.”

       5. Consolidated Findings Regarding FCC Butner

       The preponderance of the evidence demonstrated that the medical staff at FCC

Butner sought to provide Plaintiff with extensive treatment, care, and accommodations,

but were not infrequently hamstrung by his lack of compliance, cooperation, or interest.

Plaintiff was scheduled for cataract surgery on his left eye, but the surgery had to be

cancelled because Plaintiff was unwilling to cooperate by providing simple answers during

the preoperative history and physical examination. Though reconsidered later, the

cataract surgery was never rescheduled because Plaintiff was noncompliant on his

medications and the risk of an adverse outcome from surgical intervention was too high.

The occupational therapist, LCDR Kaminski, met with Plaintiff several times, but had

significant difficulty getting Plaintiff to contemplate, propose, or engage with reasonable

goals. LCDR Kaminski arranged for Plaintiff to be provided with a lighted magnifier and a

talking watch, and trained Plaintiff to use these things. She further recommended that

Plaintiff be provided with an alternative lock, but the recommendation was denied by the

security staff, whose judgment takes precedence in matters pertaining to locks. Though

LCDR Kaminski provided Plaintiff with a new blind-assistance cane and offered to arrange



                                            114
5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 115 of 166




additional training on four or five separate occasions, Plaintiff does not regularly use the

cane and rejected the training. When the optometrist, Dr. Bailey, offered Plaintiff the auto-

drop assistance device to aid with administration of his eyedrops, Plaintiff became

belligerent and insisted that he was being insulted.

   F. Miscellaneous Evidence

       1. Deborah Washington, PhD

       Deborah Washington is originally from Hampton, Virginia. She currently lives in

Atlanta. She has an undergraduate degree from Howard University, where she joined the

ROTC, and a master’s degree from George Washington University. She later got a

doctorate degree in theology from the True Bible College and Seminary in Jacksonville,

Georgia. Ms. Washington spent ten years in the U.S. Air Force and achieved the rank of

Captain. She now runs two small businesses.

       Ms. Washington is Plaintiff’s older sister, being number four of eight, whereas

Plaintiff is number five of eight. She testified that their mother had the children close

together, was a stay-at-home mom, nursed them, took care of them, and was very

involved in the community. Ms. Washington described her relationship with Plaintiff as

“pretty close.” They speak about two or three times a month. She described Plaintiff, when

he was growing up, as energetic, funny, and a very deep-thinking person.

       In addition to talking to Plaintiff on the phone, Ms. Washington has visited him in

prison. The last time was prior to COVID, approximately October or November 2019. Prior

to COVID she would visit him at least twice a year. At the conclusion of those visits, Ms.

Washington has seen the guards put Plaintiff’s ID card on the desk rather than hand it

back to him, so Plaintiff would have to pat around on the desk looking for the ID. She



                                            115
5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 116 of 166




testified, “One time I tried to guide his hand but they wouldn’t let me do that. And they

usually joke even to me, saying he’s not blind, he’s not blind, is he. You know, and just

making fun of it.” Ms. Washington stated that it was heartbreaking and questioned, if they

were willing to do that in front of her, what they were willing to do behind closed doors.

        As to Plaintiff’s current health condition, Ms. Washington understands that he is

blind in both eyes and that there are levels of blindness. She said there was light coming

into his eyes and he does not want to get to the point where it is pitch black.

        Prior to incarceration, Plaintiff was a plumber and was very good at his job. Ms.

Washington stated that the family still has a family-owned house in Hampton, Virginia,

which would be an ideal place for Plaintiff to reside upon his release because of the

support network that is there. Another option would be for Plaintiff to be in Atlanta,

Georgia, or with his oldest brother in Jacksonville, Florida. Ms. Washington stated that

she hopes Plaintiff, because he cannot do plumbing anymore, will qualify for disability

income, government housing, and other assistance such as food stamps.

        When asked whether Plaintiff was one of the stubborn ones in the family, Ms.

Washington responded that he was not. As to the details of his healthcare, Ms.

Washington knows that Plaintiff is supposed to be taking eyedrops at certain times, but

that is all.

        2. Karl Leukefeld

        Mr. Karl Leukefeld currently serves as the Administrator for the Women and

Special Populations Branch of the BOP Central Office. Prior to that position, he was the

Disabilities Program Manager for the agency. In that position, it was his responsibility to

make sure that the policies and programs of the BOP for disabilities were followed at a



                                            116
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 117 of 166




regional and, if necessary, a local level. For example, if an institution reached out for

assistance or advice, he would provide that regarding accommodations.

       Mr. Leukefeld explained that when an accommodation is needed, if it is a small,

the individual staff member who identifies the accommodation can provide it. If a larger

accommodation is at issue, it requires a multidisciplinary approach. Usually, the inmate

requests the accommodation through an Inmate Request to Staff form (“RTS”). That RTS

is then referred to the institution disabilities committee or local disabilities committee,

which is led by the associate warden of programs. The members of that committee would

normally consist of a representative from health services, psychology services, education,

unit management, correctional services, recreation, and anyone else who might be a

stakeholder to reviewing the accommodation. Mr. Leukefeld testified that accommodating

a visual impairment can be particularly complex, so the committee would meet and

discuss how it could be achieved.

       There are approximately 158,000 inmates in the BOP nationwide. Of that number,

approximately 51,000 have a visual impairment, which ranges from eyeglasses to

glaucoma, cataracts, and even complete blindness. At the time of trial, there were thirty-

four completely blind inmates in BOP custody, so it is a very small part of the population.

The BOP is required to accommodate a full range of disabilities, including mobility issues,

hearing impairments, cognitive disabilities, and even some individuals who are

quadriplegic. When Mr. Leukefeld was the Disabilities Program Manager, it was part of

his job to ensure that the BOP facilities were in compliance with the Rehabilitation Act. In

that role, his office put out guidance to help BOP institutions comply. The “Managing

Inmates” Guide (PE 2018) was part of that guidance and was provided to staff to help



                                            117
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 118 of 166




interpret BOP policy and apply it to day-to-day operations of the institutions where

disabled inmates are housed.

       Mr. Leukefeld testified that the BOP uses a holistic approach, understanding that

a disability is going to impact a majority of the aspects of an inmate’s life. The things that

need to be accessible for inmates with disabilities include: jobs, education, phone calls,

commissary, fingerprinting, drug treatment, religious services, confinement level,

visitation programs, anger management, appropriate classification, housing and cell

assignment, medical and mental health services, sexual offender treatment programs,

work release and early release programs, initial medical and mental health screening,

access to toilets/showers/food, and recreation. One of the examples of reasonable

accommodations given in the guidance is mobility escorts, which Mr. Leukefeld explained

can be something like a wheelchair, cane, or walker, as well as an inmate companion.

       Mr. Leukefeld stated that if an inmate is interested in learning braille, they send a

RTS, which goes to the disabilities committee to consider whether there is a local contract

they could secure to come in and provide the training. Braille materials can be ordered

through special purchase, through the commissary, or the institution can provide them as

well. Self-taught braille is done through audio learning.

       As to the blind-assistance cane, Mr. Leukefeld stated that an institution would

provide training to use the cane if an individual needed it or requested it. If there happens

to be a subject matter expert on the can at the institution, that person could conduct the

training. But the assumption is that the BOP would contract with a subject matter expert

to come in and provide the training.

       As to dark glasses, Mr. Leukefeld testified that the BOP can provide them or they



                                            118
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 119 of 166




can be obtained through special purchase order from the commissary. He was aware that

there is a certain tint or level of darkness that is permissible for BOP provided glasses,

but he was unsure of the specifics.

       As to a talking watch, Mr. Leukefeld stated that is something the BOP has provided

in the past, but it would be a local decision as to whether that was made as an

accommodation. He affirmed that much of the discretion about whether to provide a

particular accommodation in a particular case is left to the local level.

       As to a lock, Mr. Leukefeld testified that it could be permissible within the BOP as

long as the accommodations committee or primary officer considered it and approved it.

He explained that if an inmate is dissatisfied with the response from the local facility, the

inmate can us the administrative remedy process—beginning at the local institution, then

graduating to the region and the central office—to challenge or review the decision. If the

inmate is visually impaired, the staff will assist them in filing administrative remedies.

       When asked whether assigning medical staff to assist a visually impaired inmate

with using eyedrops would be a reasonable accommodation, Mr. Leukefeld stated that it

would be a local decision. He further stated, “But there . . . would be concerns as you

mentioned with the community standard of care. Again, we want folks to work at the

highest level of their capabilities and their abilities. So the community standard of care in

my understanding would not be that an individual would go to, say, a pharmacist or a

doctor to have eyedrops put in in several times a day or even once a day, but that they

would self-administer.” Mr. Leukefeld testified that the Managing Inmates guidance

complies with the Rehabilitation Act.

       Mr. Leukefeld was the first person to serve in the position of Disabilities Program



                                             119
5:16-cv-03913-BHH          Date Filed 01/31/23     Entry Number 332        Page 120 of 166




Manager, starting in July 2017. He affirmed that the leadership of local institutions are

routinely responsible for making accommodation decisions for individual inmates. It is up

to those leaders to ask for assistance regarding accommodation decisions if they need it.

Mr. Leukefeld is only familiar with Plaintiff through his participation in this case. He does

not recall being contacted about Plaintiff prior to that. He confirmed that the Managing

Inmates guidance being discussed at trial (PE 2018) is a guide and not the BOP policy

itself. He further confirmed that there is no specific policy for blind inmates within the BOP

disabilities department.

       3. Catina Friday

       Ms. Catina Friday is employed by the BOP in the office of medical designations.

She is the chief of medical designations and transportation, so she supervises the

department of medical designations. Ms. Friday has held her position since July 2020,

when she replaced Stephanie Williams. Her office manages the initial entry of inmates

with medical issues into the BOP system.

       If an incoming inmate is flagged for having a medical condition, the matter will be

sent to the medical designations office to review and to determine whether the inmate

needs to be designated to a Level 3 or Level 4 facility. The medical designations office

does not initially have any role regarding the placement of Level 1 and Level 2 inmates.

If the office designates an inmate to a medical facility initially, or redesignates an inmate

to a care level facility, once the medical condition justifying that designation has been

resolved, the inmate is now Level 1 or 2 and Ms. Friday’s office sends the inmate back to

their parent facility.

       Ms. Friday testified that care Level 3 inmates typically have chronic conditions that



                                            120
5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 121 of 166




are more complex to manage and require more medical resources. Care Level 4 typically

denotes inmates that require 24-hour medical care, or some kind of intensive care like

dialysis, cancer, or an organ transplant. The question of how long an inmate that has

been designated to a medical center or care level facility stays there is decided on a case-

by-case basis. There are definitely instances when the inmate reaches his treatment goal

and can be reassigned back to his parent facility.

       DE 51 is the BOP program statement for “Medical Designations and Referral

Services for Federal Prisoners.” The medical designations program is designed to

manage medical inmates. If an inmate is a Level 1 or Level 2 coming into the BOP and

goes to a line confinement facility, then becomes ill in some way that requires extensive

care, the BOP prefers that he be sent to a medical referral center rather than a community

hospital, if possible.

       The factors considered by the medical designations staff in designating a particular

person depend on the reason for the designation request. They look at the inmate’s

medical records to ask whether those records support the request. They also look at

custodial records to see how the inmate is functioning on the compound and whether the

inmate can perform his ADLs. They also consider any further documentation that might

support the request, such as documentation pertaining to comorbidities. The process of

considering whether a redesignation is appropriate is essentially the same as the process

of deciding the initial designation. However, when it comes to initial designation, the staff

usually only has the inmate’s presentence investigation report along with any medical

documentation the U.S. Marshals might have obtained. Redesignations, on the other

hand, deal with inmates already in BOP custody, so the medical designations staff has



                                            121
5:16-cv-03913-BHH           Date Filed 01/31/23    Entry Number 332        Page 122 of 166




the inmates’ electronic medical record and custodial record to consider.

       When there is a request for redesignation, some things are black and white under

the policy, and others are gray. There is also an algorithm. Ms. Friday and her staff always

have the discretion to approve a requested designation. However, if they find that

something is not adding up in the record, or there are custodial issues at play, or they

need more information, then they forward the matter to the Chief of Health Programs (and

possibly the Regional Medical Director as well) for review. The Chief of Health Programs

can either give the medical designations staff permission to deny the designation request,

or can disagree with the staff’s proposed course and direct the requested redesignation.

       PE 2001 is the algorithm for considering inmate designation questions. It is

designed to be a helpful tool, not to give a definite answer in each case. It is an “if this,

then that” type flow chart. Ms. Friday reiterated that the medical designations office staff

have discretion to approve a redesignation request, but if they do not think that it rises to

the level of requiring a Level 3 or 4 facility, then they forward the request to the Chief of

Health Programs, who is the one that can give them permission to deny the request. If

the medical designations staff needs more information, they sometimes reach out to the

facility in question to gain clarity.

       If an institution is seeking to redesignate an inmate to a higher care level, there are

certain time frames within which the decision must be rendered, based upon the level of

urgency or emergency. Blindness in and of itself is not an indicator that an inmate needs

to be at a Level 3 or 4 facility. The number of beds available at a higher care level facility

is not a consideration when redesignating an inmate. In cases where there is limited

bedspace, the inmate would simply be redesignated and placed on a priority list to be



                                            122
5:16-cv-03913-BHH           Date Filed 01/31/23       Entry Number 332    Page 123 of 166




moved into the relevant facility when a bed becomes available. The medical designations

office never seeks to remove a person from a particular care level on its own. Rather, the

inmate’s facility submits a request for redesignation, whether higher or lower. When an

inmate’s situation changes implicating a designation change, that information is always

submitted by the local facility, rather than being sought out by the medical designations

office.

          Ms. Friday acknowledged that blindness is not explicitly represented in any of the

tables on the algorithm (PE 2001), but stated that it is in the verbiage. Counsel sought to

lead her through a hypothetical application of the algorithm to show that, under the

circumstances present in Plaintiff’s case, the algorithm would produce an elevated care

level designation. However, the effort was unpersuasive at best, counterproductive at

worst.

          Ms. Friday testified that she saw a redesignation request specifically involving

Plaintiff in 2018. She believes the request came from FCI Loretto, which is in

Pennsylvania. Ms. Friday recommended denial because blindness does not necessarily

make an inmate a Level 3 or 4, and because Plaintiff was refusing treatment at the time.

Ms. Friday forwarded her recommendation to the Chief of Health Programs, Dr. Jeffrey

Allen, who disagreed with her assessment and indicated that Plaintiff should be moved

to a care Level 2, 3, or 4 facility for management, whichever could best meet Plaintiff’s

needs. Ms. Friday then designated Plaintiff to FCI Butner Low, which is a Level 3 facility.

Plaintiff was at a Level 2 facility prior to that transfer.

          Ms. Friday confirmed that Dr. Allen overruled her discretionary decision in

Plaintiff’s case. She also confirmed that Dr. Allen’s decision was within his discretion.



                                               123
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 124 of 166




       One of the considerations the medical designations staff use in making their

discretionary decision is safety/vulnerability. The guidance states that an inmate who is

blind but who copes with the general population of the institution with the assistance of

an inmate companion would not score as a care Level 3 or 4. Ms. Friday affirmed that the

intuitive extension of that statement would be that an inmate who is blind and does not

cope with the general population of the institution could score as a care Level 3 or 4.

   G. Expert Testimony

       1. Amy Kotecha, MD

       Dr. Amy Kotecha’s curriculum vitae (PE 2594) was admitted and she was qualified

as an expert in ophthalmology and glaucoma without objection. Dr. Kotecha testified that

open angle glaucoma is the most common type, and it is usually caused by elevated eye

pressure. The initial and most common treatment is eyedrops to lower the eye pressure.

In general, eye pressure levels higher than 20mm of mercury are considered to be

dangerous to the health of the optic nerve. When Dr. Kotecha identifies a patient as

having glaucoma, in general, her first treatment aims to reduce the patient’s eye

pressures at least fifteen percent from their baseline.

       In the early stages of glaucoma there are no symptoms, and most cases are not

painful. There is simply a gradual vision loss that starts in the periphery and expands to

the center. The most common cause of glaucoma is heredity. Another cause is idiopathic,

meaning the cause is not identifiable. Also, some people get open angle glaucoma in the

natural course of aging. Glaucoma does not usually get better over time. Treatment

cannot reverse it, but can, in many cases, slow down its progression. Such treatment

includes a range of eyedrops that can be prescribed to either reduce the amount of fluid



                                            124
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 125 of 166




that is being produced internally in the eye to lower the pressure or increase the drainage

internally in the eye to lower the pressure. If prescribed, the patient needs to take the

medications. If the patient does not take the medications, they are at risk of negative

consequences.

       As to surgical options for open angle glaucoma, Dr. Kotecha explained that one of

the most common procedures is called a Selective Laser Trabeculoplasty, which targets

the drainage area of the eye to increase the fluid outflow and lower the eye pressure.

Another common surgical treatment is a Trabeculectomy, in which the surgeon makes a

secondary drainage area for fluid in the eye, almost like a little bubble or reservoir on top

of the eye where the fluid can accumulate, which lowers pressure internally in the eye.

Further surgical options include valves that are inserted and allow for the fluid to drain. In

more severe glaucoma cases, diode laser surgery actually lasers the part of the eye that

produces the fluid, which helps reduce pressure because it reduces fluid production. The

ultimate goal of any of these procedures is to preserve the patient’s vision. If a glaucoma

patient loses their vision, they cannot get it back. If a patient’s medication is not

administered the way it is supposed to be, and if a patient does not get surgery when it is

medically indicated, it increases the patient’s chance of losing vision.

       Dr. Kotecha agreed that open angle glaucoma is a “serious medical condition.” It

risks permanent loss of vision and blindness if not treated appropriately. She explained a

series of measurements categorizing visual acuity. Legal blindness is defined as best

corrected visual acuity with both eyes together of 20/200 or less. 20/200 visual acuity

generally represents a patient being able to see the second line on most traditional

ophthalmology charts. The big E on such eye charts correlates with 20/400 visual acuity,



                                            125
5:16-cv-03913-BHH          Date Filed 01/31/23       Entry Number 332         Page 126 of 166




which is less than 20/200 and the next level below the definition of legal blindness. After

that, a patient is moved closer to the chart and the measurement is 20/800. Following

this, visual acuity is not measured on the eye chart but rather with different methods. For

example, the eye doctor or technician will stand one foot away from the patient and ask

them to count the number of fingers being held up, then progressively move back foot by

foot all the way up to six feet. This is defined as “count-finger acuity.” If the patient cannot

count fingers, then the evaluator moves to asking whether the patient can see hand

motions, which is defined as “hand-motion vision.” If the patient cannot see the evaluator’s

hand moving, then the next step would be to determine whether the patient can see the

lights turn on and off, or to shine a flashlight in the patient’s eye, which is defined as “light

perception.” There is one step between hand-motion vision and light perception, which is

called “light perception by projection,” which means that the patient is able to see light

coming from a particular direction. The final stage of visual acuity is “no light perception”

or total blindness.

       Dr. Kotecha reviewed Plaintiff’s medical records as part of her preparation for this

case. She testified that he was diagnosed with glaucoma in 2005. She noted, by way of

reference to PE 2069 (not admitted), a May 6, 2005 medical record from Premiere Eye

Associates, Plaintiff’s pressure in his right eye was 41mm of mercury and in his left eye

was 20mm of mercury. His visual acuity was measured at 20/200 in his right eye and

20/20 in his left eye. Dr. Kotecha further noted, by way of reference to PE 2070 (not

admitted), a May 18, 2005 medical record from Premiere Eye Associates, that Plaintiff

was complaining of eye pain and was being treated with medications. Dr. Kotecha would

classify Plaintiff’s glaucoma as severe in 2005.



                                              126
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 127 of 166




       In the following years, Plaintiff developed symptoms in his left eye as well. His main

symptom is vision loss, both visual acuity and visual field, but he also has episodes of

eye pain. Dr. Kotecha recalled that Plaintiff was first transferred to FCI Williamsburg in

2013. Rather than walk through each of Plaintiff’s eye doctor appointments from 2005 to

2013, Dr. Kotecha prepared a summary of Plaintiff’s intraocular pressures during those

years (PE 2563). Any time Plaintiff’s eye pressures were repeatedly high in the same eye

it means he was at risk for vision loss. Dr. Kotecha testified that Plaintiff’s pressures from

2005 to 2012 were problematic because they were “really way too high.” The summary

shows many pressures in the 39mm to 41mm range, which is very high. The other thing

that concerns Dr. Kotecha is the fluctuations in the pressures, a lot of up and down, which

is not healthy for the eye.

       In PE 2157, a February 16, 2012 operative report, it is shown that Plaintiff had a

right-eye valve implanted on that date. This would account for the improvement in

pressures in 2012 that is represented in the summary. Plaintiff also had surgery on his

left eye, which temporarily got his pressures under control. On many occasions, Plaintiff’s

eye pressure was out of control despite the use of multiple medications and surgery.

       At the time Plaintiff entered FCI Williamsburg in 2013 he had a serious medical

condition in each eye and would likely require additional surgeries in the future. His visual

acuity was also significantly reduced, but he still had vision worth fighting to save through

medical treatment. If treatment stopped, his pressures would have most likely been very

high, his vision would be reduced, and it is likely he would have significant ocular pain.

       While Plaintiff was at FCI Williamsburg, from August 25, 2013 to August 28, 2015,

Dr. Loranth was primarily responsible for Plaintiff’s care. Plaintiff was also under the care



                                            127
5:16-cv-03913-BHH              Date Filed 01/31/23          Entry Number 332             Page 128 of 166




of Dr. Nutaitis at the Storm Clinic.

        In PE 2256, a January 2, 2014 progress note from Dr. Huey, it is observed that

Plaintiff previously had surgeries in both eyes, with valves installed in 2011 and 2012, he

had clouding of the lens and his pressure was not at the target range they would like to

see in his left eye. Dr. Huey recommended that Plaintiff start eyedrops twice a day in his

left eye and an oral medication at 50mg three times a day. Dr. Nutaitis cosigned the note,

so it appears that he agreed with this course of treatment. Prison staff, including Dr.

Loranth, were made aware that he required these eyedrops.

        Dr. Kotecha was asked to comment on Dr. Loranth’s August 1, 2014 medical note

in which Dr. Loranth concluded that Plaintiff was misusing his eyedrops and suspected

that Plaintiff was purposefully manipulating his eye pressures by misusing the drops (PE

2275). Dr. Kotecha testified that, to her knowledge, she has never had a patient that

purposely made their eye pressures higher. In the middle of Dr. Loranth’s note he states,

“It is the same as his statement he is blind. He is not.” 22 Dr. Kotecha testified that this

statement is in disagreement with her understanding of Plaintiff’s visual acuity at this

point. She clarified that the definition of legal blindness and the definition of blind are

different, and that Plaintiff was “legally blind” not “blind,” meaning that he had very low

vision. Further down the note, Dr. Loranth stated that Plaintiff was to be put on pill line for



22 In the note, Dr. Loranth states: “This inmate has misu[sed] his eyedrops. T[he] [ph]armacy record shows

he needs refills way before the normal refil[l] time. Further there is suspicion that he manipulates the
medication to cause his eye pres[s]ures to fluctuate. [H]e then comes to medical and wants eye pressures
checked. This is just so strange but this is what he does. It is the same as his stateme[nt] he is blind. He is
not. [H]e recognizes people at a distance on t[he] compound. I saw him recognize t[he] Warden at a good
10-15 yards. This inmate will be on pill line for his eye drops. He is totally not responsible to handle this
issue himself. If he misses meds then that al[so] can be documented. My op[in]ion is he will late[r] try to
sue t[he] BOP (and me) about his eye situation. Frankly, th[is] type of b[e]havior is among the strangest I
have seen in my 18 year BOP physician career. My take on all of this and I am putting it in the record.” (PE
2275 (bates number 5181).)

                                                     128
5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332        Page 129 of 166




his eyedrops. Dr. Kotecha opined that for a patient with glaucoma and, at this point

cataracts, it would be helpful for prison staff to administer his eyedrops as prescribed on

a routine basis.

       In PE 2276, an August 1, 2014 medical note by Nurse Melany Goldstein, Nurse

Goldstein notes that Dr. Loranth requested Plaintiff come to pill line four times daily for

his eyedrops to be administered by the medical staff. In Dr. Kotecha’s opinion, that was

a reasonable solution for getting Plaintiff his medication. In PE 2286, an August 28, 2014

medical note by Dr. Nutaitis, Dr. Nutaitis indicated that Plaintiff’s intraocular pressure

(“IOP”) was at target in his right eye and not at target in his left eye. Dr. Kotecha explained

that Dr. Nutaitis changed Plaintiff’s treatment at that point because the IOP in the left eye

was not adequately controlled and seemed to be progressing, placing him at risk of further

vision loss. Therefore, Dr. Nutaitis recommended diode laser surgery and a more

aggressive strategy with Plaintiff’s medications. Dr. Loranth and the medical staff at FCI

Williamsburg were made aware of these recommendations. When asked whether Dr.

Loranth arranged for Plaintiff’s surgery in the coming weeks, Dr. Kotecha answered, “I’m

sorry. I’m not aware of that.” When asked whether Dr. Loranth arranged for the surgery

any time in 2014, Dr. Kotecha stated, “I’m not aware of that either.” The next time Plaintiff

saw a glaucoma specialist was in May 2015. Dr. Kotecha testified that, in her opinion, the

gap in care that followed the August 2014 surgery recommendation constituted a breach

in the standard of care owed to Plaintiff.

       When asked how, if at all, that gap impacted the progression of Plaintiff’s

glaucoma, Dr. Kotecha stated that it is difficult to measure, but more likely than not, it

contributed to progression and contributed to eye discomfort and pain. When asked



                                             129
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 130 of 166




whether the decreased visual acuity from hand-motion vision to light perception in

Plaintiff’s left eye, and increased pressure in that left eye, would be “due at least in part

to Dr. Loranth’s delay in getting Mr. Washington back to a glaucoma specialist,” Dr.

Kotecha answered, “Yes, they would.”

       In PE 2296, a March 16, 2015 medical note, Dr. Loranth states, “This inmate has

[]repeated history of lying to staff and abuse of medical care. He will be seen by

optometrist f[or] an IOP check next visit. [H]is complaints are taken with a grain of salt.”

This note was written during the gap in care from August 2014 to May 2015. Dr. Kotecha

testified that she reads the note to signify that Dr. Loranth had suspicion or doubt

regarding Plaintiff’s statements about the status of his vision and his eye. She further

testified that she did not see any optometry pressures in Plaintiff’s medical record

between when this note was written and when Plaintiff was next seen by the

ophthalmologist in May 2015. Dr. Kotecha has never written that a patient’s complaints

should be taken with a grain of salt. When asked whether the pain Plaintiff was

experiencing in both eyes at the time he went back to Dr. Nutaitis in May 2015, and the

risk of losing more vision, were “likely due to Dr. Loranth’s delay in getting Mr. Washington

back to Dr. Nutaitis,” Dr. Kotecha answered, “They were.”

       Dr. Kotecha was asked to provide her opinions about Dr. Tremblay’s June 10, 2015

letter (PE 2305). She opined that it was very difficult for Plaintiff to complete routine ADLs

at this point. She stated that it was very important for Plaintiff to receive his medications

as prescribed. Dr. Kotecha further opined that Plaintiff would need assistance to

ambulate, and assistance when administering his medications. She stated that she

reached these conclusions based on her experience with her own patients and from the



                                            130
5:16-cv-03913-BHH             Date Filed 01/31/23          Entry Number 332            Page 131 of 166




documentation in Plaintiff’s medical records of the challenges he was having. Dr. Kotecha

believes the things recommended in Dr. Tremblay’s letter to be medically necessary.

        Dr. Kotecha was asked to comment on Dr. Loranth’s June 15, 2015 note (PE

2306), in which Dr. Loranth disagreed with Dr. Tremblay in certain respects. Dr. Kotecha

does not think that Dr. Loranth, who was not an ophthalmologist, was qualified to disagree

with Dr. Tremblay. In the note, Dr. Loranth wrote that it is true that Plaintiff is “legally

blind,” but he is not “blind” and he can see many things. 23 In Dr. Kotecha’s view, this is

not consistent with an individual who can only perceive light perception in one eye and

hand motion in another. Dr. Kotecha opined that it was a breach in the standard of care

owed to Plaintiff to deprive him of an assistant to administer his eyedrops while he was

at FCI Williamsburg.

        In a March 4, 2016 medical note (PE 2021), Dr. Lepiane reviews Plaintiff’s medical

history up to that point. The note states that Plaintiff’s visual acuity was light perception

in his right eye and hand-motion vision in his left eye. It indicates that Plaintiff’s condition

was end-stage glaucoma, meaning his glaucoma was severe, and signifying severe

visual field loss, often involving the central visual field. The note shows that Plaintiff was

prescribed three eyedrop medications at the time, and states Dr. Lepiane’s impressions




23 In full, Dr. Loranth’s June 15, 2015 note reads: “The letter forwarded by Dr. Tremblay is noted. I do not

agree with his assessment of inmate Washington. It is true that inmate Washington is ‘legally blind’ with
vision of less than 20/200 OU it is apparent to us here at FCI WIL that inmate Washington is not ‘blind’. He
can see many things. The record is replete with staff observations of his ability to see. I myself have seen
him walk around trash cans on the floor in the exam room. He has been observed noticing the Warden from
over 20 yards away will out on the compound. This letter was written by the MD under the urging of the
inmate so that the inmate can further try to manipulate his own requests and demands. Please note that
inmate Washington has refused his laser surgery on his last trip out to MUSC. This refusal is just one of
many refusals of procedures, non-compliance with medications and verbal abuse of staff on the part of this
inmate. I appreciate the concerns of the consultant MD but he is not fully aware of the details of inmate
Washington’s behavior. We will continue to care for inmate Washington as our professional observations
and moral responsibilities dictate.” (PE 2306 (bates number 5371) (errors in original).)

                                                   131
5:16-cv-03913-BHH             Date Filed 01/31/23          Entry Number 332            Page 132 of 166




that Plaintiff had significant difficulty with ambulation, failed to learn to navigate the

compound on his own, and will need training with a white cane walking stick for the blind. 24

Dr. Lepiane states that FCI Estill did not have trained aids or medical inmate companions.

Based on these statements, Dr. Kotecha opined that Plaintiff needed an assistant at FCI

Estill and that FCI Estill could not provide the sort of assistance needed.

        Dr. Kotecha prepared a summary of Plaintiff’s IOP measurements during the

period when he was housed at FCI Estill. (PE 2563.) She testified that the majority of the

pressures in Plaintiff’s left eye were too high and uncontrolled, which “can be consistent”

with a patient not receiving their eyedrops as prescribed. She further testified that there

were also several uncontrolled pressures in Plaintiff’s right eye, which “can be consistent”

with a patient not receiving their eyedrops as prescribed. The summary reflects, in April

2017, a decrease in Plaintiff’s left eye IOP. This generally corresponds to the timing of

when Plaintiff received the diode laser surgery that was originally recommended in August

2014.

        Dr. Kotecha was questioned about Dr. Kammerdiener’s March 2017 letter following

the diode laser surgery (PE 2370), which indicates Plaintiff was prescribed five different

eyedrops after the surgery. Dr. Kotecha would describe that course of treatment as


24 Dr. Lepiane’s March 4, 2016 note is extensive; it states, in relevant part: “Inmate Washington has

signifanct difficult with ambulation and had been assigned a guide to help lead him around. Inmate
Washington would place his hand in the inmate guide’s shoulder and walk along with him. He had a guide
at his previous institution at FCI Williamburg and here at FCI Estill. He has failed to learn the compound
and navigate on his own. He has claimed a PREA [sexually abusive behavior] allegation At both FCI
Williamsburg and again here at FCI Estill. Both of the allegation were not substantiated. Inmate Washington
remains in the SHU at this time. We do not have trained aids or medical inmate companion here at FCI
Estill. Inmate Washington continue to have significant difficult with ambulation. He cannot navigate the
compound here at FCI Estill with assistance. He is now claiming he needs assistance with his medication
administration and also with his routine activities of daily living. we do not have the capacity or the means
to handle this type of inmate here at FCI Estill.” (PE 2021 (bates number 5642) (errors in original).) After
listing Plaintiff’s then-current medical problems, the note states: “Please note: Inmate Washington is very
manipulative and uses his blindness as an excuse to obtain whatever he feel he is entitled to.” (Id. (errors
in original).)

                                                    132
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332       Page 133 of 166




aggressive and necessary. She opined that such a course of treatment is difficult to

remember and to perform daily. Dr. Kotecha agreed with Dr. Kammerdiener’s

recommendation, in the letter, that Plaintiff should have an assistant to administer his

eyedrops. She further agreed with Dr. Kammerdiener’s recommendation that Plaintiff

would require assistance with ambulation.

       Dr. Kotecha testified that the recommendations in Dr. Tremblay’s 2015 letter and

Dr. Kammerdiener’s 2017 letter are in agreement with each other. In her review of the

medical records from MUSC, she did not notice any inconsistencies among the

recommendations made by Plaintiff’s various providers. Dr. Kotecha stated that, while

under the care of Dr. Lepiane at FCI Estill, Plaintiff had consistently high eye pressures.

He had some access to an assistant to administer his eyedrops, but it was not regular

and consistent. To the extent that Plaintiff did not have access to such assistance, Dr.

Kotecha opined that it was a breach of the standard of care owed to Plaintiff. She also

stated that her opinion that Plaintiff needed an assistant to administer his eyedrops

applies equally to his time at FCI Edgefield, and that she holds all the opinions she

expressed to a reasonable degree of medical certainty.

       On cross-examination, Dr. Kotecha conceded that in her expert report she only

listed two opinions about the BOP’s alleged breach of the standard of care to a reasonable

degree of medical certainty: first, that a five-month delay from August 24, 2014, when the

diode laser surgery was recommended, through January 25, 2015 was too long given

Plaintiff’s eye pain and severe aggressive glaucoma, and that this delay contributed to

Plaintiff’s eye pain; second, that following Dr. Tremblay’s June 10, 2015 letter, Plaintiff

should have been provided with an assistant to administer his eyedrops, and that his lack



                                            133
5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332        Page 134 of 166




medication compliance contributed, to some extent, to his vision loss.

       Dr. Tremblay’s letter was significant enough to Dr. Kotecha that she thought it

important to reference in one of the opinions in her expert report. She testified that it would

not affect her opinion, or change her mind about how much credence to give the letter, if

she learned that it was prepared at Plaintiff’s behest.

       When asked how one is able to quantify an amount of vision loss, Dr. Kotecha first

referenced the visual acuity tests she had explained earlier and then said that visual field

testing is the other way to measure. Visual field testing is generally done using a

Humphrey Visual Field Machine. It shows how much peripheral vision and central vision

the patient retains. Dr. Kotecha stated that it is a bit of a subjective test because it

depends on how well the patient performs it, but it is the best way, within medically

available means, to measure a patient’s vision.

       Upon questioning, Dr. Kotecha agreed that her opinion that Plaintiff needed help

with ambulation was not offered to a reasonable degree of medical certainty. Rather, her

testimony was that it is more likely than not that Plaintiff would benefit from ambulation

assistance. Dr. Kotecha further agreed that the only opinions she was asserting to a

reasonable degree of medical certainty were the two opinions itemized in her report.

       Dr. Kotecha agreed that it is very important for a patient to comply with the

treatment recommendations of his eye doctor. She acknowledged that Plaintiff’s medical

records are replete with examples of Plaintiff refusing treatment. She further

acknowledged that, in all likelihood, Plaintiff’s noncompliance with his treatment played a

role in any vision loss that occurred and any pain that Plaintiff suffered. Dr. Kotecha also

agreed that she cannot quantify how much Plaintiff’s lack of cooperation contributed to



                                             134
5:16-cv-03913-BHH           Date Filed 01/31/23     Entry Number 332        Page 135 of 166




his pain or vision loss. Thus, she could not fix an amount of blame to be assigned to

Plaintiff’s lack of involvement or lack of compliance for the damage to his eyes. It could

be more than fifty percent, Dr. Kotecha could not know that to a reasonable degree of

medical certainty.

       Dr. Kotecha reviewed Plaintiff’s medical records from the time before he was

incarcerated, and she confirmed that his eyes were in bad shape before he entered

federal prison. He was legally blind prior to 2013. Dr. Kotecha could not point to any

specific person at the BOP that breached the standard of care.

       On redirect examination, Dr. Kotecha confirmed that she is still of the opinion, to a

reasonable degree of medical certainty, that the gap in care after the August 28, 2014

surgery recommendation amounted to a breach of the standard of care, that it contributed

to the progression of Plaintiff’s glaucoma, and that it contributed to Plaintiff’s eye pain and

vision loss. She also confirmed that she is still of the opinion, to a reasonable degree of

medical certainty, that the lack of regular access to an assistant for eyedrop

administration constituted a breach of the standard of care and contributed to Plaintiff’s

eye pain and vision loss.

       Dr. Kotecha testified that when she represented that she is not certain who

breached the standard of care, she is not saying that no one breached the standard of

care, she is unclear how responsibility is assigned within the BOP. When asked, “[D]id

someone within the BOP breach the standard of care?”, Dr. Kotecha responded, “Yeah,

possibly.” When asked, “Did someone or some group within the BOP breach the standard

of care as to Mr. Washington?”, she responded, “Yes.”

       On recross-examination, Dr. Kotecha stated that she does not care for patients in



                                             135
5:16-cv-03913-BHH             Date Filed 01/31/23         Entry Number 332   Page 136 of 166




the prison setting. She does care for patients who visit her office from a detention facility.

She has never gone into a prison and cared for prisoners there. She is not familiar with

the administrative inner workings of a prison. So if there is a delay in a surgery being

scheduled, Dr. Kotecha would not know all the factors that come into play with that

process.

        2. Lane Ulrich, MD

        The parties stipulated that Dr. Lane Ulrich is an expert in the field of

ophthalmology. 25 Dr. Ulrich graduated from medical school in 1992, did training in

ophthalmology from 1996 to 2000, and joined the faculty practice at the Medical College

of Georgia, Augusta University at that time. He has been employed as an attending or

teaching physician since July 2000. Approximately half of Dr. Ulrich’s time is devoted to

a teaching practice at the Augusta State Medical Prison, a role that he began in 2007. He

is very familiar with caring for prisoners. When Dr. Ulrich was first contacted about serving

as an expert witness in this case he was initially reluctant, because he is familiar with the

delivery of eye care inside the Georgia Department of Corrections and had come across

a number of circumstances in which patients were harmed by not receiving the care he

said they needed. He felt it necessary to make clear that if it was his impression Plaintiff

had received poor care delivery, he would put that in the record, and he could not be

expected to change what he saw in order to meet the BOP’s goals in this case. After Dr.

Ulrich agreed to take the case and reviewed the medical records, his opinion changed

dramatically. But even when was still reluctant, Dr. Ulrich understood that the BOP

wanted to know if they had mishandled Plaintiff and wanted an unbiased review of the



25 Dr. Ulrich’s curriculum vitae was admitted as DE 74.


                                                   136
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332         Page 137 of 166




medical record.

       Dr. Ulrich was given approximately 6,000 pages of records to review for this case.

He perused all of them but spent more time with some than others because they are more

relevant. After that review he composed a lengthy expert report composed of written

narrative and appendices that support the opinion he took. Knowing that glaucoma is a

progressive disease and that this is a BOP case, Dr. Ulrich considered it relevant to know

what Plaintiff’s status was when he was first taken into custody. From there, he broke

down his analysis into the care that Plaintiff received at the various BOP prisons where

Plaintiff was housed.

       The records of Plaintiff’s pre-federal care start in 2005. It was evident that Plaintiff

had already experienced severe vision loss before being incarcerated in the BOP. Dr.

Ulrich testified that the doctor-patient relationship requires both a subjective component,

such as asking the patient “why are you here today?” and listening to the patient’s

explanation, as well as an objective component involving tests. Visual acuity and visual

field measurements have subjective components, whereas measuring IOP is objective.

Any eye doctor conducting an evaluation must put these data points together and decide

on an effective course of action for the patient. Dr. Ulrich stated that this is what he did

when arriving at his conclusions in this case, and this is what he routinely does in his

practice.

       Before Dr. Ulrich drew his conclusions, he considered it mission critical to review

large swathes of the medical records, because it is possible that some prisons treat

prisoners better than other prisons, and it is possible that some recommendations are

followed while others are not followed. In putting together a complete picture from the



                                             137
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 138 of 166




documents, Dr. Ulrich looked for how Plaintiff responded and whether he was following

the recommendations given at the clinical visits. It quickly became Dr. Ulrich’s sense that

Plaintiff was “prone to be collisional with the recommendations that were made.” Dr. Ulrich

testified that this was not just his subjective vantage point but based on what outside

physicians put in the medical record, using terms such as, “very difficult” and

“confrontational” to describe Plaintiff. Those specific terms were used by Dr. Mohay of the

University of Louisville, but he saw similar references throughout the record. So, Dr.

Ulrich’s 20,000 view is that Plaintiff has very serious glaucoma, that he presented into the

BOP with that condition, that he was offered much care, and that he permitted some of

that care, but has unfortunately continued to slide into a position where he has less and

less vision. Through the records, Dr. Ulrich witnessed the BOP doing many, many things

to accommodate Plaintiff at all stages of this decline, “many of which are not responded

to favorably by Mr. Washington.”

       Dr. Ulrich testified that glaucoma is a challenging disease because we do not really

know what causes it, we just know that it happens. He is currently serving as a co-principal

investigator on a National Institute for Health grant, working as a physician alongside

other researchers to try to figure out the underlying mechanism of what causes glaucoma.

Glaucoma is a condition where the optic nerve slowly dies and you slowly lose peripheral

vision. By the time the patient is symptomatic, they have often lost a very significant

amount of vision. The patient can still be 20/20, because the central vision is some of the

vision that is lost last. Dr. Ulrich used DE 31 through DE 35 for identification as

demonstratives to contrast a normal visual field with the effects of glaucoma as it begins

to erase a person’s vision. A person first develops “islands of vision loss,” but there can



                                            138
5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332       Page 139 of 166




be lots of areas where the person can still see. Dr. Ulrich described one example in the

demonstratives as representing a person whose top part of vision was lost, but whose

bottom part of vision was preserved. That individual should be able to read and ambulate,

but would not be able to see trees above them. Using DE 36 and DE 37 for identification,

Dr. Ulrich explained that Plaintiff’s visual field testing in 2005 showed severe vision loss

in his right eye, but still well-preserved vision in his left eye, and in 2007 showed that the

vision in Plaintiff’s right eye continued to be dramatically, if not fully lost. However, Dr.

Ulrich stated that even where visual field testing shows dramatic vision loss, there can

still be islands of vision that show up on different testing.

       Dr. Ulrich noted that Plaintiff entered BOP custody in 2009 at FCI Greenville, and

it was in Plaintiff’s favor that he continued to receive care from the same doctors he had

seen at the University of Louisville. Dr. Ulrich walked through the types and amount of

care that Plaintiff received, including several laser procedures, from 2009 until he arrived

at FCI Williamsburg in 2013. Because Dr. Ulrich is very familiar with providing eye care

in the prison setting, he understands the complications that can arise when scheduling

prisoners for appointments. Missed appointments can result from other inmates’ care

being of a higher priority, or sometimes the outside physician’s office cancelling. However,

Dr. Ulrich highlighted various incidents in the medical records where Plaintiff’s

uncooperative or confrontational conduct derailed his care or prevented appointments

from occurring. In one case in 2012, Plaintiff refused to go back to the University of

Louisville for a follow-up appointment after surgery on his right eye that had an

unexpected and undesirable outcome simply because he did not want the transport officer

that had been assigned to take him. Dr. Ulrich stated that Dr. Robinson, an optometrist at



                                             139
5:16-cv-03913-BHH          Date Filed 01/31/23     Entry Number 332        Page 140 of 166




FCI McCreary, was a bright spot in Plaintiff’s care. The records show that Dr. Robinson

was very engaged in Plaintiff’s care and took extra efforts to ensure that Plaintiff received

care even when Plaintiff’s behavior was creating difficulty. The records also show that,

while Plaintiff was still at FCI McCreary in 2013, Dr. Mohay, a glaucoma specialist at

University   of   Louisville,   made   the   decision,   despite   pressure   from   another

ophthalmologist and Dr. Robinson, to only treat Plaintiff medically (i.e., not surgically)

because of the risk of an adverse outcome from surgery. Dr. Mohay outlined her

recommendation to only treat Plaintiff medically in a letter, a copy of which Plaintiff sought

to improperly obtain from Dr. Robinson, who was a staunch advocate for Plaintiff. Dr.

Ulrich testified that there were many, many instances in the records of Plaintiff skipping

his eyedrops, so he had a history of not getting his medications.

       The records showed that shortly after Plaintiff was transferred to FCI Williamsburg,

an optometrist named Dr. Wierden reviewed Dr. Mohay’s conclusions about foregoing

surgery for Plaintiff, and Dr. Wierden generally seemed to agree that doing a surgery

might hasten the demise of Plaintiff’s residual vision. Dr. Ulrich stated that there were

efforts being made to manage Plaintiff’s visual problems at the very beginning of his time

at FCI Williamsburg. Dr. Ulrich reviewed the records pertaining to Dr. Loranth’s care of

Plaintiff, and there are some comments made by Dr. Loranth that Dr. Ulrich considers to

be unprofessional. However, Dr. Ulrich did not find that Dr. Loranth did anything wrong or

failed to do what he was supposed to do as a physician in caring for Plaintiff. Dr. Ulrich

concluded that the relationship between Plaintiff and Dr. Loranth soured because Dr.

Loranth was not willing to readily accommodate many requests that did not seem

necessary. Dr. Ulrich believes Dr. Loranth “took a sterner approach of what is needed,”



                                             140
5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332        Page 141 of 166




and would not provide what was not needed. Dr. Ulrich noted that, from his review of the

records, when Plaintiff cannot achieve what he wants, he begins to label parties as a

threat to his health, which he did to Dr. Loranth and many of the nurses. Dr. Ulrich further

noted, “I believe that Dr. Loranth was aware of some of the style and the traits of Mr.

Washington and was going to provide what he needed from an eye care standpoint and

a healthcare standpoint, but he wasn’t going to just be manipulated.”

       As to the July 2014 cataract surgery that Dr. Nutaitis performed on Plaintiff’s right

eye, Dr. Ulrich noted that it “went very difficult. So, just like Dr. Mohay said, we need to

stop fiddling around with his eye because we may cause problems, they had a very

complicated very difficult surgery, and it didn’t go well.” Regarding Plaintiff missing his

post-operative appointment the next day because of the coat, Dr. Ulrich stated that

Plaintiff’s arthritis issue should have come behind the fact that he was almost blind and

had just undergone a complicated and difficult eye surgery.

       Dr. Ulrich testified that the relationship between Plaintiff and Dr. Loranth, as

reflected in the records, had not gotten better by early 2015, indeed it never got better.

Nevertheless, Dr. Ulrich opined that in the time period between August 2014 and January

2015, there was nothing in the records that reflected the BOP was negligent in their

handling of or caring for Plaintiff.

       Dr. Ulrich did not prioritize consideration of the smaller prison terms because

Plaintiff spent most of his time in the major prison scenarios relevant to this case (i.e., FCI

Williamsburg, FCI Estill, FCI Edgefield, and FCC Butner). However, one instance at FCI

Atlanta, where Plaintiff was only housed for about twenty-four days, stood out to Dr.

Ulrich. Plaintiff presented to get his medications and the nurse offered to let him take his



                                             141
5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 142 of 166




own eyedrops because he did not want to have to come to pill line. Plaintiff agreed, but

then came back the same afternoon, escorted by a companion, and yelled at the nurse

for not wanting to do her job. Dr. Ulrich considered this to be disrespectful.

       Dr. Ulrich noted a pattern in the records of various BOP staff members observing

behavior by Plaintiff that did not make sense for someone who was as blind as Plaintiff

was saying that he was. When asked whether there was a difficult relationship between

Plaintiff and Nurse Ulmer, Dr. Ulrich stated, “There was a difficult relationship between

Mr. Washington and almost everybody throughout the record.”

       As to Dr. Tremblay’s June 10, 2015 letter, Dr. Ulrich concluded, from the records,

that Plaintiff would not sign the consent form for his scheduled surgery without leveraging

the doctor to provide him with something in return. Dr. Ulrich explained that when you are

in a hospital setting, it does not matter whether you are dealing with inmates or patients

who are not inmates, you have a time schedule in which you have to move the patients

to the operating room, and if they will not sign the consent form, eventually you just have

quit and move on. This is what happened with Plaintiff and the medical staff at MUSC.

       One thing that stood out to Dr. Ulrich about Plaintiff’s time at FCI Estill was

Plaintiff’s hunger strike. Dr. Ulrich emphasized the fact that, while his specialty is

ophthalmology, he is also a medical doctor. The records demonstrated to him that during

Plaintiff’s hunger strike, Dr. Lepiane was very careful to ensure that Plaintiff’s general

health stayed on line. The care that Dr. Lepiane extended to Plaintiff’s general health, in

Dr. Ulrich’s view, demonstrates that the BOP was working very hard to take care of

Plaintiff even when he was putting himself in difficult scenarios. It showed Dr. Ulrich that

the prison staff were doing what they should be doing and not just ignoring Plaintiff.



                                            142
5:16-cv-03913-BHH          Date Filed 01/31/23      Entry Number 332        Page 143 of 166




       In the records regarding Plaintiff’s interactions with the orientation and mobility

specialist, Ms. Madison, Dr. Ulrich observed that Plaintiff did not want to do the training

as it was being presented. Plaintiff did not want to follow the advice of someone who was

certified to help him in that way, which led Ms. Madison to cease the training because she

did not believe Plaintiff was motivated to improve. Dr. Ulrich noted that there was

significant effort to recruit someone to help Plaintiff ambulate in the prison and help him

be prepared for when he is released from prison, and it ceased after three visits due to

Plaintiff’s lack of cooperation.

       Dr. Ulrich noted that in 2016 Plaintiff began refusing to see ophthalmology in

general. There was also an incident where the prison staff discovered a hoard of

medication in Plaintiff’s room, involving hundreds of pills of many different drug classes.

None of the drugs were narcotics, but most of them were prescription medications. Dr.

Ulrich understood this to impact the prison doctors such that if all these medications were

found in Plaintiff’s room, he must not be taking them as prescribed, so the choice to put

Plaintiff on pill line for his eyedrops was to make sure his health was preserved.

       Dr. Ulrich observed that the records show one of Plaintiff’s tendencies was to

decide that certain providers were okay for him, and others were not. He had preferred

providers. For example, Plaintiff would go to pill line, and if he learned that it was a person

that he did not want to give him medication, he would leave. This tendency to only accept

medication from preferred providers prevented Plaintiff from receiving medication that

was good for him simply because it was not coming from the right person.

       As to opportunities for Plaintiff to learn braille, Dr. Ulrich observed that the records

demonstrate there were two parts to getting a request for braille approved, the first part



                                             143
5:16-cv-03913-BHH          Date Filed 01/31/23        Entry Number 332         Page 144 of 166




where a physician must affirm that the individual, in this case Plaintiff, does have poor

vision and needs this type of assistance, and the second part where the patient has to

sign. Dr. Ulrich noted that in one instance, two or three people were very involved in

completing the physician part, and had the necessary papers done very quickly, but when

it came time for Plaintiff to sign his portion, he did not have a companion and would not

come up and sign the form.

       As to BOP efforts to provide Plaintiff with a companion, Dr. Ulrich noted that the

records demonstrate Plaintiff was initially given a companion to help him learn how to

navigate FCI Estill, with the expectation that he would be able to learn the layout of the

facility and how to walk to various places in ninety days. However, after Associate Warden

Acosta extended the ninety-day period several times, eventually it was determined that

Plaintiff could always have a companion. At FCI Edgefield, the staff anticipated Plaintiff’s

arrival and put together a team of companions, trained them, and made sure that were

ready to provide him with consistent assistance. Dr. Ulrich observed that when Plaintiff

arrived at FCI Edgefield, “very shortly, all of them were fired by Mr. Washington. And then

he wanted three more.”

       As to Plaintiff’s eventual transfer to FCC Butner in 2018, Dr. Ulrich concluded from

the records that the transfer was ultimately granted because Plaintiff’s personality and

style were difficult. In addition to Plaintiff’s serious disability, Dr. Ulrich noted that “he also

collides with nearly everybody and causes great disruption in the facilities that he’s at.”

Dr. Ulrich concluded that the BOP eventually chose to grant Plaintiff a Level 3 designation

for these reasons, even though his visual disability does not strictly satisfy the

requirements.



                                               144
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 145 of 166




       Based on the foundation of all the medical records he reviewed, Dr. Ulrich opined,

to a reasonable degree of medical certainty, that the BOP provided to Plaintiff medical

care and treatment that met the applicable standard of care throughout the ten years Dr.

Ulrich reviewed. As to the period between August 24, 2014 and January 25, 2015, where

Plaintiff did not see a glaucoma specialist, Dr. Ulrich did not believe that gap in care

caused Plaintiff to suffer additional damage to his vision or that Plaintiff’s pain was

markedly exacerbated by a lack of visits to eyecare professionals during that time frame.

Dr. Ulrich testified that he did not believe it was knowable whether any specific increase

in pain or loss of vision was attributable to that gap in care. He further testified, to a

reasonable degree of medical certainty, that it is very difficult, especially when a patient

is in the end stage of a disease process, as Plaintiff unfortunately is, to measure and

detect a worsening of pain or a loss of vision in a meaningful way.

       On cross-examination, Dr. Ulrich agreed that Plaintiff has an aggressive form of

open-angle glaucoma in both eyes. To the extent he received treatment, it slowed the

progression of his disease. When asked to agree that, to the extent there were delays in

treatment or gaps in care, that lack of treatment led Plaintiff’s disease to progress more

quickly than it otherwise would have, Dr. Ulrich stated, “Lack of treatment always does,

but his lack of treatment was sometimes self-motivated, and that has to be taken into

account here, meaning he did not take his medicine and refused visits, so he harmed

himself.”

       Dr. Ulrich conceded that he never treated Plaintiff personally and that he had only

reviewed his own deposition and portions of Dr. Kotecha’s deposition. He stated that his

opinions in this case are based on the medical records and his professional training and



                                           145
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 146 of 166




experience. He is not a low-vision specialist or occupational therapist.

       Regarding Plaintiff’s visual fields from 2005 and 2007 discussed earlier, Dr. Ulrich

stated that ideally you would view visual fields in series. If no series is available, you are

limited in the conclusions you can draw, but you can still draw the conclusion that the

patient’s vision has not improved and will only get worse.

       Dr. Ulrich testified that in the prison setting, when he has an opinion about an

inmate’s care and he communicates that opinion to prison staff, he expects that

recommendation to be carried out. From 2007 until sometime in the last year, Dr. Ulrich

operated one day per week at the Augusta State Medical Prison. Up until recently, his

clinical schedule there was two full days per week. His experience in the prison informs

his opinions in this case, and, in particular, about the standard of care that should be

applied.

       There was a time in the past when Dr. Ulrich resigned from his position at the

prison because he felt the standard of care fell below what was adequate. This was in

2004. Dr. Ulrich came back to the prison in 2007 because, by his evaluation, they had

fixed the standard of care. His current length of continuous tenure has been since 2007.

       Through questioning, counsel sought to undermine Dr. Ulrich’s credibility about the

appropriate standard of care by demonstrating that a generalist physician at Augusta

State Medical Prison, Dr. Young, left the prison in 2018 and lodged certain complaints

about the environmental conditions being poor, such as high temperatures in the clinic

and garbage being improperly stored in nursing units. This line of questioning did not

achieve the desired effect on the Court. Rather, Dr. Ulrich’s history of resigning his post

at the state prison specifically because of his dissatisfaction with the standard of care



                                            146
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 147 of 166




being provided in 2004 and returning to his position only once he determined the standard

of care to have been remediated, demonstrated to the Court a studiously conscientious

mindset about the standard of ophthalmological care owed to prisoners. Simply put,

counsel’s cross-examination only reinforced Dr. Ulrich’s credibility on the appropriate

standard of ophthalmological care in prisons, grounded in his extensive professional

experience. Moreover, the Court found that the credibility of Dr. Ulrich’s expert opinions

was heightened by his comprehensive digestion of the totality of the medical record and

the detailed foundation laid in support of those opinions.

       Dr. Ulrich testified that the number of ophthalmology visits a given patient needs

per year is dependent on his condition. In general, two to three visits per year is a good

recommendation, as Dr. Ulrich testified during his deposition. However, there are times

when one visit in a given year is sufficient, and other times when there should be six. To

generalize the care that should be rendered to a patient into a set number of visits per

year would be too rigid. Dr. Ulrich agreed that if two to three visits per year was the

recommendation, that would equate to an ophthalmology visit every four to six months.

Plaintiff has not always received that frequency of ophthalmology care throughout his time

at the BOP.

       When confronted with Dr. Nutaitis’ August 28, 2014 note (PE 2286), in which he

recommends, inter alia, that Plaintiff be provided darker glasses and states that his

recommendations are medically necessary, Dr. Ulrich stated he does not think dark

glasses are medically necessary. He maintains this opinion even though the doctor that

actually treated Plaintiff reached a different conclusion. As to the recommendation, in the

same note, that Plaintiff receive diode laser surgery, Dr. Ulrich agreed that it was a time-



                                            147
5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332        Page 148 of 166




sensitive surgery and confirmed that there was no evidence Plaintiff had any

ophthalmology or optometry visits between August 28, 2014 and May 19, 2015. Dr. Ulrich

further agreed that the delay in the recommended surgery could have contributed to

Plaintiff’s ocular pain and that failing to have the surgery risked continued worsening of

the glaucoma damage. Dr. Ulrich confirmed that there is no indication in the record that

Plaintiff did anything to delay the diode laser surgery and that Plaintiff was still under the

care of Dr. Loranth, who was not qualified to disagree with the ophthalmological opinions

of Dr. Nutaitis. He further confirmed that there is nothing in the records indicating Plaintiff

would purposefully increase his own eye pressure.

       When confronted with Dr. Tremblay’s June 10, 2015 letter (PE 2035), Dr. Ulrich

agreed that Plaintiff had difficulty with ambulation. Plaintiff also had difficulty with

medication administration and with routine daily activities. Dr. Ulrich agreed that Plaintiff

needed assistance with ambulation and that this accommodation is medically necessary.

When asked whether he would expect general practitioners within the prison system to

follow the recommendations of outside ophthalmologists, Dr. Ulrich stated, “Generally.

But there has to be some latitude that a doctor who does not work in the prison situation

or has not dealt with a certain patient for a prolonged period of time may opt to use . . . in

how they respond to recommendations made.” While Dr. Loranth disagreed with Dr.

Tremblay’s assessment, stating in his medical notes that Dr. Tremblay’s June 10 letter

was written at Plaintiff’s urging and in furtherance of Plaintiff’s attempts to manipulate his

own requests and demands (see PE 2306), Dr. Ulrich did not see anything in the record

to show that anyone at MUSC disagreed with Dr. Tremblay’s letter.

       Dr. Ulrich confirmed that there are no records of outside providers stating they



                                             148
5:16-cv-03913-BHH             Date Filed 01/31/23          Entry Number 332            Page 149 of 166




believe Plaintiff can self-administer his eyedrops. However, Dr. Ulrich does not agree that

Plaintiff needs assistance administering his medications. Dr. Ulrich testified, “Mr.

Washington has been taking eyedrops for years and years and years. And there are

people who can take eyedrops even though they don’t have vision. It may be difficult for

those of us in the room who are still sighted to be given a drop and say here put this in

your eye. But when a party is taking three—you know, probably six, seven, eight drops a

day or is supposed to be taking those drops and has been doing it for years, it can be

done by . . . a non-sighted or a poorly sighted person. So that’s why I am reticent just to

say yes and talk about changing my answer, 26 because, that’s the premise behind why I

disagree with the tenor of what’s being written by these parties.”

        Dr. Ulrich agreed that a blind-assistance cane is a reasonable accommodation for

a blind inmate and that Plaintiff’s ability to ambulate is hindered if a cane is not available.

As to braille materials, Dr. Ulrich acknowledged that Plaintiff’s request for braille materials

and training at FCI Williamsburg was denied multiple times. Dr. Ulrich did not see anything

in the records about the rationale behind why the Warden opted to deny the braille

requests.

        When asked, “Now, Mr. Washington needs assistance with ambulation right?”, Dr.

Ulrich responded, “Yes. But . . . . He is very routinely observed ambulating in

circumstances that don’t seem to fit. So, in crowds when the emergency happened . . .



26 The Court notes that Dr. Ulrich’s exasperation in this section of his testimony was due to the fact that

counsel repeatedly sought to impeach him with prior answers from his deposition and by asking whether
Dr. Ulrich wanted to change those answers in court. However, the Court found that, to the extent Dr. Ulrich’s
answers during trial differed from the answers provided during his deposition, it was largely because he
was attempting to provide more complete, nuanced answers at trial, and because counsel’s attempted
impeachment was often devoid of the context surrounding the question at issue. Accordingly, the Court had
to interject more than once and remind counsel that Dr. Ulrich was entitled to explain himself. In any event,
the attempted impeachment did not diminish Dr. Ulrich’s credibility in the Court’s view.

                                                    149
5:16-cv-03913-BHH          Date Filed 01/31/23         Entry Number 332     Page 150 of 166




he was observed to move well enough in the crowd that was happening. He gets in and

out of places. And so, I think ambulation assistance would be valuable, but I don’t think

it’s been an absolute based upon Mr. Washington’s behavior.” Dr. Ulrich agreed that

Plaintiff should have had an inmate companion at every facility where he was housed

since November 2013. Dr. Ulrich had no knowledge about whether any accommodations

provided for Plaintiff, including inmate companions, were the result of Plaintiff filing this

lawsuit. He affirmed that Plaintiff has a history of running into stationary objects when he

is without a companion, but he also noted that Plaintiff has been observed moving around

them on his own. Dr. Ulrich agreed that a talking watch is a reasonable accommodation

for a visually impaired inmate like Plaintiff.

       In PE 2251, a BOP medical record dated November 1, 2013, Dr. Wierden, staff

optometrist at FCI Williamsburg, notes that Plaintiff needs a companion and recommends

transferring Plaintiff to a more accommodating facility. Based on this record, Dr. Ulrich

agreed that Plaintiff’s need for a companion was noted at the first BOP facility where he

was housed in South Carolina, and very near the time he arrived there. He acknowledged

that Plaintiff was not transferred to a more accommodating facility at that time.

       Dr. Ulrich acknowledged that Plaintiff has been transferred to different BOP

facilities many times over the years, that continuity of care is important, and that continuity

of care can be disrupted by transfers within the prison system. He further acknowledged

that there is no indication Plaintiff saw an ophthalmologist, optometrist, or low-vision

specialist during the numerous transfers he underwent between FCI Edgefield and FCC

Butner. Dr. Ulrich stated there is no data as to whether Plaintiff had an inmate companion

at the various facilities where he was housed during those transfers.



                                                 150
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 151 of 166




       On redirect examination, Dr. Ulrich testified that, if he knew Plaintiff had demanded

or requested the June 10, 2015 letter be written by Dr. Tremblay (see DE 16 (5374)

(AHSA Whitehurst note indicating that Dr. Tremblay reported as much)), it would change

his opinion about the credibility of the letter. When asked how much of Plaintiff’s lack of

medical treatment or care in the BOP he would attribute to Plaintiff’s own doing, Dr. Ulrich

stated, “Greater than 50 percent.”

       On recross-examination, Dr. Ulrich stated, “I believe that the lack of care that was

received for [Plaintiff’s] glaucoma is more than 50 percent his own choices[.]” He further

stated that his notes indicated “no information included” as to whether Plaintiff had any

responsibility for the surgery recommended on August 28, 2014 not being scheduled. He

has no affirmative knowledge that Plaintiff did anything to delay the surgery.

       3. Consolidated Findings Regarding Expert Testimony

       The expert witnesses disagreed about whether the gap in ophthalmological care

that followed the August 2014 recommendation for diode laser surgery constituted a

breach of the standard of care. Considering the totality of the circumstances, in particular

the fact that Plaintiff unreasonably refused necessary post-operative care following his

July 2014 cataract surgery, which was difficult and suffered complications, and the

perpetual manner in which Plaintiff undermined, sabotaged, and rejected the treatment

that was offered to him, the Court found Dr. Ulrich’s opinion to be more persuasive on this

point. Moreover, the collective weight of the expert testimony demonstrated that it is

extremely difficult, if not impossible, to measure with any accuracy an amount of

increased pain or vision loss that might be attributable to that gap in care, given the very

advanced progression of Plaintiff’s glaucoma at the time and the fact that Plaintiff was



                                            151
5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 152 of 166




serially noncompliant with his eyedrops during the same period.

       The expert witnesses agreed that Plaintiff needs assistance to ambulate but

disagreed as to whether Plaintiff needs assistance administering his eyedrops. On the

second point, the Court found that the great weight of the testimonial and documentary

evidence supports Dr. Ulrich’s opinion that, for those periods when the BOP medical staff

did not administer Plaintiff’s eyedrops for him, it was not a breach of the standard of care.

       Dr. Kotecha could not quantify how much Plaintiff’s own conduct contributed to his

eye pain or vision loss, but she conceded it could be more than fifty percent. She also

could not point to any specific person at the BOP that breached the standard of care but

affirmed only that “someone or some group” within the BOP had done so. Dr. Ulrich

opined that Plaintiff, by his own behavior and choices, was more than fifty percent

responsible for the lack of treatment and care he experienced during the relevant time

period. He further opined that the BOP satisfied the applicable standard of care in the

treatment and assistance it provided to Plaintiff over the ten-year period that he reviewed.

The Court found Dr. Ulrich’s opinions to be significantly more persuasive in these matters

and found that his extensive experience providing ophthalmological care in the prison

setting granted his expert testimony greater weight and credibility.

                                CONCLUSIONS OF LAW

   A. FTCA Claim

       Plaintiff filed his Third Amended Complaint on March 27, 2019, and has satisfied

the administrative requirements of the FTCA and the Rehabilitation Act. “A plaintiff has

an FTCA cause of action against the government only if [the plaintiff] would also have a

cause of action under state law against a private person in like circumstances.” Miller v.



                                            152
5:16-cv-03913-BHH         Date Filed 01/31/23    Entry Number 332        Page 153 of 166




United States, 932 F.2d 301, 303 (4th Cir. 1991) (citing 28 U.S.C. § 1346(b); Corrigan v.

United States, 815 F.2d 954, 955 (4th Cir. 1987)). Under the FTCA, the court must

determine liability in accordance with the substantive tort law of the state “where the act

or omission occurred.” 28 U.S.C. § 1346(b)(1). Accordingly, because Plaintiff alleges a

claim for medical malpractice concerning the medical treatment he received while

incarcerated at FCI Williamsburg, FCI Estill, and FCI Edgefield, which are all located in

South Carolina, the substantive law of South Carolina controls.

      To prove negligence in South Carolina, a plaintiff must show: “(1) a duty of care

owed by defendant to plaintiff; (2) breach of that duty by a negligent act or omission; and

(3) damage proximately resulting from the breach of duty.” Bloom v. Ravoira, 529 S.E.2d

710, 712 (S.C. 2000) (citation omitted). Under South Carolina law, to establish a cause

of action for medical malpractice, the plaintiff must prove the following facts by a

preponderance of the evidence:

      (1) The presence of a doctor-patient relationship between the parties;

      (2) Recognized and generally accepted standards, practices, and
      procedures which are exercised by competent physicians in the same
      branch of medicine under similar circumstances;

      (3) The medical or health professional’s negligence, deviating from
      generally accepted standards, practices, and procedures;

      (4) Such negligence being a proximate cause of the plaintiff's injury; and

      (5) An injury to the plaintiff.

Brouwer v. Sisters of Charity Providence Hosps., 763 S.E.2d 200, 203 (S.C. 2014)

(citation omitted). In addition, the plaintiff “must establish by expert testimony both the

standard of care and the defendant’s failure to conform to the required standard, unless

the subject matter is of common knowledge or experience so that no special learning is

                                           153
5:16-cv-03913-BHH              Date Filed 01/31/23          Entry Number 332             Page 154 of 166




needed to evaluate the defendant’s conduct.” Martasin v. Hilton Head Health Sys., L.P.,

613 S.E.2d 795, 799 (S.C. Ct. App. 2005) (citation omitted). Further,

        Negligence is not actionable unless it is a proximate cause of the injury
        complained of, and negligence may be deemed a proximate cause only
        when without such negligence the injury would not have occurred or could
        have been avoided. When one relies solely upon the opinion of medical
        experts to establish a causal connection between the alleged negligence
        and the injury, the experts must, with reasonable certainty, state that in their
        professional opinion, the injuries complained of most probably resulted from
        the defendant’s negligence.

Ellis v. Oliver, 473 S.E.2d 793, 795 (S.C. 1996) (citation omitted). “When [expert

testimony] is the only evidence of proximate cause relied upon, it must provide a

significant causal link between the alleged negligence and the plaintiff’s injuries, rather

than a tenuous and hypothetical connection.” Id. (citation omitted). “To establish

negligence, the plaintiff is required to prove the defendant’s conduct was one of the

proximate causes of the injury, not the sole cause.” Bonaparte v. Floyd, 354 S.E.2d 40,

48–49 (S.C. Ct. App. 1987) (citing Hughes v. Children’s Clinic, P.A., 237 S.E.2d 753 (S.C.

1977)).

        The Court finds that Plaintiff failed to prove by a preponderance of the evidence

that there was any breach of the standard of care by any of the medical providers at FCI

Williamsburg, FCI Estill, or FCI Edgefield. 27 Plaintiff’s expert, Dr. Kotecha, testified that

she could not attribute negligence to any specific medical provider and only affirmed that,



27 Though a significant amount of evidence was introduced about Plaintiff’s treatment, care, and assistance

at FCC Butner, his experiences at that facility are not explicitly part of the Third Amended Complaint. (See
ECF No. 197) This is because the Third Amended Complaint was drafted while Plaintiff was still housed at
FTC Oklahoma City (id. ¶ 107) and had not yet been transferred to FCC Butner. The gravamen of Plaintiff’s
Third Amended Complaint and of the trial evidence pertains to Plaintiff’s experiences at FCI Williamsburg,
FCI Estill, and FCI Edgefield, and the Court has specified these facilities in its findings and conclusions
accordingly. However, this should not in any way be construed as an indication that the Court failed to
consider Plaintiff’s claims with respect to his time at FCC Butner. The Court’s holdings on each of Plaintiff’s
claims apply with equal force to his time at FCC Butner, to the extent he is asserting them as such.

                                                     154
5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 155 of 166




in her view, “someone or some group within the BOP” breached the standard of care.

While the parties disagree about whether or not a plaintiff’s expert in a medical

malpractice action must attribute a breach to a specific individual(s), as opposed to a

group, the point is moot. Dr. Kotecha’s inability or unwillingness to ascribe responsibility

for the alleged breach to any specific person or persons weakened the substantive

strength of her conclusions. Her failure to account for Plaintiff’s manipulation of Dr.

Tremblay’s June 10, 2015 letter, on which one of her two main conclusions was largely

based, further weakened the weight and persuasiveness of her opinions. On the other

hand, the Court found the testimony of Dr. Ulrich, the United States’ expert, to be highly

credible and persuasive. As a teaching ophthalmologist at a state medical prison, Dr.

Ulrich has extensive, highly relevant experience in evaluating and providing care in a

correctional setting. Dr. Ulrich concluded that the delay in ophthalmological care following

the August 2014 diode laser surgery recommendation was not a breach in the standard

of care and did not measurably contribute to Plaintiff’s increased pain or vision loss. He

further concluded that it was not a breach of the standard of care, during relevant periods,

to decline to provide Plaintiff with an assistant to administer his eyedrops. The Court found

Dr. Ulrich’s conclusions to be more persuasive than Dr. Kotecha’s, and more soundly

grounded in the totality of the medical record. In sum, and for the foregoing reasons, the

Court finds that Plaintiff failed to prove by a preponderance of the evidence that the BOP

medical providers breached the standard of care in their treatment of Plaintiff’s glaucoma.

       However, even if Plaintiff had proven a breach by a preponderance of the

evidence, Plaintiff failed to prove that the gap in ophthalmological care from August 2014

to May 2015 and/or the BOP’s declination, at various times, to provide him with an



                                            155
5:16-cv-03913-BHH          Date Filed 01/31/23       Entry Number 332         Page 156 of 166




assistant to administer his eyedrops was the proximate cause of the ocular pain and vision

loss that he suffered. Specifically, the evidence did not show that the injury—ocular pain

and vision loss—would not have occurred without the supposed negligence at issue. Ellis,

473 S.E.2d at 795. And Dr. Kotecha’s testimony did not establish a “significant causal

link” between the alleged negligence and Plaintiff’s injuries. Id. Given the very advanced

stage of Plaintiff’s disease, and where Plaintiff, by his own choices, was routinely

noncompliant with his medications and repeatedly refused treatment up to and including

ophthalmology visits and surgery, it would not be possible to ascribe measurable portions

of his eye pain and vision loss to the supposed negligence. It would therefore not be

possible to identify such supposed negligence as the proximate cause of Plaintiff’s eye

pain and vision loss.

        Alternatively, Dr. Ulrich testified that Plaintiff was greater than 50 percent

responsible for his eye pain and vision loss. Under South Carolina’s doctrine of

comparative negligence, a plaintiff may only recover damages if his own negligence is

not greater than that of the defendant. Bloom v. Ravoira, 529 S.E.2d 710, 713 (S.C. 2000).

The Court finds, based on the totality of the circumstances and the evidence presented,

that Plaintiff’s negligence was greater than that of Defendants, and it was more likely than

not that his injuries were in essence self-inflicted. Thus, he may not recover under the

FTCA.

   B. Rehabilitation Act Claim

        Section 504 of the Rehabilitation Act states that “[n]o otherwise qualified individual

with a disability in the United States . . . shall, solely by reason of her or his disability, be

excluded from the participation in, be denied the benefits of, or be subjected to



                                              156
5:16-cv-03913-BHH          Date Filed 01/31/23     Entry Number 332        Page 157 of 166




discrimination under any program or activity receiving Federal financial assistance[.]” 29

U.S.C. § 794(a). Because the language of Section 504 of the Rehabilitation Act and Title

II of the Americans with Disabilities Act (“ADA”) “is substantially the same,” courts “apply

the same analysis to both.” Doe v. Univ. of Md. Med. Sys. Corp., 50 F.3d 1261, 1265 n.9

(4th Cir. 1995); accord A Society Without A Name v. Va., 655 F.3d 342, 347 (4th Cir.

2011).

         In order to prove a violation of the Rehabilitation Act, Plaintiff must show by a

preponderance of the evidence that: (1) he has a disability; (2) he is otherwise qualified

to receive the benefits of a public service, program, or activity; and (3) he was excluded

from participation in or denied the benefits of such service, program, or activity, or

otherwise discriminated against, on the basis of his disability. See Constantine v. Rectors

& Visitors of George Mason Univ., 411 F.3d 474, 498 (4th Cir. 2005) (citations omitted).

“Despite the overall similarity of § 12132 of Title II of the ADA and § 504 of the

Rehabilitation Act, the language of these two statutory provisions regarding the causative

link between discrimination and adverse action is significantly dissimilar.” Baird v. Rose,

192 F.3d 462, 469 (4th Cir. 1999). The ADA applies to programs and services of a public

entity, and a plaintiff has the burden of showing that his disability “played a motivating

role” in the challenged action. Id. at 470. The Rehabilitation Act applies to programs that

receive federal financial assistance, and a plaintiff must show that the discrimination

occurred “solely by reason of” his disability. Id. at 469.

         First, as a legally blind individual, Plaintiff was an individual with a disability.

Second, Plaintiff must show that he was otherwise qualified to receive the benefits of the

public services, programs, or activities. Courts have construed “the benefits of a program



                                             157
5:16-cv-03913-BHH           Date Filed 01/31/23        Entry Number 332           Page 158 of 166




or activity” to include the general rehabilitative and correctional services of state prisons,

and have therefore required prisons to make “reasonable accommodations” for an

inmate’s physical disabilities in their day-to-day operations in order to comply with the

mandates of the Rehabilitation Act. See Torcasio v. Murray, 862 F. Supp. 1482 (E.D. Va.

1994) (holding that the Rehabilitation Act’s reasonable accommodations requirement

applied to an obese inmate’s claim that the state prison was not adequately equipped to

accommodate his disability), aff’d in part, rev’d in part on other grounds, 57 F.3d 1340

(4th Cir. 1995); Randolph v. Rodgers, 170 F.3d 850, 859 (8th Cir.1999); see also Allen v.

Carrington, No. C/A 4:07-797 DCN, 2009 WL 2877557, at *6 (D.S.C. Aug. 28, 2009), aff'd,

372 F. App’x 390 (4th Cir. 2010).

       The preponderance of the evidence established that Plaintiff was assigned inmate

companions at FCI Williamsburg, FCI Estill, and FCI Edgefield 28 to assist him with

ambulating and with navigating the prison compounds. As to FCI Williamsburg, Plaintiff

testified he had an inmate companion there “at one point, and then they took the inmate

away from [him].” As to FCI Estill, Dr. Lepiane testified that Plaintiff consistently had an

inmate to guide him. As to FCI Edgefield, Nurse Thomas testified that the medical staff

established a medical inmate companion program with at least six vetted, trained, and

hired companions before Plaintiff arrived at the facility and specifically to accommodate

Plaintiff. No evidence was introduced, by either party, to show with any precision the

specific time periods, within the course of Plaintiff’s incarceration, when Plaintiff had or

did not have an inmate companion. However, the evidence demonstrated that Plaintiff

was provided with an inmate companion for a significant majority of the time period at



28 Again, the preponderance of the evidence demonstrated the same as to FCC Butner. See supra at n.27.


                                                158
5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 159 of 166




issue. It further demonstrated that Plaintiff’s own actions significantly contributed to any

lack of inmate companions he experienced at various times, by making unsubstantiated

allegations of abuse against his companions, by exasperating them with his demands,

and by refusing to utilize them. The preponderance of the evidence established that the

BOP made reasonable efforts to accommodate Plaintiff’s need for an inmate companion.

       The preponderance of the evidence showed that Plaintiff had been self-

administering his eyedrops for several years while he was legally blind and in BOP

custody before he claimed a need for assistance at FCI Williamsburg. Dr. Ulrich testified

that even a non-sighted person can self-administer eyedrops successfully. Plaintiff was

repeatedly provided training to administer his eyedrops over the course of his

incarceration in the BOP. The evidence showed that Plaintiff was provided several “ezy-

drop” guides at FCI Estill. He was also offered the opportunity to receive an “auto-drop”

assistive device at FCC Butner but refused it. Plaintiff repeatedly demonstrated the ability

to administer his own eyedrops, but then refused to do so. He also resisted or refused to

accept his medications if his preferred provider was not administering the eyedrops.

Plaintiff was placed on the pill line at FCI Williamsburg, FCI Estill, FCI Edgefield, and FCC

Butner to accommodate his disability. Plaintiff consistently refused to accept assistance

if his preferred provider was not issuing the eye drops. To the extent Plaintiff had a

cognizable “need” for assistance with his eyedrops, a proposition that was undermined

by the greater weight of the expert testimony in the first instance, the preponderance of

the evidence established that the BOP made reasonable efforts to accommodate

Plaintiff’s need for assistance with his eyedrops, which are typically self-carry

medications.



                                            159
5:16-cv-03913-BHH         Date Filed 01/31/23     Entry Number 332        Page 160 of 166




       Plaintiff was provided a blind-assistance cane and taught to use it at FCI Estill. The

facility contracted with an orientation and mobility specialist, Shirley Madison. Ms.

Madison discontinued the training because Plaintiff was resistant to the training, insisted

on doing “what worked for him,” and declared that he would never walk on the compound

without a sight guide. There is scant evidence to support the notion that Plaintiff has even

sought to use the cane when he has had one and when it is has been functional. Plaintiff

also repeatedly refused further cane training while at FCC Butner, both because he is not

interested in learning to use the cane and because he maintains that such training could

not be effective because the compound is not constructed at right angles. The

preponderance of the evidence established that the BOP made reasonable efforts to

accommodate Plaintiff’s need for a blind-assistance cane.

       Plaintiff was provided with a lighted magnifier and talking watch at FCC Butner.

More recently, Plaintiff expressed concerns about eating in the cafeteria due to his

disability and further accommodations were provided. The fact that Plaintiff did not have

these accommodations until reaching FCC Butner does not show that he was denied

reasonable accommodations until FCC Butner, but only that he has been granted special

accommodations since arriving at FCC Butner. He did not produce any evidence to show

that he was denied access to materials or programs that were available to all other

inmates because of his disability.

       Though braille was mentioned many times throughout the trial, there was little to

no substantive evidence that Plaintiff has currently requested or is even interested in

learning braille. Oblique references (in the foundation for Dr. Ulrich’s expert opinions) to

a request form(s) that was submitted many years ago and apparently denied for unknown



                                            160
5:16-cv-03913-BHH         Date Filed 01/31/23       Entry Number 332        Page 161 of 166




reasons will not suffice. Nearly every witness that mentioned braille only did so in the

process of disclaiming that they had any knowledge whatsoever of whether braille had

been provided to Plaintiff (e.g., AHSA Whitehurst, Dr. Lepiane, Nurse Ulmer, Dr. Blocker,

Dr. Sichel, etc.). Plaintiff’s own testimony about braille was limited to repetitive

statements, as to each FCI in turn, that braille was not provided to him there, as if braille

was an entitlement that should be expected without even asking for it. Dr. Lepiane testified

that Plaintiff never asked for braille and he does not think Plaintiff would have benefited

by it. He further testified that if Plaintiff had needed braille, the BOP would have provided

it for him, but it did not seem like braille was an interest, desire, or need of Plaintiff’s at

that time. Suffice it to say, Plaintiff did not establish by a preponderance of the evidence

that the BOP failed to reasonably accommodate any supposed need for braille on his

part.

        As to dark tinted glasses and an alternative lock for the vision-impaired, the

preponderance of the evidence established that the things Plaintiff was requesting were

validly denied pursuant to BOP policy. Plaintiff was, more than once, provided with the

darkest tint glasses permitted by BOP policy, as confirmed by Nurse Ulmer’s call to

UNICOR. The BOP’s declination to break its own policy and provide Plaintiff darker tinted

glasses was not a violation of the Rehabilitation Act. LCDR Kaminski’s recommendation

for an alternative lock was denied for security reasons pursuant to the discretionary

authority of the custody personnel at FCC Butner. There was no evidence that Plaintiff

even asked for an alternative lock at FCI Williamsburg, FCI Estill, or FCI Edgefield. The

BOP’s declination to provide Plaintiff an alternative lock based on the security decisions

of its custody personnel was not a violation of the Rehabilitation Act.



                                             161
5:16-cv-03913-BHH           Date Filed 01/31/23    Entry Number 332         Page 162 of 166




       Plaintiff’s claim that he can only be properly housed in a care Level 3 or 4 institution

is rejected. Testimony from Catina Friday, Chief of Medical Designations and

Transportation for the BOP, established that legal blindness in and of itself does not meet

the standard to require such a designation. The fact that BOP officials determined, within

their discretion and according to the applicable program statement, that Plaintiff could be

placed at a care Level 2, 3, or 4 institution for management of his disease did not violate

the Rehabilitation Act.

       In sum, the Court finds that the BOP provided reasonable accommodations for

Plaintiff’s disability, but Plaintiff consistently rejected those reasonable accommodations

and interjected unreasonable demands and expectations. Nothing in the evidence or

testimony indicates Plaintiff was treated differently or denied access to any programs that

were available to other prisoners because of his disability. See Baird, 192 F.3d at 469

(requiring, for Rehabilitation Act claims, that the discrimination at issue occurred “solely

by reason of” the plaintiff’s disability).

   C. Eighth Amendment Claim

       To state a plausible Eighth Amendment claim for medical indifference or

indifference to inmate safety against a governmental actor, a prisoner must demonstrate

that a sufficiently serious deprivation occurred resulting “in the denial of the minimal

civilized measure of life’s necessities,” and that the prison employee had a sufficiently

culpable state of mind. Farmer v. Brennan, 511 U.S. 825, 834 (1994) (citations and

quotation marks omitted). “Eighth Amendment analysis necessitates inquiry as to whether

the prison official[s] acted with a sufficiently culpable state of mind (subjective component)

and whether the . . . injury inflicted on the inmate was sufficiently serious (objective



                                             162
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 163 of 166




component).” Iko v. Shreve, 535 F.3d 225, 238 (4th Cir. 2008) (citation and quotation

marks omitted); see Hudson v. McMillian, 503 U.S. 1, 6–10 (1992) (discussing subjective

and objective components).

       With respect to medical and health needs, a prisoner must show deliberate

indifference to a serious need. Wilson v. Seiter, 501 U.S. 294 (1991); Estelle v. Gamble,

429 U.S. 97 (1976). “To succeed on an Eighth Amendment ‘cruel and unusual

punishment’ claim, a prisoner must prove two elements: (1) that objectively the

deprivation of a basic human need was ‘sufficiently serious,’ and (2) that subjectively the

prison officials acted with a ‘sufficiently culpable state of mind.’” Johnson v. Quinones,

145 F.3d 164, 167 (4th Cir. 1998) (quoting Wilson, 501 U.S. at 298). The indifference

must be substantial, and inadequate treatment due to negligence or malpractice will not

suffice:

       [I]n the medical context, an inadvertent failure to provide adequate medical
       care cannot be said to constitute “an unnecessary and wanton infliction of
       pain” or to be “repugnant to the conscience of mankind.” Thus, a complaint
       that a physician has been negligent in diagnosing or treating a medical
       condition does not state a valid claim of medical mistreatment under the
       Eighth Amendment. Medical malpractice does not become a constitutional
       violation merely because the victim is a prisoner. In order to state a
       cognizable claim, a prisoner must allege acts or omissions sufficiently
       harmful to evidence deliberate indifference to serious medical needs. It is
       only such indifference that can offend “evolving standards of decency” in
       violation of the Eighth Amendment.

Estelle, 429 U.S. at 105–06 (quoting Trop v. Dulles, 356 U.S. 86, 101 (1958)).

       Plaintiff has not satisfied either prong of his Eighth Amendment deliberate

indifference claim. While Plaintiff’s medical needs relating to his glaucoma are, of course,

serious by any measure, this is not be confused with the objective element of the test,

which requires that the deprivation of a basic need be sufficiently serious. See Quinones,



                                            163
5:16-cv-03913-BHH         Date Filed 01/31/23      Entry Number 332        Page 164 of 166




145 F.3d at 167. The Court has already concluded that the preponderance of the evidence

does not demonstrate a breach in the standard of care (supra at 152–56), which equates

to a finding that there was no deprivation of a basic need, let alone a sufficiently serious

one. But even if one were to assume that the gap in ophthalmological care following the

August 2014 surgery recommendation, and/or the decision not to permanently assign a

BOP staff member(s) to administer Plaintiff’s eyedrops for him, was a deprivation of a

basic need, Plaintiff has not introduced evidence sufficient to show that the supposed

deprivation was “sufficiently serious.” The degree to which any such “deprivation” of care

contributed to Plaintiff’s preexisting, persisting eye pain and aggressive vision loss is

unmeasurable, and therefore not knowable (see supra at 145, 151–52). If a de facto gap

in ophthalmological care with indeterminate effects, or a hindrance to the routine

administration of glaucoma eyedrops, is all that it takes to state a cognizable constitutional

injury in this context, then Plaintiff has, by his own conduct, been inflicting Eighth

Amendment violations on himself—in the form of missed appointments, forfeited

surgeries, and refused eyedrops—for the entirety of the relevant time period.

       Likewise, Plaintiff has not introduced evidence sufficient to show that the prison

officials in question had a sufficiently culpable state of mind. See Quinones, 145 F.3d at

167. On the contrary! The evidence in this case overwhelmingly establishes that the BOP

medical staff at each facility continued to provide conscientious care even when they were

justifiably exasperated with Plaintiff’s confrontational attitude and self-sabotaging

behavior. Plaintiff cannot both set himself on an oppositional, belligerent course with

nearly every BOP staff member he meets, and then validly claim that their natural

frustration with his conduct amounts to sufficient mental culpability to render them liable



                                            164
5:16-cv-03913-BHH           Date Filed 01/31/23   Entry Number 332        Page 165 of 166




for inflicting cruel and unusual punishment upon him. The evidence in this case does not

even come close to showing medical indifference that is so “repugnant to the conscience

of mankind” that it offends “evolving standards of decency” in violation of the Eighth

Amendment. Estelle, 429 U.S. at 106

       The preponderance of the evidence showed that the medical care providers at FCI

Williamsburg, FCI Estill, and FCI Edgefield 29 made constant and consistent efforts to

provide treatment and care to Plaintiff. However, Plaintiff consistently interfered with the

delivery of care by refusing to accept care when his preferred provider was not issuing

the medication or when his own wishes were not followed.

       The Court finds that the medical care providers at FCC Butner have provided

sufficient care and have sought to accommodate Plaintiff’s changing needs for his severe

glaucoma. As such, the preliminary injunction that was put in place is no longer

necessary. The preliminary injunction implemented by this Court requiring that Plaintiff be

housed at FCC Butner is hereby lifted and Plaintiff’s request for a permanent injunction

is hereby denied.

                                       CONCLUSION

       Based on the evidence, expert testimony, and after having considered the

arguments of counsel, the Court is strongly convinced that Plaintiff has failed to prove the

FTCA claim, the Rehabilitation Act claim, and the Eighth Amendment injunctive claim by

a preponderance of the evidence. Accordingly, the Court finds in favor of Defendants on

Plaintiff’s claims against the United States and the BOP pursuant to the FTCA, the

Rehabilitation Act, and the Eighth Amendment for injunctive relief. Plaintiff’s Bivens claims



29 As well as FCC Butner.


                                            165
5:16-cv-03913-BHH        Date Filed 01/31/23      Entry Number 332        Page 166 of 166




were dismissed on August 26, 2022. (ECF No. 320.) Therefore, it is ORDERED that the

Court finds for the United States and Bureau of Prisons on all claims. The Clerk is directed

to enter judgment for the United States and Bureau of Prisons and to enter judgment for

the Individual Defendants, Richard Lepiane, Eve Ulmer, and the Estate of G. Victor

Loranth.

       IT IS SO ORDERED.

                                          /s/ Bruce Howe Hendricks
                                          United States District Judge

January 31, 2023
Charleston, South Carolina




                                            166
